 

Case 1:98-cv-01232-CKK Document 620 Filed 08/27/01 Page

Ft, a TF

1 of 88

CM/ECF CONSOL
TYPE A

U.S. District Court

USDC District of Columbia

CIVIL DOCKET

USA v. MICROSOFT CORP.
Assigned to:
Demand: $0,000

Lead Docket: None

Dkt# in other court: None

Cause: 15:1 Antitrust Litigation
Case type: 1. civil 2. null

UNITED STATES OF AMERICA
plaintiff

BLOOMBERG NEWS
movant

“ Dacket as of June il,

FOR CASE #:

2002 11:01 am

(Washington)
98-CV1232

Filed: 05/18/98

Judge Colleen Koliar-Kotelly

Nature of Suit: 410
Jurisdiction: US Plaintiff

Dennis C. Vacco

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OF NEW YORK

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THE STATE

Christopher Crook

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Three Lafayette Center

Page 1

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Case 1:98-cv-01232-CKK Document 620” Filed 08/27/01

Proceedings Include All Events.
1:9B8cwl232 USA v.

SEATTLE TIMES
intervenor

REUTERS AMERICA INC
intervenor

ZDTV LLC
intervenor

Z2UONET
intervenor

MICROSOFT CORPORATION
defendant

Rocket as of June il, 2002 11:91

MICROSOFT CORP.

1188 328 sebdae, nw
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CM/ECE
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Proceedings Include Ali vents.

1:98cev1232 USA v. MICROSOFT CORP.

NETWORK COMPUTER INC
Non Party

SUN MICROSYSTEMS,
Non Party

INC.

DELL COMPUTER CORPORATION
Non Party

INTERNATIONAL BUSINESS
MACHINES CORPORATION
Non Party

NOVELL, INC.
Non Party

Docket as of June 11, 2002 11:01

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CONSOL TYPE A
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Proceedings Include All Events.
1:38ev1232 USA Vv.

GATEWAY, INC.
Non Party

REALNETWORKS, INC.

Non Party

W. DAVID SLAWSON
amicus

BRWIN CHEMERINSRKY
amicus

THE SOFTWARE AND INFORMATION
INDUSTRY ASSOCIATION
amicus

ROBERT H. BORK
amicus

Docket as of June 11, 2002 11:01

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CM/ECE
CONSOL TYPE A
 

LAWRENCE LESSIG
amicus |

COMPETITIVE TECHNOLOGY
amicus

NETSCAPE COMMUNICATIONS
CORPORATION
movant

| SAN JOSE MERCURY NEWS,
i INCORPORATED
movant

Case 1:98-cv-01232-CKK Document 620 Filed 08/27/01

Proceedings Include All vents.
1:98cvl232 USA v. MICROSOFT CORP.

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PILLSBURY WINTHROP LLP

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CONSOL TYPE A

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Case 1:98-cv-01232-CKK

Proceedings Include All Events.
1:98cvi232 USA v. MICROSOFT CORP.

JERRY L. ROBINETT
movant

ORACLE CORPORATION
movant

THE WASHINGTON POST COMPANY
movant

ASSOCIATED PRESS
movant

DOW JONES & COMPANY, INC.
movant

COMPAQ COMPUTER CORPORATION
movant

BOEING COMPANY
movant

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Case 1:98-cv-01232-CKK ‘Document 620 Filed 08/27/01 Page 7 of 88

Proceedings Include All Events.

1:98cv1l232 USA v. MICROSOFT CORP.

THE ASSOCTATED PRESS
movant

BRISTOL TECHNOLOGY
INCORPORATED
movant

GRAVITY, INC.
movant

INTHL CORPORATION
movant

Docket as of June 11, 2002 11:01

CM/ECE
CONSOL TYPE A

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Proceedings Include All Events.

1:98cev1232 USA v. MICROSOFT CORP.

GATEWAY, INC.
movant

HEWLETT-PACKARD COMPANY
movant

NEW YORK TIMES COMPANY, The
intervener

“AMERICAN LAWYER MEDIA,
INCORPORATED
' movant

USA TODAY
movant

Docket as of June 11, 2002 11:01

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am Page 8

CM/ECF
CONSOL TYPE A

 

 

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Proceedings Include All Events.

1:98cv1232 USA v. MICROSOFT CORP.

ROY A. DAY
movant

W. DAVID SLAWSON
amicus

ERWIN CHEMBRINSKY
amicus

CALIFORNIA PLAINTIFFS
movant

ROBERT FE. LITAN
movant

 

 

Docket as of June 11, 2002 11:01

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Proceedings Include All Events. CM/ECF
1:98ev1232 USA v. MICROSOFT CORP. CONSOL TYPE A
THE COMPUTER & COMMUNICATIONS Edward J. Black
INDUSTRY ASSOCIATION FTS 783-0070

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Docket as of June il, 2002 11:01 am Page 10

 

 

 
 

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1:98cevl232 USA v. MICROSCFT CORP. CONSOL TYPE A

5/18/98

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5/21/98

5/22/98

COMPLAINT filed by plaintiff USA (tth) [Entry date 05/19/98]
[1:98cev1232]

MOTION filed by plaintiff USA for preliminary injunction;
Declarations (4); Exhibits (6) (tth) [Fntry date 05/19/98]
[1:98cev1232]

SUMMONS (1} issued for defendant MICROSOFT CORP. (tth}
[Entry date 05/19/98] [1:98cv1232]

MOTION filed by plaintiff. USA for leave to file overlength
brief of approximately 75 total pages for its Memorandum of
the United States in Support of Motion for Preliminary
Injunction (tth) [Entry date 05/19/93]

[Edit date 05/20/98} [1:98ev1232]

MOTION filed by plaintiff USA for an order directing the
filing of certain documents in support of their motion for
preliminary injunction under seal; (MEMO. AND EXHIBITS —
FILED UNDER SEAL — PURSUANT TO PROTECTIVE ORDER OF 5/27/00)
(tth) [Entry date 05/19/98] [Edit date 07/18/00]
[1:98cevl232]

ATTORNEY APPEARANCE for defendant MICROSOFT CORP. by Daryl
Andrew Libow (tth) [Entry date 05/21/98] [1:98¢cv1232]

MOTION filed by. defendant MICROSOFT CORP. to extend time to
respond to Plaintiff's Motion for Preliminary Injunction ,
and for entry of a scheduling order providing defendant
with adequate time to conduct discovery before filing its
response; Exhibit (1) (tth) [Entry date 05/22/98]

[Edit date 05/22/98] [1:98c¢cv1232}

MOTION filed by defendant MICROSOFT CORP. to consolidate
this action for all purposes with New York ex rel. Vacco,
et al. v. Microsoft Corporation, Civil Action No. 98-1233;
Exhibits (3) (tth) [Entry date 05/22/98] [1:98cv1232]

MOTION filed for NEW YORK TIMES CO to intervene; EXHIBITS
{COMPLAINT IN INTERVENTION, RULE 109 STATEMENT) (tth)
[Entry date 05/22/98] [Edit date 05/22/98] [1:98cv1232]

STATUS HEARING before Judge Thomas P. Jackson , case to be
consolidated with CA93-1233; defendants to file answer to
the complaint by 7/28/98; trial set for 10:00 9/8/98 ;
defendants opposition to motion for preliminary injunction
due 8/10/98 ;plaintiffs reply due 8/24/98 ; Reporter: PB.
Merana (rew) [1:98cv1232]

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1:98cvl1232 USA Vv.

Case 1:98-cv-01232-CKK Document 620 Filed 08/27/01 Page 12 of 88

Proceedings Include Ali Events. CM/ECF
MICROSOFT CORP. CONSOL TYPE A
ORDER by Judge Thomas P. Jackson : granting motion to

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5/22/98

5/22/98

5/22/98

5/26/98

5/26/98

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consolidate this action for ail purposes with New York ex
rel. Vacco, et al. v. Microsoft Corporation, Civil Action
No. 98-1233 [7-1] by MICROSOFT CORP. in 1:98-cv-01232, and
consolidating the cases for all purposes pending further
order of the Court; directing defendant te answer the
complaints by 7/28/98; granting motion to extend time to
respond to Plaintiff's Motion for Preliminary Injunction
i6-1] by MICROSOFT CORP. and directing defendant to file
oppositions by 8/10/38; oppositions to motion(s) due by
8/10/98 in 1:98-cv-01232, in 1:98-cv-01233 ; directing
plaintiffs to file replies to any oppositions by 8/24/98;
reply to motion(s} due by 8/24/98 in 1:98-cv-01232, in
2:98-cv-01233 ; directing that the trial on the merits is
advanced and consolidated with the hearing on preliminary
injunctions; and setting trial on the merits and plaintiffs
applications for preliminary injunctions for 3/8/98 at
10:00 am. (NM) (rew}) [1:98cv1232 1:98cv1233]

RESPONSE by plaintiff USA in 1:98-cv-01232 to motion to
consolidate this action for all purposes with New York ex
rel. Vaceco, et al. v. Microsoft Corporation, Civil Action
No. 38-1233 [7-1] by MICROSOFT CORP. (tth)

[Entry date 05/26/98] [1:98cv1232]

RESPONSE by plaintiff USA in 1:98-cv-01232 to motion to
extend time to respond to Plaintiff's Motion for
Preliminary Injunction [6-1] by MICROSOFT CORP., motion for
entry of a scheduling order providing defendant with
adequate time to conduct discovery before filing its
response [6-2] by MICROSOFT CORP. (tth)

[Entry date 05/26/98] [1:98cev1232]

ATTORNEY APPEARANCE for defendant MICROSOFT CORP. in
1:98-cv-01232 by John Lehman Warden (tth)
[Entry date 05/27/98] [1:88cv1l232]

RESPONSE by plaintiffs in 1:98-cv-01233 to motion to extend
time to respond to Plaintiffs’ Motion for a Preliminary
Tnjunction [5-1] by MICROSOFT CORP. in 1:98-cv-C01233 {(tth)
fEntry date 05/27/98] [1:98cv1232 1:398cv1233]

ORDER by Judge Thomas P. Jackson : granting motion for
ieave to file overlength brief of approximately 75 total
pages for its Memorandum of the United States in Support of
Motion for Preliminary Injunction [3-1] by USA in
1:98-cev-01232 (N) (rew) [1:98cyv1232 1:98cev1233]

MOTION filed by defendant MICROSOFT CORP. in 1:98-cv~01232
for Richard J. Urowsky, to appear pro hac vice [( Sullivan
& Cromwell, 125 Broac Street, New York, NY 10004, (212)
556-4000) (tth) [Entry date 05/27/98] [1:98cv1232]

Decket as of June li, 2002 11:01 am Page i2
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Proceedings Include Ali Events. CM/ECE
1:98¢cv1232 USA v.

._ ae BOPRRES.

MICROSOFT CORP. CONSOL TYPE A

MOTION filed by defendant MICROSOFT CORP. in 1:98~-cv-01232
for Richard C. Pepperman, TI, to appear pro hac vice {
Sullivan & Cromwell, 125 Broad Street, New York, NY 10004,
(2372) 558-4000) (tth) [Entry date 05/27/98] [1:98¢ev1232]

ORDER by Judge Thomas P. Jackson : granting motion for
Richard C. Pepperman, II, to appear pro hac vice ( Sullivan
& Cromwell, 125 Broad Street, New York, N¥ 10004, (212)
558-4000) [16-1] by MICROSOFT CORP. in 1:98-ev—-01232 (N)
(rew) [Entry date 05/28/98] [1:98cvi232 1:$8¢ev1233]

ORDER by Judge Thomas P. Jackson : granting motion for
Richard J. Urowsky, to appear pro hac vice { Sullivan &
Cromwell, 125 Broad Street, New York, NY 10004, {212}
558-4000) [15-1] by MICROSOFT CORP. in 1:98-cv-01232 (MN)
(rew) [Entry date 05/28/98] [1:98cv1232 1:98cv1233]

STIPULATION AND PROTECTIVE ORDER filed and fiated by Judge
Thomas P. Jackson regarding . (N) (rew) ie
{Entry date 08/04/98] [1:98ev1232 1:98cv1233] :

ORDER by Judge Thomas P. Jackson ,granting application to
admit pro hac vice Steven L. Holley, Steven L. Holley,
Sullivan and Cromwell 125 Broad St. New York, New York
10004. (N) (rew) [1:98cev1232 1:98cv1233]

MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
to maintain under seal certain confidential documents (tth)
[Entry date 06/01/98] [1:98cv1232]

MOTION filed by defendant MICROSOFT CORP. in 1:98-ev-01232
for Robin D. Fessel to appear pro hac vice (Sullivan &
Cromwell, 125 Broad Street, New York, NY 10004, (212)
558-4000) (tth) [Entry date 06/01/98] [1:98cv1232]

MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
for Stephanie G. Wheeler, to appear pro hac vice (Sullivan
& Cromwell, 125 Broad Street, New York, NY 10004, (212)
558-4000) (tth} [Entry date 06/01/98] [1:98cv1232]

MCTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232 i
for Theodore Edelman, to appear pro hac vice ( Sullivan & «
Cromwell, 125 Broad Street, New York, NY 10004, (212) 4

558-4000) {(tth} [Entry date 06/01/98] [1:98cv1232]

MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
for Michael Lacovara, to appear pro hac vice ( Sullivan &
Cromwell, 125 Broad Street, New York, NY 10004, (212)
558-4000) (tth) [Entry date 06/01/98] [1:98cv1232]

MOTION filed by defendant MICROSOFT CORP. in 1:38-cv~01232
for William H. Neukom, to appear pro hac vice ( MICROSOFT
CORPORATION, Law and Corporate Affairs, One Microsoft Way,
Redmond, WA 98052, (425) 936-8080) (tth)

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1:98cvi232 USA v. MICROSOFT CORP. CONSOL TYPE A

{Entry date 06/04/98] [1:98cv1232]

6/3/38 26 MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
for David A. Heiner, Jr. to appear pro hac vice (
MICROSOFT CORPORATION, Law and Corporate Affairs, One
Microsoft Way, Redmond, WA 98052, (425) 9346-8080) (tth)
[Entry date 06/04/98] [1:98cv1232]

6/3/98 27 MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
for Thomas W. Burt, to appear pro hac vice ( MICROSOFT
CORPORATION, Law and Corporate Affairs, One Microsoft Way,
Redmond, WA 98052, (425) 936-8080) (tth)
[Entry date 06/04/98] [1:98¢cv1232]

6/3/98 28 MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
for Steven J. Aeschbacher, to appear pro hac vice (
MICROSOFT CORPORATION, Law and Corporate Affairs, One
Microsoft Way, Redmond, WA 98052, (425) 936-8080). (tth)
[Entry date 06/04/98] [1:98cv1232]

6/3/98 29 MOTION filed by defendant MICROSOFT CORP. in 1:98-cev-01232
for Diane D'Arcangelo, te appear pro hac vice ( MICROSOFT
CORPORATION, Law and Corporate Affairs, One Microsoft Way,
Redmond, WA 98052, (425) 936-8080) (tth)
[Entry date 06/04/88] [1:98ev1232]

6/8/98 30 MEMORANDUM by plaintiff USA in 1:98-cv-01232 in opposition
to motion to maintain under seal certain confidential
documents [24-1] by MICROSOFT CORP. (tb)

[Entry date 06/09/98] [1:98cv1232]

6/8/98 31 ATTORNEY APPEARANCE for movant BLOOMBERG NEWS in
1:98-cv-01232 by David P. Murray (tth) [Entry date 06/09/98]
[1:98cev1232)

6/8/98 33 RULE 109 Certificate of disclosure of corporate
affiliations and financial interests by movant BLOCMBERG
NEWS in 1:98-cev-01232 (tth) [Entry date 06/10/98]
[i:98cvi232]

6/8/28 32 MOTION JOINDER by movant BLOOMBERG NEWS in 1:98-cv-01232
joining in motion for NEW YORK TIMES CO to intervene [8-1]
(ol) [Entry date 07/09/98] {Edit date 07/09/98]
[1:98ev1232]

6/3/98 -- STATUS HEARING before Judge Thomas P. Jackson , pretrial
conference set for 10:00 3/3/98 in 1:98-cv-01232, in
1:9¢-cv¥-Di233 before Judge Jackson ;pretrial statements are
due 8-31-98. Reporter: P. Merana (rew) [1:98ev1232
1:98cv1233]

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1:98evi232 USA v. MICROSOFT CORP. CONSOL TYPE A
6/9/98 34 ORDER by Judge Thomas P. Jackson : granting motion for

Diane D'Arcangelo, to appear pro hac vice ( MICROSOFT
CORPORATION, Law and Corporate Affairs, One Microsoft Way,
Redmond, WA 98052, (425) 936-8080) [29-1] by MICROSOFT
CORP. in 1:98-cv-01232 (N) (rew} [Entry date 06/11/98]
fl:98cv1l232 1:98cv1233]

6/9/98 35 ORDER by Judge Thomas P. Jackson : granting motion for
Steven J. Aeschbacher, to appear pro hac vice ( MICROSOFT
CORPORATION, Law and Corporate Affairs, One Microsoft Way,
Redmond, WA 98052, (425) 936-8080} [28-1] by MICROSOFT
CORP. in 1:98-cv-01232 (N} (rew) [Entzxy date 06/11/38]
[i:98ev1232 1:98c¢v1233] |

6/9/98 36 ORDER by Judge Thomas P. Jackson : granting motion for
Thomas W. Burt, to appear pro hac vice ( MICROSOFT
CORPORATION, Law and Corporate Affairs, One Microsoft Way,
Redmond, WA 98052, (425) 936-8080} [27-1] by MICROSOFT
CORP, in 1:38-cv-01232 (N) (rew) [Entry date 06/11/98]
Li: 98evi232 1:98cv1233)]

6/9/98 37 ORDER by Judge Thomas P. Jackson : granting motion for
David A. Heiner, Ur. to appear pro hac vice ( MICROSOFT
CORPORATION, Law and Corporate Affdirs, One Microsoft Way,
Redmond, WA 98052, (425) 936-8080) [26-1] by MICROSOFT
CORP. in 1:98-cv-01232 (N) (rew) [Entry date 06/11/98]
[1:98evl232 1:98cv1233]

6/9/88 38 ORDER by Judge Thomas P. Jackson : granting motion for
Wiiliam H. Neukom, to appear pro hac vice ( MICROSOFT
CORPORATION, Law and Corporate Affairs, One Microsoft Way,
Redmond, WA $8052, (425) 936-8080) [25-1] by MICROSOFT
CORP. in 1:98-cv-01232 (N) (rew) [Entry date 06/11/98]
[i:$8cev1232 1:98cv1233]

6/9/98 39 ORDER by Judge Thomas P. Jackson : granting motion for
Michael Lacovara, to appear pro hac vice ( Sullivan &
Cromweli, 125 Broad Street, New York, NY 10004, (212)
558-4000) [23-1] by MICROSOFT CORP. in 1:98-cv-01232 (N)
(rew) [Entry date 06/11/98] [1:98¢v1232 1:98cev1233]

6/9/98 40 ORDER by Judge Thomas P. Jackson : granting motion for
Theodere Edelman, to appear pro hac vice ( Sullivan «
Cromwell, 125 Broad Street, New York, NY 10004, (212)
5358-4000} [22-1] by MICROSOFT CORP. in 1:938=cv-01232 {(N)
{(rew}) [Entry date 06/11/98] [1:98cev1232 1:98c¢v1233]

6/9/98 AL ORDER by Judge Thomas P. Jackson : granting motion for
Stephanie G. Wheeler, to appear pro hac vice (Sullivan &
Cromwell, 125 Broad Street, New York, NY 10004, (212)
558-4000) [21-1] by MICROSOFT CORP. in 1:98-cv-01232 (N)
(rew} [Entry date 06/11/98] [1:98cv1i232 1:98¢v1233]

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1:98cv1232 USA v. MICROSOFT CORP. ; CONSOL TYPE A
6/9/98 42 ORDER by Judge Thomas —. Jackson : granting motion for

Robin D. Fessel to appear pro hac vice (Sullivan &
Cromwell, 125 Broad Street, New York, NY 10004, (212)
558-4000) [20-1] by MICROSOFT CORP. in 1:98-cev-01232 (N)
{rew) [Entry date 06/11/98] [1:88cv1232 1:98cv1233]

6/9/38 43 RESPONSE by plaintiff USA in 1:98-cv—-01232 in opposition
to motion to maintain under seal certain confidential
documents [24-1] by MICROSOFT CORP. . (th)

[Entry date 06/11/98] [1:98cev1232)

6/11/98 45 TRANSCRIPT filed for date(s) of 05/22/98. Reporter:
Phylilis Merana (tb) [Entry date 06/15/98]
[Edit date 06/15/98] [1:98cv1232]

6/11/98 46 TRANSCRIPT filed for date{s) of 06/09/98. Reporter:
Phyllis Merana (tb} [Entry date 06/15/98] [1:98cv1232}

6/12/98 44 ORDER by Judge Thomas P. Jackson , Pretrial Order #1,
defendant shall file its answer by 7-28-98, defendant to
file oppositions to plaintiffs motions for preliminary
injunction by 8-10-98 and plaintiffs to reply by 8-24-98,
lists of witnesses for trial by 8-21-98, pretrial
statements by 8-31-98 and setting pretrial for 9-3-$8 at
10:00 am, and instructions to counsel on conduct of the
trial and subponas for witnesses, and service of discovery
requests and responses and pretrial submissions. (N) (rew)
[2:98ev1232 1:98cv1233]

6/15/98 A7 REPLY by defendant MICROSOFT CORP. in 1:98-cv-01232 to
motion to maintain under seal certain confidential
documents [24-1] by MICROSOFT CORP. (tb)

[Entry date 06/16/98] [1:98cev1232]

6/19/98 48 MEMORANDUM by defendant MICROSOFT CORP. in 1:98-cv-01232
in opposition to join motion [32-1] by BLOOMBERG NEWS (tb)
[Entry date 06/22/98] [1:98cv1232]

6/26/98 49 REPLY by movant BLOOMBERG NEWS in 1:98-cv-01232 to
response to join motion [32-1] by BLOOMBERG NEWS (tb}
[Entry date 06/29/98] [1:98cv1232]

7/28/98 50 ANSWER TO COMPLAINT [1-1] by defendant MICROSOFT CORP. in
i:98-cyv-01232. (tb) [Entry date 07/29/98] [1:98cv1232]

7/31/98 51 MOTION filed by plaintiff USA in 1:98-cv-01232 to compel
discovery (tb) [Entry date 08/03/98] [1:98cvi232]

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7/31/98

7/31/98

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8/4/98

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MEMORANDUM by plaintiff USA in 1:98-cv-01232, plaintiffs
STATE OF NEW YORK in 1:98-cv-01233, STATE OF CALIFORNIA in
1:98-cv-01233, STATE OF CONNECTICUT in 1:98-cv-01233, DC in
1:98-cev-01233, STATE OF FLORIDA in 1:98-cv~01233, STATE OF
ILLINOIS in 1:98-cv-01233, STATE OF IOWA in 1:98-cv-01233,
STATE OF KANSAS in 1:98-cv-01233, STATE OF KENTUCKY in
1:98-cv-01233, STATE OF LOUISTANA in 1:98-cv-01233, STATE OF
MARYLAND in 1:88-cv-01233, COMMONWEALTH OF MASS in
1:98-cv-01233, STATE OF MICHTGAN in 1:98-cv-01233, STATE OF
MINNESOTA in 1:98-cv-01233, STATE OF NEW MEXICO in
1:98-cv-01233, STATE NC in 1:98-cv-01233, STATE OF OHTO in
1:98-cv-01233, STATE SC in 1:98-cv-01233, STATE OF UTAH in
1:98-cv-01233, STATE OF WV in 1:98-cv-01233, STATE OF
WISCONSIN in 1:98-cv~-Q1233 in support of motion to compel
discovery [51-1] by USA in 1:98-cv-01232; exhibits
(B,C,D,F,H,I} (th) [Entry date 08/03/98]

[Bdit date 08/03/98] [1:98cv1232 1:98cv1233]

MOTION filed by plaintiff USA in 1:98-cv-01232, plaintiffs
STATE OF NEW YORK in 1:98-cy-01233, plaintiff STATE OF
CALIFORNIA in 1:98-cv-01233, STATE OF CONNECTICUT in
1:98~cev-01233, DC in 1:98-cv-01233, STATE OF FLORIDA in
1:98-cy-01233, STATE OF ILLINOIS in 1:98-cev-01233, STATE OF
TOWA in 1:98-cy-01233, STATE OF KANSAS in 1:98-cv-01233,
STATE OF KENTUCKY in 1:98-cv-01233, STATE OF LOUISIANA in
1:98-cv-01233, STATE OF MARYLAND in 1:98-cv~01233,
COMMONWEALTH OF MASS in 1:98-cv-01233, STATE OF MICHIGAN in
1:98-cvV-01233, STATE OF MINNESOTA in 1:98-cv-01233, STATE OF
NEW MEXICO in 1:98-cy-01233, STATE NC in 1:98-cyv-01233,
STATE OF OHIO in 1:98-cv-01233, STATE SC in 1:98-cv-01233,
STATE OF UTAH in 1:98-cy-01233, STATE OF WV in
1:98-cyv-01233, STATE OF WISCONSIN in 1:98-cv-01233 to file
under seal exhibits; (EXHIBITS A, FE, AND G FILED UNDER
SEAL) (tb) [Entry date 08/03/98] [Edit date 10/15/98]
fl:98cev1l232 1:98cv1233]

MOTION filed by defendant MICROSCFT CORP, in 1:98-cv-G1232
to modify stipulation and protective order; declaration
(Ll); exhibits (2); (EXHIBITS TO DECLARATION LOGGED UNDER
SEAL) (tb) [Entry date 08/04/98] [1:98cv1232]

MOTION filed by defendant MICROSOFT CORP. in 1:98-cyv-01232
for protective order; declarations (2); exhibits (7) (tb)
[Entry date 08/05/98] [Edit date 08/05/98] [1:28cv1232]

MEMORANDUM by defendant MICROSOFT CORP. in 1:98-cv-01232
in opposition to motion to compel discovery [51-1] by USA;
exhibit (1) (tb) [Entry date 08/05/98] [1:98cv1232]

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1:98cvl232 USA v. MICROSOFT CORP. CONSOL TYPE A
8/5/98 58 RESPONSE by plaintiff£ USA in 1:;98-cv-01232, plaintiffs

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8/6/38

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STATE OF NEW YORK in 1:98-cv-01233, plaintiff STATE OF
CALIFORNZA in 1:98-cv~-01233, plaintiff STATE OF CONNECTICUT
in 1:98-cv-01233, plaintiff DC in 1:98-ev-01233, plaintiff
STATE OF FLORIDA in 1:98-cv-01233, plaintiff STATE OF
TLLINOTS in 1:98-cv-01233, plaintiff STATE OF IOWA in
1:98-cv-01233, plaintiff STATE OF KANSAS in 1:98-cv-01233,
plaintiff STATE OF KENTUCKY in 1:98-cv-01233, plaintiff
STATE OF LOUTSIANA in 1:98-cv-01233, plaintiff STATE OF
MARYLAND in 1:98-cv-01233, plaintiff COMMONWEALTH OF MASS
in 1:98-cv-01233, plaintiff STATE OF MICHIGAN in
1:98-cv-01233, piaintiff STATE OF MINNESOTA in
1:98-cv-01233, plaintiff STATE OF NEW MEXICO in
1:98-cv-01233, plaintiff STATE NC in 1:98-cv-01233,
plaintiff STATE OF OHIO in 1:98-cv-01233, plaintiff STATE
SC in 1:98-cv-61233, plaintiff STATE OF UTAH in
1:98-cv-01233, plaintiff STATE OF WV in 1:98-cv-01233,
plaintiff STATE OF WISCONSIN in 1:98-cv-01233 in opposition
to motion te modify stipulation and protective order [55-1]
by MICROSOFT CORP. in 1:98-cv-01232; exhibits (2) {tb}
[Entry date 08/06/98) [1:98cv1232 1:98cv1233]

STATUS HEARING before Judge Thomas P. Jackson ,Plaintiffs
motion to compel discovery is granted, defendants motion
for a protective order is denied, motion of the plaintiff
to file certain exhibits under seal is granted, holding in
abeyance defendants motion to modify stipulation and
protective order, and granting defendants mot to maintain
under seal certain documents. Reporter: Dave Kasdan
(Miller} (rew) [1:98cv1232 1:98cv1233]

ORDER by Judge Thomas P. Jackson : denying motion for
protective order [56-1] by MICROSOFT CORP, in
1:98=cv-01232, granting motion to file under seal exhibits
[53-1] by by plaintiff in 1:98-cv-01232, 1:98-cv-01233 and
directing Exhibits A,E,and G of plaintiffs memorandum in
Support of motion to compel discovery be filed under seal,
granting motion to compel discovery [51-1] by USA in
1:98-cv-01232 and directing defendant to produce certain
materials, make William Gates available for deposition
commencing on 8-12-98 and within 3 days of this Order
schedule remaining depositions, granting motion to maintain
under certain confidential documents [24-1] by MICROSOFT
CORP. in 1:98-cv-01232, and holding in abeyance defendants
motion to modify the 5-27-98 stipulated protective order.
(N) (rew) [1:98ev1232 1:98¢v1233]

PRETRIAL ORDER #2 by Judge Thomas P. Jackson ,with
instructions to counsel on modification of pretrial order
#1, mandatory expert disclosures and discovery, use of
dipesiticn testimony at trial, technical demonstrations at
trial, and identification of witnesses/submission of direct
testimony. (NWN) (rew) [1:98cv1232 1:98cv1233)4

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MEMORANDUM by defendant MICROSOFT CORP. in 1:98-cv-01232
in support of proposed pretrial order No. 2 [60-1]; (fiat)
JACKSON, J.; exhibits (3) (tb) [Entry date 08/07/98]
[L:98evl1232]

REPLY by plaintiff USA in 1:98-cv-01232, plaintiff STATE
OF NEW YORK in 1:98~ev-01233, plaintifi STATE OF CALIFORNIA
in 1:38-cv-01233, plaintiff STATE OF CONNECTICUT in
1:98-ev-01233, plaintiff DC in 1:98~cv-01233, plaintiff
STATE OF FLORIDA in 1:98-cv-01233, plaintiff STATE OF
TLLINOTS in 1:98+cv-01233, plaintiff STATE OF IOWA in
1:98-cv-01233, plaintiff STATE OF KANSAS in 1:98~-cv-01233,
plaintiff STATE OF KENTUCKY in 1:98-cv-01233, plaintiff
STATE OF LOUISIANA in 1:98-cv-01233,. plaintiff STATE OF
MARYLAND in 1:98-cv-01233, plaintiff COMMONWEALTH OF MASS
in’ 1:98-cv-01233, plaintiff STATE OF MICHIGAN in
1:98-cv-01233, plaintiff STATE OF MINNESOTA in
1:98-cyv-01233, plaintiff STATE OF NEW MEXICO in
1:98-cv-01233, plaintiff STATE NC in 1:98-cv~-01233,
plaintiff STATE OF OHIO in 1:98-cv-01233, plaintiff STATE
SC in 1:98-cv-01233, plaintiff STATE OF UTAH in
1:98-cv-012353, plaintiff STATE OF WV in 1:98-cv-01233,
plaintiff STATE OF WISCONSIN in 1:98-cv-01233 in support of
motion to compel [41-1]; exhibits (1,3); (EXHIBIT 2 FILED
UNDER SEAL) (tb) [Entry date 08/07/98] [1:98cv1232
1:98cv1233]

MEMORANDUM by plaintiff USA in 1:98-cv-01232, plaintiff
STATE OF NEW YORK in 1:88-cv-01233, plaintiff STATE OF
CALIFORNIA in 1:98-cv-01233, plaintiff STATE OF CONNECTICUT
in 1:98-cv-01233, plaintiff DC in 1:98-cv~-01233, plaintiff
STATE CF FLORIDA in 1:98-cv-01233, plaintiff STATE oF
ILLINOIS in 1:98-cv-01233, plaintiff STATE OF IOWA in
1:98-cv-01233, plaintiff STATE OF KANSAS in 1:98-cv-01233,
plaintiff STATE OF KENTUCKY in 1:98-cv-01233, plaintiff
STATE OF LOUISTANA in 1:98-cv-01233, plaintiff STATE OF
MARYLAND in 1:98-cv-01233, plaintiff COMMONWEALTH OF MASS
in 1:98-cv-01233, plaintiff STATE OF MICHIGAN in
1:98-cy-01233, plaintiff STATE OF MINNESOTA in
1:98-cy-01233, plaintiff STATE OF NEW MEXICO in
1:98-cv-01233, plaintiff STATE NC in 1:98-cv-01233,
piaintiff STATE OF CHIO in 1:98-cv-01233, plaintiff STATE
SC in 1:98-cyv-01233, plaintiff STATE OF UTAH in
1:38-cv-01233, plaintiff STATE OF WV in 1:98-cv-01233,
plaintiff STATE OF WISCONSIN in 1:98~cv-01233 in opposition
to motion for protective order [56-1] by MICROSOFT CORP. in
1:98-cv-O01232 (tb) [Entry date 08/07/58] [1:98ev1232
1:98cev1233)

MOTION filed by movant NETSCAPE COMMMUN in 1:98-cv-01232
for leave to file opposition to defendant MICROSOFT CORP
motion te modify stipulation and protective order; exhibit
(3) (tb) [Entry date 08/07/98] [Edit date 12/15/98]
[1:98evl1232)

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1:98evl232 USA v. MICROSOFT CORP. CONSOL TYPE A
8/6/98 65 MEMORANDUM by plaintiff USA in 1:98-cv-01232, plaintiffs

in 1:98-cv-01233 in support of plaintiffs' proposed
pretrial order no. 2 & opposition to defendant Microsoft's
proposed pretrial order no. 2 (cjp) [Entry date 08/10/98]
[1:98¢ev1232 1:98cv1233]

8/7/98 70 MOTION filed by Non Party NETWORK COMPUTER INC in
1:98-cv-01232 for leave to file response in opposition to
motion of MICROSOFT CORP to modify stipulation and
portective order; (fiat) JACKSON, J.; BXHIBIT (RESPONSE &
RiC9 CERTIFICATE) (tbh) [Entry date 08/11/98]

[Edit. date 98/11/98] [1:98cv1232]

8/7/98 72 TRANSCRIPT filed for discovery status call held on date(s)
of August 06, 1938. Reporter: David A. Kasdan (jmf)
[Entry date 08/12/98] [1:98¢ev1232 1:98cv1233]

8/10/98 66 MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
to file excess pages limitation to their motion for summary
jugdment; (fiat) JACKSON, J.; EXHIBITS (MOTION); APPENDIX
I,ii & STATEMENT OF MATERIAL OF FACTS P&A'S LODGED UNDER
SBAL (fiat 8/11/98) JACKSON, J. (tb) [Entry date 08/11/98]
[Edit date 08/13/98] [1:°98cv1232]

8/10/98 67 MEMORANDUM by defendant MICROSOFT CORP. in 1:98-cv-01232
in opposition to motion for preliminary injunction [2-1] by
USA (tb) [Entry date 08/11/98] [1:98cv1232]

8/10/98 68 MEMORANDUM by defendant MICROSOFT CORP. in 1:98-cv-01232
in opposition to motion for preliminary injunction [2-1] by
USA; (FILED UNDER SEAL) (tb) [Entry date 08/11/98]
Fl: 98cv1232]

8/11/98 —-- MOTION HEARING before Judge Thomas P. Jackson , motion of
New York Times and joined by Seattle Times to attend
deposition of William Gates heard and taken under
advisement. Reporter: P. Merana (rew) [1:98cev1232 1:98cv1233]

 

8/11/98 69 ORDER by Judge Thomas P. Jackson : granting motion to
file excess pages limitation to their motion for summary
jugdment [66-1] by MICROSOFT CORP. in 1:98-cv-01232 {MN} (rew)
[Edit date 08/11/98] [1:98cv1232 1:98cv1233)

8/11/38 71 ORDER by Judge Thomas P, Jackson, granting in part motion
of prospective intervenors to enforce a "right of access",
and directing intervenors and public shall be admitted to
ali depositions to be taken to the extent space is
available, with instructions as to an interlocutory appeal
and ali depositions are stayed pending presentation by
intervenors and the parties of an agreed form of order
establishing protocol for affording access to pretrial
deposition and protecting the interests of the parties. ({N)
(rew) Ll: 98cevi232 1:98c¢cv1233]

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8/11/98 76 MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232

for summary judgment; appendixes (2); (APPENDIX I & II
FILED UNDER SEAL) (fiat} JACKSON, J. (cjp)
[Entry date 08/13/98] [1:98cv1232]

 

e/11/98 77 MOTION filed by movant SEATTLE TIMES in 1:98-cv-91232
joining in the motion of the New York Times Co for leave to
intervene EXHIBIT (R109 & INTERVENTION COMPLAINT)
(ADMINISTRATIVELY FILED ONLY) {cjp) [Entry date 08/13/98]
[1:98ev1232}

8/11/98 78 MOTION filed by movant REUTERS AMERICA, INC. in
2:98-cv-01232 for leave to intervene as a non-party and
notice of joinder in motion of the New York Times for
emergency relief EXHIBIT (R109 & INTERVENTION COMPLAINT)
(ADMINISTRATIVELY FILED) (cjp) [Entry date 08/13/98]
[1:98ev1232]

a/i1/98 79 MOTION {EMERGENCY} filed by movant SEATTLE TIMES in
1:98-cv-01232, movant ZDTV LLC in 1:98-cv-01232, movant
ZDNET in 1:98-cv-01232, movant NEW YORK TIMES Co in
1:98-cv-01232 for order enforcing 15 USC Section 30;
exhibits (4) (fiat) JACKSON, J. (ADMINISTRATIVELY FILED}
(cjp) [Entry date 08/13/98] [Edit date 02/13/98]
[1:98ev1232]

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8/11/98 80 MEMORANDUM by defendant MICROSOFT CORP. in 1:98-cv-01232
in opposition te motion for order enforcing 15 USC Section
30 [73-1] by NEW YORK TIMES CO, ZDNET, Z2DTV LLC, SEATTLE
TIMES {(cjp) [Entry date 08/13/98] [1:98cv1232]

8/11/88 81 MOTION filed by movant BLOOMBERG NEWS in 1:98-cv-01232 to
join the pending emergency motion for an order enforcing 15
USC Section 30 by the New York Times Company, ZBTIV, LLC,
ZDNET, & The Seattle Times {ADMINISTRATIVELY FILED) (cjp)
[Entry date 08/13/98] [1:98cv1232]

6/11/98 91 MOTION filed by movant SAN JOSH MERCURY NEW in 1:98-cv-01232
to intervene as a non-party and join in the opposition to
the motion of defendant Microsoft Corporation to maintain
documents under seal; declaration (1) (ADMINISTRATIVELY
FILED) (tb} [Entry date 08/20/98] [Edit date 08/24/98)
[1:98cv1232]1

8/12/98 73 MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
to stay case pending Appeal as to movant NEW YORK TIMES Co
in 1:98-ev-01232 (tb) [1:98ev1232]

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8/42/98 —-- STATUS HEARING before Judgé Thomas P. Jackson , motion of
defendant to stay case pending appeal of 8-11-98 order
heard and denied. Reporter: P. Merana (rew) [1:98cvl232
1:98ev1233]

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8/12/98 74 . NOTICE OF APPEAL by defendant MICROSOFT CORP. in

1:98-cyv-01232 from order [71-1], entered on: 08/11/98;
$105.00 FILING FEE PAID; copies malled to A. Douglas
Melamed, Daryl A. Libow, John L. Warden, Lee J. Levine,
David P. Murray, Allen R. Snyder, Donald M. Falk, Dennis C,
Vacco §& Christopher Crook (tb) [1:98cvi232]

8/12/98 —- TRANSMITTED PRELIMINARY RECORD on appeal [74-1] by
MICROSOFT CORP. to U.S. Court of Appeals (tb)
[1:88ev1232]

8/12/98 75 ORDER by Judge Thomas P. Jackson : denying motion to stay
case pending Appeal as to movant NEW YORK TIMES CO in
1:98-cv-01232 [73-1] by MICROSOFT CORP. in 1:98-cv-01232
(N) (tb) [1:98ev1232 1:98¢v1233]

 

8/12/98 82 MEMORANDUM by movant NEW YORK TIMES CO in 1:98~cv-01232,
movant SEATTLE TIMES in 1:98-cv-01232, movant ZDTV LLC in
1:98-ev-01232, movant ZDNET in 1:98-cv-01232 in opposition
fo motion to stay case pending Appeal as to movant NEW YORK
TIMES CO in 1:98-cv-01232 [73-1] by MICROSOFT CORP.
(ADMINISTRATIVELY FILED) (cjp) [Entry date 08/13/98]

[Edit date 02/25/99] [1:98cv1232]

8/12/98 83 RESPONSE (OPPOSTTIONS) by plaintiff USA in 1:98-cv-01232 to
motion to stay case pending Appeal as to movant NEW YORK
TIMES CO in 1:38-cv-01232 [73-1] by MICROSOFT CORP. (clip)
[Entry date 08/13/98] [1:38cv1232]

8/12/98 84 REPLY by movant NEW YORK TIMES CoO in 1:98-cyv-01232, movant
ZDTV LLC in 1:98-cv-01232, movant ZDNET in i:98-cv-01232 in
support of their motions [8-1] (ADMINISTRATIVELY FILED) (cjp)
[Entry date 08/13/98] [1:98cv1232]

8/12/98 6&5 RESPONSE (OPPOSITIONS) by movant NEW YORK TIMES Co in
- 1;98-cy-01232, movant ZDTV LEC in 1:98-cv-01232, movant
ZDNET dn 1:98-cev-01232 to motion to maintain under seal
certain confidential documents [24-1] by MICROSOFT -CORP.
(ADMINISTRATIVELY FILED) {cjp}) [Entry date 08/13/98]
[1:$8evi232]

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8/12/98 86 RESPONSE (OPPOSTTIONS) by defendant MICROSOFT CORP. in
1:98-cy-O01232 to motion for NEW YORK TIMES CO to intervene
[8-1] (ADMINISTRATIVELY FILED) (cjp}) [Entry date 08/13/98]
[1:98cvi232] .

8/12/98 87 MOTION filed by movant 42DIV LLC in 1:98-cv-01232, movant
ZDNET in 1:98-ev-01232 to join in the motion of The New
York Times for leave to intervene EXHIBIT (R109 &
INTERVENTION COMPLAINT) (ADMINISTRATIVELY FILED) (cjp)
[Entry date 08/13/98] [Edit date 08/13/98] [1:98c¢v1232]

8/13/98 -- TRANSMITTED supplemental record on appeal [74-1] by
MICROSOFT CORP. (tb} [1:98cv1232]

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1:98cv1232 USA v. MICROSOFT CORP. CONSOL TYPE A
8/13/38 88 ORDER by Judge Thomas P. Jackson, granting movants THE NEW

YOUK TIMES CO., ZDTV,LLC, ZDNET, THE SEATTLE TIMES, REUTERS
AMERICA INC., and BLOOMBERG NEWS motions to intervene
pursuant to FRCP 24(c) for the limited purposes of securing
such rights cf access as may be afforded by 15 USC 30, and
directing the Clerk to enter movants appearance as parties
in this action. (N} (rew) [Entry date 08/14/98]

[1:98ev1232 1:98cv1233]

8/13/98 —-- USCA # 98-5399 assigned for appeai [74-1] by MICROSOFT
CORP. (tb) [Entry date 08/24/98] [1:98cVv1232]

8/14/98 89 - TRANSCRIPT filed for date(s) of 08/11/98. Reporter:
Phyllis Merana (tb) [Entry date 08/17/98)? [1:98cv1232]

8/14/98 90 TRANSCRIPT filed for date(s) of 08/12/98. Reporter:
Phyllis Merana (tb) [Entry date 08/17/98] [1:98cv1232]

8/20/98 92 STIPULATION OF BRIEFING AND ARGUMENT SCHEDULE filed and
fiated by Judge Thomas P. Jackson plaintiffs answer to
defendants motion for summary judgment due 8-28-98,
defendants reply brief due 9-4~98, and argument set for
9-8-9838 at 9:30 am. (MN) (rew) [Edit date 08/20/98]
f1:98cvl232 1:98cv1233]

8/20/98 33 SCHEDULING ORDER by Judge Thomas P. Jackson ,amending
Pretrial Orders No.l and 2, p laintiffis reply in support of
motions for preliminary injunction due 8-28-98, plaintiffs
to identify expert witnesses by 9-2-98, defendants expert
witnesses by 9-4-98, depositions of expert witnesses after
9-7-9838 and no later than 9-17-98, witnesses lists due
9-4-98, pretrial statements due 9-14-98, plaintiffs direct
examinations by 9-17-98, and setting pretrial conference on
9-17-98 at 10:00 am, and trial on 9-23-38 az 10:00 am. (N)
(rew) [1:98cv1232 1:98¢v1233)

8/20/98 —-- SCHEDULING NOTICE: pretrial conference set for 10:00
9/17/98 in 1:98-ev-01232, in 1:98-cv-01233 ; trial set for
10:00 9/23/98 in 1:98-cv-01232, in 1:98-cv-01232 ; motion
hearing set for 9:30 9/8/98 in 1:98-cv-01232, in
1:98-ev-01233 ; before Judge Thomas P. Jackson . (rew)
ii:98evl232 1:98cyv1233]

8/20/98 -- STATUS HEARING before Judge Thomas P. Jackson , counsel
agree to briefing and argument schedule. Reporter: P.
Merana (rew) [1:98evl232 1:98cv1233]

8/26/98 94 MOTION filed by movant JERRY L. ROBINETT in 1:98-cv~-01232
for leave to file brief as amicus curiae; EXHIBIT (amicus
orief) (tw) [Entry date 08/27/98] [1:98cv1232]

 

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1:98ev1232 USA v. MICROSOFT CORP. CONSOL TYPE A
8/27/98 35 STIPULATED SUPPLEMENTAL BRIEFING AND ARGUMENT SCHEDULE

filed and fiated by Judge Thomas P. Jackson plaintiffs
answering brief to defendants motion for summary judgment
due 8-31-98, defendants reply due 9-8-9398, argument set for
9-11-98 at 9:30 AM. (N) (rew) [Entry date 08/28/98]
[i:98evl232 1:98cv1233])]

8/28/98 -- SCHEDULING NOTICE: response to motion for summary judgment
due €/31/98 in 1:98-cv-01232, in 1:98-cv-01233 reply motion
for summary judgment due 9/8/98 in 1:98-cv-01232, in
1:98-cv-01233 ; motion hearing set for 9:30 9/11/98 in
1:98-cv-01232, in 1:98-cv-01233 ; before Judge Thomas P.
Jackson . (rew) [1:98cv1232 1:98¢v1233]

8/31/98 96 RESPONSE by plaintiff states’ in 1:98-cy-01233 in
opposition to motion for summary judgment [76-1] by
MICROSOFT CORP. in 1:98-cy-01232. (tb) [Entry date 09/01/98]
[1:98evi232 1:98cv1233]

8/31/98 97 MOTTON filed by plaintiff USA in 1:98-cv-01232 for leave to
file overlength brief for plaintiff's joint response to
defendant's motion for summary judgment and reply in support
of motions for preliminary injunction; EXHIBIT {
BRIEF/REPLY/EXHIBITS ) (tb) [Entry date 69/01/98]

[Edit date 09/01/98] [1:98cv1232)

8/31/98 498 NOTICE OF FILING RE: merger effective 09/01/98 between
Genesis Law Group and Skjerven Morrill, MacPherson,
Franklin & Friel, LLP by movant SAN JOSE MERCURY NEW in
1:98-cv-01232 (tbh) [Entry date 09/01/98} [1:98cv1232]

9/1/98 103 RESPONSE (PUBLIC VERSION) by plaintiff USA in 1:98-cv-01232
to motion for summary judgment [76-1] by MICROSOFT CORP. (tb)
[Entry date 09/03/98] [Edit date 09/03/98] [1:98cv1?32]

9/1/98 104 REPLY (PUBLIC VERSION) by plaintiff USA in 1:98-cv-01232 to
motion for preliminary injunction [2-1] by USA (tb)
[Entry date 99/03/98] [1:938cv1i232]

9/1/98 105 RESPONSE by plaintiff USA in 1:98-cv-01232 to motion for
summary judgment [76-1] by MICROSOFT COREP.;
(RESPONSE /EXHIBITS/DECLARATIONS FILED UNDER SEAL) (tb)
[Entry date 09/03/98] [Edit date 09/03/98] [1:98cv1232]

9/1/98 106 REPLY by plaintiff USA in 1:98-cy-01232 to motien for
preliminary injunction [2-1] by USA;
(REPLY /EXHIBITS/DECLARATIONS FILED UNDER SEAL) (tb}
[Entry date 09/03/98] [1:98cv1232]

9/2/98 99 ORDER by Judge Thomas P. Jackson : granting nunc pro tune
to 8-31-98 motion for leave to file overlength brief for
plaintiff's joint response to defendant's motion for
summary judgment and reply in support of motions for
preliminary injunction [97-1] by USA (N) (rew)

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1:98cv1232 USA v. MICROSOFT CORP. CONSOL TYPE A

[1:98cv1232]

9/2/98 10¢ MOTION filed by plaintiff USA in 1:98-cv-01232 to compel
defendant MICROSOFT CORP to comply with discovery; exhibit
I; EXHIBIT IE (FILED UNDER SEAL) (tb) [Entry date 09/03/98]
[1:98cev1232}

9/2/98 102 MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
in Limine to limit issues fer trial; exhibits (2) (tb)
[Entry date 09/03/98]: [Edit date 09/03/98} [1:98cv1232]

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9/3/98 101 MOTION filed by plaintiff USA in 1:98-cv-01232 for order
directiing the filing of certain documents under seal (tb}
[1:98cv1232]

9/3/98 107 ORDER by Judge Thomas P. Jackson : granting motion for
order directiing the filing of certain documents under seal
fl101-1] by USA in 1:98-cv-01232, and Exhibit B is filed
under seal. (N) ({rew) [1:98ev1232 1:98cv1233]

9/3/98 108 MEMORANDUM by plaintiff USA in 1:98-cv-01232, plaintiff
STATE OF NEW YORK in 1:88-cv-01233, plaintiff STATE oF
CALIFORNIA in 1:98-cv-01233, plaintiff STATE OF CONNECTICUT
in 1:98-cv-01233, plaintiff DC in 1:98-cv-01233, plaintiff
STATE OF FLORIDA in 1:98-cv-01233, plaintiff STATE OF
TLLINOETS in 1:98-cv-01233, plaintiff£ STATE OF IOWA in
1:98-cv-01233, plaintiff STATE OF KANSAS in 1:98-cv-01233,
plaintiff STATE OF KENTUCKY in 1:938-cv-01233, plaintiff
STATE OF LOUISIANA in 1:98-cv-01233, plaintiff STATE OF
MARYLAND in .1:98~cv-01233, plaintiff COMMONWEALTH OF MASS
in 1:98-cv-01233, plaintiff STATE OF MICHIGAN in
1:98-cv-01233, plaintiff STATE OF MINNESOTA in
1:98-cv-01233, plaintiff STATE OF NEW MEXICO in
1:98-cv-01233, plaintiff STATE NC in 1:98-cv-01233,
plaintiff STATE OF OHIO. in 1:98-cv-01233, plaintiff STATE
SC in 1:98-cv-01233, plaintiff STATE OF UTAH in
1:98-cv-01233, plaintiff STATE OF WV in 1:98~cv-01233,
plaintiff STATE OF WISCONSIN in 1:98-cv-01233 in opposition
to motion in limine to limit issues for trial [102-1] by
MICROSOFT CORP. in 1:98-cv~01232 (tb) Fl: 98cevi232 1:98cv1233j

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9/3/98 109 - ORDER by Judge Thomas P. Jackson : granting in part
- motion to compel defendant MICROSOFT CORP to comply with

discovery [100-1] by USA in 1:98-cv-01232, and defendant is
ordered to promptly respond to requests 3,4, and 5 of
plaintiffs third joint request for production, and
defendants motion to Limit issues for trial is held in
abeyance until 9-17-98 pretrial conference. (N) (rew)
[1:98cvl232 1:98cvi233]

9/3/38 -- STATUS HEARING before Judge Thomas P. Jackson , plaintiffs
motion to compel heard and granted in part and defendants
motion to limit taken under advisement. Reporter: P. Merana
(rew) [1:98cv1232 1:98cv1233]

 

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1:98cv1232 USA v. MICROSOFT CORP. CONSOL TYPE A

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9/3/98

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9/4/98

9/4/38

9/8/98

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9/3/98

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MEMORANDUM by defendant MICROSOFT CORP, in 1:98-cv-0123?
in opposition to metion te compel defendant MICROSOFT CORP
to comply with discovery [100-1] by USA (tb)

[1:98ev1232]

MEMORANDUM by defendant MICROSOFT CORP. in 1:98-cv-01232
in support of motion in limine to limit issues for trial
[102-1] by MICROSOFT CORP. (tb} [1:98cv1232]

WITNESS LIST by defendant MICROSOFT CORP. in 1:98-cv-01232
{th) [Entry date 03/08/98] [1:98cv1232]

WITNESS LIST by plaintiff USA in 1:98-cv-01232, plaintiff
STATE OF NEW YORK in 1:98-cv-01233, plaintiff STATE oF
CALIFORNIA in 1:98-cv-01233, plaintiff STATE OF CONNECTICUT
in 1:98-cv-01233, plaintiff DC in 1:98-cv-01233, plaintiff
STATE OF FLORIDA in 1:98-cv~01233, plaintiff STATE OF
ELLINOIS in 1:98-cv-01233, plaintiff STATE OF IOWA in
1:98-cv-01233, plaintiff STATE OF KANSAS in 1:98-cyv-01233,
plaintiff STATE OF KENTUCKY in 1:98-cv-01233, plaintiff
STATE OF LOUISTANA in 1:$8-cv-01233, plaintiff STATE OF
MARYLAND in 1:98-cv-01233, plaintiff COMMONWEALTH OF MASS
in 1:98-cv-01233, plaintiff STATE OF MICHIGAN in
1:98-cv-01233, plaintiff STATE OF MINNESOTA in
1:98-cv-01233, plaintiff STATE OF NEW MEXECO in
1:38-cv-01233, plaintiff STATE NC in 1:98-cv-01233,
plaintiff STATE OF OHIO in 1:98-cv-01233, plaintiff STATE
SC in 1:98-cy-01233, plaintiff STATE OF UTAH in
1:98-cv-01233, plaintiff STATE OF WV in 1:98-~cv-01233,
plaintiff STATE OF WISCONSIN in 1:98-cv-01233 (tb)

[Entry date 09/08/98) [1:98cv1232 1:98cv1233]

SUPPLEMENTAL EXPERT DISCOVERY SCHEDULE STIPULATION filed
and fiated by Judge Thomas P. Jackson Plaintiff to identify
expert witnesses and disclosures by 9-3-98 and Defendant to
identify expert witnesses and disclosures by 9/5/98 . (N)
(rew) [Entry date 03/08/98] [1:98cv1232 1:98cv1233]

REPLY by defendant MICROSOFT CORP. in 1:98-cv-01232 in
suppert of motion for summary judgment [76-1] by MICROSOFT
CORP.; (EXHIBITS AND REPLY FILED UNDER SEAL} (tb)
~[i:88evi232]

MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
for leave to file public version of an overlength reply in
support of motion for summary judgment; EXHIBIT (REPLY) (tb)
[Entry date 09/09/98] [1:98¢v1232]

ORDER by Judge Thomas P. Jackson : granting motion for
leave to file public version of an overlength reply in
support of motion for summary judgment [116-1] by MICROSOFT
CORP. in 1:98-cv-01232 (N) (rew) [Entry date 09/10/98]
[i:98cv1232 1:98¢cv1233]

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1:98cv1232 USA v. MICROSOFT CORP. CONSOL TYPE A
9/9/98 118 REPLY {PUBLIC VERSION) by defendant MICROSOFT CORP. in

1:98-cv-01232 in support of motion for summary judgment
[76-1] by MICROSOFT CORP.; exhibits (7) (tb)
fEntry date. 09/10/98] [1:98ev1232)

9/16/38 119 OBJECTIONS by plaintiff USA in 1:98-cv-01232 to evidence
submitted by defendant MICROSOFT in support of their motion
for summary judgment [76-1] by MICROSOFT CORP.; (FILED
UNDER SEAL) (tb) [Entry date 09/11/98] [1:980v1232]

9/11/98 —-- MOTION HEARING before Judge Thomas P. Jackson, defendants
motion for summary judgment heard and taken under
advisement. Reporter: P.Merana (rew) [1:98cv1232 1:98cv1233]

9/14/98 120 MEMORANDUM AND ORDER by Judge Thomas P. Jackson
granting motion for summary judgment [76-1] by MICROSOFT
CORP. in 1:98-cv-01232 on Plaintiff STATES third claim for
relief and the claim is dismissed with prejudice and the
motion for summary judgment is otherwise denied. (N) (N)
(rews [1:98cv1232 1:98cv1233]

9/14/98 121 ORDER by Judge Thomas P. Jackson ,amending scheduling
order of 8-20-98 (N) (rew) [1:98cv1232 1:98cv1233]
9/14/98 122 STIPULATION filed and fiated by Judge Thomas P. Jackson

amending scheduling order of 8-20-98, expert wintesses to
be deposed after 9-14-98 and not later than 10-9-%8,
pretrial statements due 10-6-98, plaintiffs to file direct
examinations of witnesses by 10-$-98, final. pretrial
conference set 10-9-98 at 10:00 am and trial set for
10-15-98 at 10:00 am . {N) (rew) [1:98cv1232 1:98¢v1233]

9/14/98 123 ORDER by Judge Thomas F. Jackson , granting defendants
motion for leave to file supplemental memorandum in support
of its motion for summary judgment. (N) (rew)

[L:98cv1232 1:98cv1233]

9/14/98 124 MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
for leave to file supplemental memorandum in support of
motion for summary judgment; EHXIBIT (SUPPLEMENTAL
MEMORANDUM) (tb) [Entry date 09/15/98] [1:98cv1232]

9/14/98 125 SUPPLEMENTAL MEMORANDUM by defendant MICROSOFT CORP. in
1:98-cv-01232 in support of motion for summary judgment
[76-1] by MICROSOFT CORP. (tb) [Entry date 09/15/98]
[1:98cev1232]

9/16/98 —-- SCHEDULING NOTICE: status hearing set for 9:30 9/17/98 in
1:98-cv-01232, in 1:98-cv-01233 ; before Judge Thomas P.
Jackson . (rew) [1:98cev1232 1:98cv1233]

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9/17/98 128
9/24/98 129
9/24/98 130
9/25/98 131
9/28/98 132
9/29/98 —-
9/29/98 133

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MICROSOFT CORP, CONSOL TYPE A

MEMORANDUM (ADDENDUM) by plaintiff USA in 1:98-cv-01232 in
support of motion for preliminary injunction [2-1] by USA;
(EXHTBIT-A FILED UNDER SEAL) (tb) [Entry date 09/17/98]

Pl: 98ev1232]

ERRATA RE: Statement of extraneous issues to be excluded
from trial by defendant MICROSOFT CORP. in 1:98-cv-01232 (tb)
[Entry date 09/17/98] [1:98evi232]

STATUS HEARING and pretrial before Judge Thomas P. Jackson
,defendants motion to limit issues for trial heard and
denied without prejudice. Reporter: P. Merana (rew)
{1:98evl1232 1:98ev71233]

ORDER by Judge Thomas P. dackson : denying without
prejudice moticn in limine to limit issues for trial
f102-1] by MICROSOFT CORP. in 1:98-cv-01232 (N) (rew)
[i:98evl1232 1:98¢v1233]

EMERGENCY MOTION filed by movant ORACLE CORPORATION in
1:98-cv-01232 for protective order restraining MICROSOFT
CORP from attempting to enforce subpoena; declarations (2);
exhibits (7) (tb) [Entry date 09/25/98] [1:98cv1232]

RULE 2109 Certificate of disclosure of corporate
affiliations and financial interests by movant CRACLE
CORPORATION in 1:98-cv-01232 (tb) [Entry date 09/25/98]
[1:98cv12321

MEMORANDUM by defendant MICROSOFT CORP. in 1:98-cv-01232 in
opposition to motion for protective order restraining
MICROSOFT CORP from attempting to enforce subpoena [129-1]
by ORACLE CORPORATION; declaration {1); exhibits (5) (tb)
fEntry date 09/28/98] [1:98cv1232]

REPLY by movant ORACLE, CORPORATION in 1:98-cv-01232 in
support of motion for protective order restraining
MICROSCET CORP from attempting to enforce subpoena [129-1]
by ORACLE CORPORATION (tb; [Entry date 09/29/98]
[1:98¢v1232)

MOTION HEARING before Judge Thomas P. Jackson , motion of
movant ORACLE CORP. for protective order heard and taken
under advisement. Reporter: P. Merana (rew) [1:98cv1232
2:98cv1233}]

ORDER by Judge Thomas P. Jackson : granting in part and
denying in part motion for protective order restraining
MICROSOFT CORP from attempting to enforce subpoena [129-1]
by ORACLE CORPORATION in 1:98-cv-01232, directing ORACLE
CORP. to produce certain documents by 10-9-98 and by
October 9 and 14 one or more wintesses for depesition and
the Protective Order of 5-27-98 is applicable to all
discovery produced by ORACLE CORP. (N}) (rew)

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1:938evl232 USA v. MICROSOFT CORP. CONSCL TYPE A

[1:98ev1232 1:98cv1233]

10/2/98 134 MOTION (RENEWED) filed by plaintiff USA in 1:98-cv-01232,
plaintiffs states in 1:98-cv-01233; STATE OF NEW YORK, STATE

OF CALTFORNIA, STATE OF CONNECTICUT, DC, STATE OF FLORIDA,
STATE OF ILLINOIS, STATE OF IOWA, STATE OF KANSAS, STATE OF
KENTUCKY, STATE OF LOUISTANA, STATE OF MARYLAND,
COMMONWEALTH OF MASS, STATE OF MICHIGAN, STATE OF MINNESOTA,
STATE OF NEW MEXICO, STATE NC, STATE OF OHIO, STATE SC,
STATE OF UTAH, STATE OF WV, STATE OF WISCONSIN to compel
defendant MICROSOFT CORP. to produce databases; (MEMORANDUM
IN SUPPORT OF MOTION AND EXHIBIT FILED UNDER SEAT) (tb)
[Entry date 10/05/98] [Edit date 10/05/98] [1:98cv1232
1:98¢v1233}

10/2/98 135 MOTION filed by plaintiff USA in 1:98-cv-01232, plaintiffs
states in 1:98-cv-12335; STATE OF NEW YORK, STATE OF
CALIFORNIA, STATE OF CONNECTICUT, DC, STATE OF FLORIDA,
STATE OF ILLINOIS, STATE OF IOWA, STATE OF KANSAS, STATE OF
KENTUCKY, STATE OF LOUISIANA, STATE OF MARYLAND,
COMMONWEALTH OF MASS, STATE OF MICHIGAN, STATE OF
MINNESOTA, STATE OF NEW MEXICO, STATE NC, STATE OF OHIO,
STATE SC, STATHR OF UTAH, STATE OF WV, STATE OF WISCONSIN
to seal memorandum in support of renewed motion to compel
MICROSOFT CORP. to produce databases and the attached
exhibit (tke) [Entry date 10/05/98] [1:98cv1232 1:98cv1233]

10/5/98 136 MEMORANDUM (PUBLIC FILED VERSION) by plaintiff USA in
1:98-ev-01232, plaintiff STATE OF NEW YORK in 1:98-cyv-01233,
plaintiff STATE OF CALIFORNIA in 1:38-cv-01233, plaintiff
STATE OF CONNECTICUT in 1:98-cv-01233, plaintiff DC in
1:38-cv-01233, plaintiff STATE OF FLORIDA in 1:98-cyv-01233,
plaintiff STATE OF TLLINOIS in 1:98-cv-01233, plaintiff
STATE OF IOWA in 1:38-cv-01233, plaintiff STATE OF KANSAS in
1:98-cv-01233, plaintiff STATE OF KENTUCKY in 1:98-cv-01233,
plaintiff STATE OF LOUISIANA in 1:98~cv-01233, plaintiff
STATE OF MARYLAND in 1:38-cv-01233, plaintiff COMMONWEALTH
OF MASS in 1:98-cv-01233, plaintiff STATE OF MICHIGAN in
1:98-cv-01233, plaintiff STATE OF MINNESOTA in
1:98-cyv-01233, plaintiff STATE OF NEW MEXICC in
2:98-cv-01233, plaintiff STATE NC in 1:98-cv-01233,
plaintiff STATE OF OHIO in 1:98-cy-01233, plaintiff STATE Sc
in 1:98~cv-01233, plaintiff STATE OF UTAH in 1:98-cy-091233,
plaintiff STATE OF WV in 1:98-cv-01233, plaintiff STATE oF
WISCONSIN in 1:98-cv-01233 in support of renewed motion to
compel defendant MECROSOFT CORP. to produce databases
[134-1] by USA in 1:98-cv-01232 and plaintiff states in
1:98-cv-1233 (tb) [Entry date 10/06/98]

LEdit date 10/06/98] [1:98cev1232 1:98cv1233]

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1:98¢cv1232 USA v. MICROSOFT CORP. CONSOL TYPE A
10/6/98 137 PRETRIAL STATEMENTS (JOINT) by plaintiff USA in

10/6/98

10/6/98

10/8/98

10/8/38

10/8/98

10/8/98

10/8/98

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1:98-cv-01232, plaintiff states in 1:98-cv-1233 STATE OF NEW
YORK , STATE OF CALIFORNIA, STATE OF CONNECTICUT, DC, STATE
OF FLORIDA, STATE OF TLLINOIS, STATE OF IOWA , STATE OF
KANSAS, STATE OF KENTUCKY, STATE OF LOUISIANA, STATE OF
MARYLAND, COMMONWEALTH OF MASS , STATE OF MICHIGAN, STATE OF
MINNESOTA, STATE OF NEW MEXICO, STATE NC , STATE OF OHTO,
STATE SC, STATE OF UTAH , STATE OF WV , STATE OF WISCONSIN
(tb) [Entry date 10/07/98] [Edit date 10/07/98]

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f2:98ev1232 1:98cv1233]

RESPONSE by defendant MICROSOFT CORP. in 1:98-cy-01232 in
oppesition to motion to compel defendant MICROSOFT CORP. to
produce databases [134-1] by plaintiff USA in 1:98-cv-1232
and plaintiffs states in 1:98-cv-1233; exhibits (2) (tb)
[Entry date 10/07/98] [1:98cv1232]

PRETRIAL STATEMENTS by defendant MICROSOFT CORP. in
1:98-cv+01232; exhibit (1) (tb) [Entry date 10/07/98]
[1:98cv1232]

MOTION Filed by movant WASHINGTON POST CO. in

1:38-cv-01232, movant ASSOCIATED PRESS in 1:98~cv-01232,

movant DOW JONES & COMPANY in 1:98-cv-01232 for leave to i
file to intervene; exhibit (1); EXHIBITS {COMPLAINT &
CERTIFICATION OF RULE 109 STATEMENT) (fb} [1:98cv1232}

eects dee

REPLY by plaintiff USA in 1:98-cv-01232, plaintiff states
in 1:98-cv-1233; STATE OF NEW YORK, STATE OF CALIFORNIA,
STATH OF CONNECTICUT, DC, STATE OF FLORIDA, STATE OF:
ILLINOIS, STATE OF IOWA, STATE OF KANSAS, STATE OF
KENTUCKY, STATE OF LOUISTANA, STATE OF MARYLAND,
COMMONWEALTH OF MASS, STATE OF MICHIGAN, STATE OF
MINNESOTA, STATE OF NEW MEXICO, STATE NC, STATE OF OHIO,
STATE SC, STATE OF UTAH, STATE OF WV, STATE OCF WISCONSIN to
motion to compel defendant MICROSOFT CORP. to produce
databases [134-1] in 1:98-cv-01232; exhibit (1) (tb)
12:98cV1l232 1:398cvi233}j

OBJECTIONS by defendant MICROSOFT CORP. in 1:98-cv-091232 to
plaintiffs' new requests for relief and attempt to expand
this case beyond the allegations in the complaints. (tth)
[Entry date 10/09/98} [1:98cevi232}

SCHEDULE OF WITNESSES filed by plaintiff USA in
1:98-cv-+01232 and plaintiff STATES' in 1:98-cv-01233, (tth)
[Entry date 10/09/98] [Edit date 10/09/98] [1:98cv1232

1: 98ev1233}

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SCHEDULE OF WITNESSES filed by defendant MICROSOFT CORP. in
1:98-cv-01232 (tth) [Entry date 10/09/98} [1:98cv1232]

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1:98ecv1l232 USA Vv.

10/9/98

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10/9/38

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10/38/98

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MICROSOFT CORP. CONSOL TYPE A

FINAL PRETRIAL ORDER by Judge Thomas PB. Jackson, adopting
and incorporating the parties pretrial statements and
schedules of witnesses and lists of exhibits, resetting
trial for 10-19-98 at 10:00 am, with instructions on order
of witnesses and notification to the Court, testimony of
witnesses, rebuttal and surrebuttal evidence, discovery,
evidence and the public record, videotape and transcript
depositions as public record, and proposed findings and
conclusions following the close of evidence. (N) (rew)
[i:98cvl232 1:98cV71233] ,

ORDER by Judge Thomas P. Jackson : denying motion for
leave to file to intervene [140-i] by DOW JONES & COMPANY,
ASSOCIATED PRESS, WASHINGTON POST CO. in 1:98-cv-01232 (N}
{(rew) [21:98ev1232 1:98cv1233]

SECOND AMENDED SCHEDULING ORDER by Judge Thomas P. Jackson
, allowing parties to exchange and file pretrial statements
on 10-6-98, exchange and file schedules of witnesses by
5:00 p.m. on 10/8/38, setting final pretrial conference for
10-9-98 at 10:00 a.m., exchange final exhibit lists on
10-10-98 and file lists on 10-13-98, serve and file direct
examinations of witnesses and deposition designations on
10-13-38. (MN) (rew) [1:98cv1232 1:98cv1233]

ORDER by Judge Thomas P. Jackson : granting motion to
compel defendant MICROSOFT CORP. to produce databases
[134-1] by counter-defendant by plaintiff, in
1:9@-cv-01232, 1:98-cyv-01233, and directing defendant to
produce to plaintiffs by 5:00 p.m. on 10-12-98 exact
duplicate of each of its own databases or by permitting
plaintiffs access to the computer systems at a mutually
agreeable time but no later than 10:00 a.m. on 10-24-98,
and with instructions on failure to comply. (N) (rew}
fL:38ev1l232 1:98cv1233]

STATUS HEARING before Judge Thomas P. Jackson , joint
motion to continue trial granted, trial reset for 10:00
10/19/98 in 1:98-cv-01232, in 1:98-cv-01233 ; motion to
interven denied, plaintiffs motion to compel granted.
Reporter: P.Merana (rew) [1:98cvl232 1:98cv1233]

MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
for leave of court to initiate discovery concerning new
witnesses (tb) [Entry date 10/13/98]

[Edit date 10/13/98] [1:98cv1232}

MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
to continue trial to 11/02/98 to address testimony of
plaintiff's new trial witnesses (tb) [Entry date 10/13/38]
[1:98cv1232]

MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
for leave of court to alter its witness list (tb)

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1:98cvl1232 USA v. MICROSOFT CORP. CONSOL TYPE A

[Entry date 10/13/98] [1:98¢cv1232]

10/13/98 152 MOTION filed by plaintiff USA in 1:98-cv-01232 for leave
of court to conduct depositions of Microsoft's new
witnesses (tb) [Entry date 10/14/98] [1:98cv1232]

10/13/38 153 RESPONSE by plaintiff USA in 1:98-cv-01232 to motion for
leave of court to initiate discovery concerning new
witnesses [149-1] by MICROSOFT CORP. (tb)

[Entry date 10/14/98] [1:98cev1232]

10/13/98 154 RESPONSE by plaintiff USA in 1:98-cv-01232 in oppesition
, to motion to continue trial to 11/02/98 to address
testimony of plaintiff's new trial witnesses [150-1] by
MICROSOFT CORP. . (tb) [Bntry date 10/14/98]
P4:98cv1232]

10/13/98 155 ERRATA RE: appendixes B & C of plaintiff's pre-trial
statement filed on 10/06/98 by plaintiff USA in
1:98-cyv-01232, and plaintiff states in 1:98-cv-1233; STATE
OF NEW YORK, STATE OF CALIFORNIA, STATE OF CONNECTICUT, DC,
STATE OF FLORIDA, STATE OF ILLINOIS, STATE OF IOWA, STATE
OF KANSAS, STATE OF KENTUCKY, STATE OF LOUISTANA, STATE OF
MARYLAND, COMMONWEALTH OF MASS, STATE OF MICHIGAN, STATE OF
MINNESOTA, STATE OF NEW MEXICO, STATE NC, STATE OF OHIO,
STATE SC, STATE OF UTAH, STATE OF WV, STATE OF WISCONSIN (tb)
[Entry date 10/14/98] [1:98cv1232 1:98cv1233]

10/13/98 156 MOTION filed by plaintiff. USA in 1:98-cv-01232, and
plaintiff states in 1:98-cv-1233; STATE OF NEW YORK, STATE
OF CALIFORNIA, STATE OF CONNECTICUT, DC, STATE OF FLORIDA,
STATE OF ILLINOIS, STATE OF ITOWA, STATE OF KANSAS, STATE OF
KENTUCKY, STATE OF LOUISIANA, STATE OF MARYLAND,
COMMONWEALTH CF MASS, STATE OF MICHIGAN, STATE OF
MINNESOTA, STATE OF NEW MEXICO, STATE NC, STATE OF OHIO,
STATE SC, STATE OF UTAH, STATE OF WV, STATE OF WISCONSIN
to place written direct testimony of witnesses temporarily
under seal until the day pricr to the witness's court
appearance; exhibit {1} (tb) [Entry date 10/14/98]
[1:98ev1232 1:98cv1233]

10/23/98 157 NOTICE OF FILING RE: of testimony of: Edward W. Felten,
Professor David J. Farber, James A. Gosling, Franklin M.
Fisher, Glenn E. Weadock, David M. Coiburn, John Soyring,
Frederick B. Warren-Boulton, Jim Barksdale, William Harris,
and Avadis Tevanian, Ur. by plaintiff USA in 1:98~-cv~-01232;
(FILED UNDER SEAL} (tb) [Entry date 10/14/98]
[1:98ev1232)

10/14/38 158 ORDER by Judge Thomas P. Jackson : granting motion to
. place written direct testimony of witnesses temporarily
under seal untii the day prior to the witness's court
appearance [(156-1] by counter-defendantby plaintiff,
in 1:98-cev-01232, 1:98-cv-01233 (N} (rew)

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Proceedings Include All Events. OM/ECE
1:98cv1232 USA v. MICROSOFT CORP. CONSOL TYPE A

[1:98cevi232 1:98cv1233]

10/14/98 159 ORDER by Judge Thomas P. Jackson : granting motion for
leave of court to alter its witness List [151-1] by
MICROSOFT CORP. in 1:98-cv-01232, and substituting Eric
Engstrom and Robert Muglia for Thomas Reardon and Jeffrey
Raikes on defendant's schedule of witnesses filed 10-8-98.
{(N) (rew) [1:98evl232 1:98c¢cv1233]

10/14/98 160 ORDER by Judge Thomas P. Jackson : denying motion to
continue trial to 11/02/98 to address testimony of
plaintiff's new trial witnesses [150-1] by MICROSOFT CORP.
in 2:98-cv-01232 (N) (rew) [1:98cv1232 1:98ev1233]

10/14/98 161 ORDER by Judge Thomas P. Jackson : granting motion for
leave of court to conduct depositions of Microsoft's new
witnesses [152-1] by USA in 1:98-cv-01232 and plaintiffs
may take the deposition of Robert Muglia with instructions
to counsel, granting motion for leave cf court to initiate
discovery concerning new witnesses [149-1] by MICROSOFT
CORP. in 1:98-cv-01232 and defendant may take the
depositions of Avadis Tevanian and James Gosling with
instructions to counsel. {N} (rew) [1:98cv1232 1:98cv1233]j

10/14/98 162 SUPPLEMENTAL MEMORANDUM by defendant MICROSOFT CORP. in
1:98-cv-01232 in support of motion to continue trial to
11/02/98 to address testimony of plaintiff's new trial
witnesses [150-1] by MICROSOFT CORP. (tb)
[Entry date 10/15/98} [1:98cv1232]

10/14/98 163 EXHIBITS to be offered into evidence by defendant MICROSOFT
CORP. in 1:98-cv-01232; exhibit (1) (tb)
[Entry date 10/15/98] [1:98¢v1232]

10/15/98 164 ERRATA RE: replacement pages of direct testimony of Richard
Warren-Boulton by plaintiff USA in 1:98-cv-01232, plaintiff
STATE OF NEW YORK in 1:98-cv-01233, plaintiff STATE OF
CALIFORNIA in 1:98-cv-01233, plaintiff STATE OF CONNECTICUT
in 1:98~cv-01233, plaintiff DC in 1:98-cv-01233, plaintiff
STATE OF FLORIDA in 1:98-cy-01233, plaintiff STATE OF
ILLINOIS in 1:98-cv-01233, plaintiff STATE OF IOWA in
i: 98-cv-01233, plaintiff STATE CF KANSAS in 1:98-cv-01233,
Plaintiff STATE OF KENTUCKY in 1:98-cv-01233, plaintiff
STATE OF LOUISIANA in 1:98-cv-01233, plaintiff STATE oF
MARYLAND in 1:98-cv-01233, plaintiff COMMONWEALTH OF MASS
in 1:98-cv-01233, plaintiff STATE OF MICHIGAN in
1:98-cv-01233, plaintiff STATE OF MINNESOTA in
1:98-cv~-01233, plaintiff STATE OF NEW MEXICO in
1:98-cv-01233, plaintiff STATE NC in 1:98-cv-01233,
piaintiff STATE OF OHIO in 1:98-cv-01233, plaintiff STATE
SC in 1:98-cv-01233, plaintiff STATE OF UTAH in
1:98-cv-01233, plaintiff STATE OF WV in 1:98-cv-01233,
plaintiff STATE OF WISCONSIN in 1:98-cv-01233; (FILED UNDER
SEAL) (tb) [Entry date 10/16/98] [1:98cv1232 1:98cv1233]

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Proceedings Include All Events. CM/ECE
1:98cv1232 USA v. MICROSOFT CORP. CONSOL TYPE A
10/16/88 165 MOTION (EMERGENCY) filed by plaintiff USA in 1:98-cv-01232

to compel Microsoft to provide the plaintiffs, including
their representatives currently located in Redmond, access
toe alli data in the OEM Query, OBM Sales, and other
responsive databases that relate to Windows or Internet
Explorer. (tth) [Entry date 10/19/98] [1:9%8cv1232]

10/16/98 167 MOTION filed by Non Party SUN MICROSYSTEMS INC in
1:98-cv-01232 to maintain confidential protecticn as
provided by the protective order; Exhibits (3); "Let this
be filed", JACKSON, J. (tth}) [Entry date 10/19/98]
[1:98cv1232}

10/16/38 184 MEMORANDUM by defendant MICROSOFT CORP, in 1:98-cv-01232
in opposition to emergency motion to compel Microsoft to
provide the plaintiffs, including their representatives
currently located in Redmond, access to all data in the OEM
Query, OEM Sales, and other responsive databases that
relate to Windows or Internet Explorer. [165-1} by USA (tb)
[Entry date 10/28/98] [1:98cv1232]

10/19/98 166 ORDER by Judge Thomas P. Jackson upon stipulation of the
parties that defendant may file objections to plaintiffs
deposition designations and its rebuttal designations any
time prior to close of plaintiffs case and plaintiff to
file objections te defendant's deposition designations and
rebuttal designations any time prior to close of 4
defendant's case. (N) (rew) [1:98cv1232 1:398cv1233]

10/19/98 -- NON-JURY TRIAL before Judge Thomas P. Jackson begun and
continued to 10:00 10/20/98 in 1:98-cv-01232, in
1:98-cv-01233 . reporter: P. Merana (rew) [1:98cv1232
1:98cv1233]

10/19/98 168 MOTION filed by Non Party NETWORK COMPUTHR INC in
1:98-cyv-01232 for protective order to maintain
confidentiality of documents and deposition transcript;
Exhibits (3) (tth) [Entry date 10/20/98] [1:98cyv1232}

10/19/98 169 MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
, in limine to exclude hearsay statements in the direct
examination of Jim Barksdale (tth) [Entry date 10/20/98]
[1:98cvi232]

10/19/98 170 MOTION filed by movant NETSCAPE COMMMUN in 1:98-cv-01232
for protective order preventing public disclosure of
certain portions of highly confidential business documents,
as well as portions of certain other documents which
contain information that Netscape is contractually
prevented from publicly disclosing. (tth)

[Entry date 10/20/98] [1:98cv1232]

 

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Proceedings Inciude All Events. CM/ECF
1:98cv1232 USA v. MICROSOFT CORP. CONSOL TYPE A
10/19/98 174 MOTION. filed by defendant MICROSOFT CORP. in 1:98-cv-01232

in limine to exclude evidence cf a purported pattern or
routine corporate practice (tth) [Entry date 10/20/98]
[i:98cev1232]

10/19/98 172 MOTION filed by defendant MICROSOFT CORP. in 1:38~-cyv-01232
in limine to strike the government's improper deposition
designations (tth) [Entry date 10/20/98] [1:98cv1232]

10/19/98 185 REPLY by plaintiff USA in 1:98-cv-01232, plaintiff states
in 1:98-cv-1233; STATE OF NEW YORK, STATE OF CALIFORNIA r
STATE OF CONNECTICUT , DC, STATE OF FLORIDA, STATE OF
ILLINOIS, STATE OF IOWA , STATE OF KANSAS, STATE OF
KENTUCKY, STATE OF LOUISIANA, STATE OF MARYLAND,
COMMONWEALTH OF MASS , STATE OF MICHIGAN, STATE OF
MINNESOTA, STATE OF NEW MEXICO, STATE NC , STATE OF OHIO,
STATE SC, STATE OF UTAH ,STATE OF WV, STATE OF WISCONSIN in
support of emergency motion to compel Microsoft to provide
the plaintiffs, including their representatives currently
located in Redmond, access.to all data in the OBM Query,
OEM Sales, and other responsive databases that relate to
Windows or Internet Explorer. [165-1] by USA in
1:98-cv-01232 (tbh) [Entry date 10/28/98] [1:98cv1232
1:98cv1233]

10/29/98 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 10/21/98 in 1:98-cv-01232, in
1:98-cv-O01233 Yreporter: P. Merana (rew) [1:98cv1232
1:98cv1233])

10/20/98 -- DIRECT Testimony of Jim Barksdale unsealed. (tth)
[Entry date 10/21/98] [1:98c¢v1232]

10/20/98 173 RESPONSE by plaintiff USA in 1:98-cv-01232 and Plaintiff
STATES in 1:98-cv-01233 in opposition to motion in limine
to exclude hearsay statements in the direct examination of
Jim Barksdale [169-1] by MICROSOFT CORP. in 1:98-cv—-01232.
(tth) [Entry date 10/21/98] [1:98cv1232 1:98cv1233]

10/20/98 174 MOTION filed by defendant MICROSOFT CORP. in 1:98-ev-01232
for protective order with respect te plaintiffs’ Sixth
Joint Request for Production of Documents (tth)
[Entry date 10/21/98] [Edit date 10/21/98] [1:98cv1232]

10/20/98 175 RESPONSE by plaintiff USA in 1:98-cv-01232, PLAINTIFF
STATES in 1:98-cv-01233 in opposition to motion for
protective order with respect to plaintiffs! Sixth Joint
Request for Production of Documents [174-1] by MICROSOFT
CORP. in 1:98-cv-01232; Attachment (1). (tth}

[Entry date 10/21/98] [1:98cv1l232 1:98cv1233]

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1:98evl232 USA v. MICROSOFT CORP. CONSOL TYPE A
10/21/98 176 ORDER by Judge Thomas P. Jackson : denying motion for

protective order with respect to plaintiffs’ Sixth Joint
Request for Production of Documents [174-1] by MICROSOFT
CORP. in 1:98-cv-01232, and directing that discovery
related to plaintiffs'sixth request shall be completed by
5:00 p.m. on 10-23-98 and plaintiff shall pay all costs,
denying as moot plaintiffs Further Emergency Motion to
Compel. (N} (rew} [1:98cvl232 1:98cv1233]

 

10/21/98 -- NON-JUR¥Y TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 10/22/98 in 1:98-cv+01232, in
1:98-cv-01233 reporter: P.Merana (rew) [1:98cv1232
1:98¢ev1233]) ,

10/21/98 177 . MOTION filed by plaintiff USA in 1:98-cv-01232, PLAINTIFF
STATES in 1:98-cv-01233, for leave to file corrected
witness statements of James and John Soyring; EXHIBITS
(DIRECT TESTIMONY OF JAMES AND JOHN SOYRING - LODGED UNDER
SEAL) (tth) [Entry date 10/22/98] [1:98cv1232 1:98cvi233]

10/22/98 -- NON-JURY TRIAL before Judge Thomas P. Jackson: resumed and
continued to 10:06 a.m. on 15/26/98 in 1:98-cv-01232, in
L:98-ev-01233 reporter: Phyllis Merana (a.m.), David
Kasdan (o.m.) (kmk) [Entry date 10/23/98) [1:98cv1232
1:98cv1233}

10/22/98 179 ORDER by Judge Thomas P. Jackson : granting motion for
leave to file corrected witness statements of James and
Jehn Seyring [177-1] by counter-defendantby plaintiff,
in 1:98-cv-01232, 1:98-cv-01233 (N) (rew)
[Entry date 10/26/98] [1:98ev1232 1:98cv1233]

10/23/98 178 RESPONSE by plaintiff USA in 1:98-cv-01232 in opposition
to motion in limine to strike the government's improper
deposition designations [172-1] by MICROSOFT CORP.;
attachment {1) (tb) [Entry date 10/26/98] [1:98cv1232]

10/23/98 180 ORDER by Judge Thomas P. Jackson : granting motion to
seal memorandum in support of renewed motion to compel
MICROSOFT CORP. to produce databases and the attached
exhibit [64-11] [135-1] by counter-defendantby plaintiff,
plaintiff in 1:98-cv-01232, 1:98-cv-01233 (N)}) (rew)
[Entry date 10/26/98] [1:98ev1232 1:98cv1233]

10/26/98 -- NON~JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 10/27/98 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew)

[1:98cvi232 1:°98cv1233}

19/26/98 181 MOTION faiied by defendant MICROSOFT CORP. in 1:98-cv-01232
for sanctions for the government's failure to produce a
requested decument before trial; exhibits (5) (tb)

[Entry date 10/27/98] [1:98cv1232]

 

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1:98cvl232 USA v. MICROSOFT CORP. . CONSOL TYPE A
10/26/98 182 REPLY by defendant MICROSOFT CORP. in 1:98-cv~01232 in

support of motion in limine to strike the government's
improper deposition designations [172-1] by MICROSOFT CORP.
(tb) [Entry date 10/27/98] [1:98cv1232]

10/26/98 183 RESPONSE by plaintiff USA in 1:98-cv-01232 to motion for
sanctions for the government's failure to produce a
requested document before triai [181-1] by MICROSOFT CORP.;
exhibits (2) (tb) [Entry date 10/27/98] [1:98cv1232]

10/27/98 NON-JURY TRIAL before Judge Thomas. P. Jackson resumed
and continued to 10:00 10/28/98 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew}

[1:98ev1232 1:98cv1233]

10/27/98 186 MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
for a limited modification of the protective order;
exhibits (5) {tb) [Entry date 10/28/98] [1:98c¢v1232]

10/27/98 187 MOTION filed by piaintiff USA in 1:98-cv-01232 for leave
to file corrected direct testimony of Jim Barksdale;
EXHIBIT (TESTIMONY) (tb) [Entry date 10/28/98]
fl: 98cv1232]

16/27/98 188 MOTION filed by movant COMPAQ COMPUTER CORP in
1:98-cv-01232 for protective order; (flat) J. JACKSON;
exhibits (3) (tb) [Entry date 10/28/98] [1:98cv1232]

10/27/98 -- REMARK direct testimony of David M. Colburn unsealed, filed
on 10/23/98 [157] by plaintiff USA (tb)
[entry date 10/28/98] [1:98ev1232]

10/28/98 189 ORDER by Judge Thomas P. Jackson ,denying defendants
motion in limine te strike the government's improper
deposition designations [127-1] insofar as it relates to
the deposition testimony of William Gates, and is held in
abeyance in all other respects. (N) (rew) [1:98ev1232
1:98cv1233]

10/28/98 190 NOTICE OF FILING RE: counterdesignation of testimony from
the deposition of Bill Gates by defendant MICROSOFT CORP.
in 1:98-cv-01232 (tbh} [1:98cv1232)

10/28/98 191 REPLY by defendant MICROSOFT CORP. in 1:38-cv-01232 in
support of motion for sanctions for the government's
failure to produce a requested document before trial
f181-1] by MICROSOFT CORP. (tb) [1:98cvi232]

10/28/98 192 REPLY by defendant MICROSOFT CORP. in 1:98-cv-01232 in
support of motion for a limited modification of the
protective order [186-1] by MICROSOFT CORP. (tb)
[1:98ev1232]

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Proceedings Include All Events. . CM/ECF
1:98¢ev1232 USA v. MICROSOFT CORP. ; CONSGCL TYPE A
10/28/98 -- NON-JURY TRIAL before Judge Thomas P. Jackson, motion of

10/28/98

10/28/98

10/28/98

10/28/98

10/29/98

10/30/38

10/30/38

11/2/98

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defendant to modify protective order heard and granted,
trial resumed and continued to 10:00 10/29/98 in
1:9B-cv-01232, in 1:9B8-cv-01233 reporter: Phyllis Merana
frew) [1:98ev1232 1:98cvi233]

ORDER by Judge Thomas P. Jackson : granting motion for a
limited modification of the protective order [186-1] by
MICROSOFT CORP, in 1:98-cyv-01232, and allowing Thomas W.
Burt access to certain documents produced by Sun
Microsystems Inc. and to take the deposition of Br. James
A.Gosling.(N) (rew) [1:98cv1232 1:98cv1233]

ORDER by Judge Thomas P. Jackson : granting motion for
leave to file corrected direct testimony of Jim Barksdale
[187-1] by USA in 1:38-cv-01232 (N} (rew}) [1:98cv1232
1:98cv1233)]

RESPONSE by Non Party SUN MICROSYSTEMS INC in 1:98-cv-01232
in opposition te motion to modify stipulation and

protective order [55-1] by MICROSOFT CORP.; exhibits (6) (tb)
[entry date 10/29/98) [1:98cv1232}

NOTICE OF FILING by plaintiff USA in 1:98-cv-01232 of
direct testimony of Jim Barksdale. (kmk)
[Entry date 10/27/99] [1:98cvi1232)

NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 11/2/98 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew)
[1:98evl1232 1:98¢ev1233]

MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
in limine portions of the direct testimony of Avadis
Tevanian, Jr.; exhibits (3); (FILED UNDER SEAL) {tb)
fEntry date 11/02/98] [Edit date 11/02/98] [1:98cy1232]

RESPONSE by plaintiff USA in 1:98-cv-01232, plaintiff
states in 1:98-cv-1233; STATE OF NEW YORK, STATE OF
CALTFPORNIA , STATE OF CONNECTICUTn , DC, STATE OF FLORIDA,
STATE OF ILLINOIS, STATE OF IOWA , STATE OF KANSAS, STATE
OF KENTUCKY, STATE OF LOUISIANA, STATE OF MARYLAND,
COMMONWEALTH OF MASS , STATE OF MICHIGAN, STATE OF
MINNESOTA, STATE OF NEW MEXICO, STATE NC , STATE OF OHIO,
STATE SC, STATE OF UTAH , STATE OF WV, STATR OF WISCONSIN
to motion in limine to exclude evidence of a purported
pattern or routine corporate practice [171-1] by MICROSOFT
CORP. in 1:98-cv-01232; exhibits (22); (FILED UNDER SEAL)
{tb} [Bntry. date 11/02/98] [Bdit date 11/02/98)

fl: 98cv1l232 1:38cv1233]

REMARK direct testimony of Avadis Tevanian, Jr. unsealed,
filed on 10/13/98 [157] by plaintiff USA; exhibits .(5) (tb)
[Edit date 11/02/98] [1:98cv1232]

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Case 1:98-cv-01232-CKK Document 620 Filed 08/27/01 Page 39 of 88

 

Proceedings Include All Events. CM/ECF
1:98cv1l232 USA v. MICROSOFT CORP. CONSOL TYPE A
11/2/98 198 ERRATA supplemental declaration of Avadis Tevanian to

direct testimony of Avadis Tevanian, Jr. filed 10/13/98
[157] by plaintiff USA in 1:98-cv-01232; declaration (1) (tb)
[1:$8cev12321

11/2/98 199 RESPONSE by plaintiff USA in 1:98-cv-01232 to motion in
limine portions of the direct testimony of Avadis Tevanian,
Jr. [196-1] by MICROSOFT CORP. (tb) [1:38¢v]1232]

11/2/98 200 REPLY by defendant MICROSOFT CORP. in 1:98~cv-01232 in
support of motion in limine to exclude evidence of a
purported pattern or routine corporate practice [171-1] by
MICROSOFT CORP. (tb) [Entry date 11/03/98] [1:98cv1232]

11/2/98 —- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 11:00 11/4/98 in 1:98-cev-01232, in
21:98-cv-01233 reporter: Phyllis Merana (rew)

[Entry date 11/04/98] [1:98ev1232 1:98cv1233]

11/4/98 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 11/5/98 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew)
f1:98¢ev1232 1:98cv1233]

 

11/4/98 201 MOTION filed by movant BOEING COMPANY in 1:98-cv-01232 to
maintain confidential treatment of certain information
produced by the Boeing Company in response to subpoena of
Microsoft Corporation; exhibits (3}; (fiat) J. JACKSON (tb)
[Entry date 11/06/98] [1:98cv1232]

11/5/98 —-- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 11/9/98 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phyliis Merana (rew)

[1:98cvi232 1:98cv1233]

12/3/98 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued te 10:00 11/10/98 in 1:98-cv-01232, in
1:98-cev-01233 reporter: Phyliis Merana (rew)

[Entry date 11/10/98] [1:98cv1232 1:98¢v1233]

 

LL/10/98 —- NON-JUR¥Y TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 11/12/98 in 1:98+cv~01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew)

[1:98ev1232 1:98cev1233]

41/10/98 202 MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
to strike the direct testimony of Avadis Tevanian, Jr.
relating to alleged technical imcompatibilities; exhibits
(4) (tb) [Entry date 11/12/98] [1:98cv1232]

11/12/98 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed

and continued to 10:00 11/16/98 in 1:98-cv-01232, in
1:98-ev-01233 reporter: Phyllis Merana (rew)

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Proceedings Include Ail Events. CM/ECE

1:98cv1232 USA Vv.

11/12/98

11/16/98

11/16/38

11/16/98

11/17/98

11/17/98

11/18/98

11/18/98

12/18/98

11/18/98

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MICROSOFT CORP. CONSOL TYPE A
[2:98cev1l232 1:98cv1233]

ORDER by. Judge Thomas P. Jackson : granting motion for
protective order preventing public disclosure of.certain
portions of highly confidential business documents, as well
as portions of certain other documents which contain
information that Netscape is contractually prevented from
publicly disclosing. {170-1] by NETSCAPE COMMMUN in :
1:38-cv-01232 and with instructions as to proposed exhibits
in Appendices A,B te Netscape Communications Corp's motion
(N) (rew) [1:98cev1232 1:98ev1233] ,

REMARK direct testimony of John Soyring unsealed, filed on
10/13/98 [157] by plaintiff USA (tb) [1:98cv1232]

REMARK direct testimony of Glenn E. Weadock unsealed, filed
on 10/13/98 [157] by plaintiff USA (tb) [1:98cv1232]

NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 11/17/98 in 1:98-cv-01232, in
1:98-ev-01233 reporter: P. Merana (rew) [1:98cv1232
4:98ev1233] ,

NON-JURY TRIAL before Judge Thomas P, Jackson resumed
and continued to 10:00 11/18/98 in 1:98-cv-01232, in
1:98-cyv-01233 reporter: Phyllis Merana (rew)
[1:98evl1232 1:98cv1233]

MOTTON filed by plaintiff USA in 1:58-cv-01232 for leave
to file corrected witness statment; EXHIBIT (CORRECTED
STATEMENT); (FILED UNDER SEAL) (tb) [Entry date 11/18/98]
[1:98c¢ev1232]

NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 11/19/98 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew)
[1:98ev1232 1:98e¢v1233]

MOTION (EMERGENCY) filed by Non Party DELL COMPUTER CORP in
1:98-cv-O01232 for protective order protecting trade
secrets/confidential business information from public
disclosure; (fiat) J. JACKSON; exhibits (11); declarations
(3} (tb) [Entry date 11/19/98] [Edit date 11/19/98]
[i:98cev1232]

RULE 109 Certificate of disclosure of corporate
affiliations and financial interests by Non Party DELL
COMPUTER CORP in 1:98-cv-01232 (tb) [Entry date 11/19/98]
{1:3 98cev1232)j

MOTION (EMERGENCY) filed by Non Party INTL BUS MACHINE COR
in 1:98-cv-01232 for protective order to maintain
confidentially of decuments; (fiat) J. JACKSON; exhibits
(10) (tb) [Entry date 11/19/98] [1:98cv1232]

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Proceedings Include Ali Events. CM/ECEF
1:38cvl232 USA v. MICROSOFT CORP, CONSOL TYPE A
11/19/98 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed

and continued to 10:00 11/23/98 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phyllis Merana {(rew})
[1:98cv1232 1:98cv1233]

11/19/98 208 ORDER by Judge Thomas P. Jackson : granting nune pro tune
motion for leave to file corrected witness statment [204-1]
by USA in 1:98-¢v-01232 {(N} (rew) [1:98cv1232 1:98cv1233]

11/29/98

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REMARK direct testimony of Frederick R. Warren-Boulton
unsealed, filed on 10/13/98 [157] by plaintiff USA (tb)
[1:98cev1232]

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11/23/98 NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 11/24/98 in 1:98-cv-01232, in
1:98-cev-01233 reporter: Phyllis Merana (rew)

i1:98evi232 1:98cv1233]

12/23/98 209 MOTION filed by plaintiff USA in 1:98-cv-01232, plaintiff
STATE OF NEW YORK in 1:98-cv-01233, plaintiff STATE OF
CALIFORNIA in 1:98-cv-01233, plaintiff STATE OF CONNECTICUT
in 1:98-cv~-01233, plaintiff DC in 1:98-cv-01233, plaintiff
STATE OF FLORIDA in 1:98-cv-01233, plaintiff STATE OF
ILLINOIS in 1:98-ev-01233, plaintiff STATE OF TOWA in
1:98=cv-01233, plaintiff STATE OF KANSAS in 1:98-cv-01233,
plaintiff STATE OF KENTUCKY in 1:98-cv-01233, plaintiff
STATE OF LOUISTANA in 1:98-cv-01235, plaintiff STATE OF
MARYLAND in 1:98-cv-01233, plaintiff COMMONWEALTH OF MASS
in 21:98~cv-01233, plaintiff STATE OF MICHIGAN in
1:98-cv-01233, plaintiff STATE OF MINNESOTA in
1:98-cv-01233, plaintiff STATE OF NEW MEXICO in
1:98-cv-01233, plaintiff STATE NO in 1:98~cv-01233,
plaintiff STATE OF OHIO in 1:98-cv-01233, plaintiff STATE
SC in 1:98-cv-01233, plaintiff STATE OF UTAH in
1:98-cv~01233, plaintiff STATE OF WV in 1:98-cv-01233,
plaintiff STATE CF WISCONSIN in 1:98-cv-01233 to permit
limited supplemental cross-examination (tb}

[Entry date 11/24/98] [1:9B8ev1l232 1:98c¢v1233]

11/23/98 210 RESPONSE by plaintiff USA in 1:98-cv-01232 in opposition
to motion to strike the direct testimony of Avadis
Tevanian, Jr. relating to alleged technical
imcompatibilities [202-1] by MICROSOFT CORP.; exhibits (6)
(tb) [Entry date 11/24/98] [1:98ev1232] .

13/24/98 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 11/30/98 in 1:98-ev-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew)
[1:98cv1232 1:98cv1233]

11/24/98 211 STIPULATION filed and fiated by Judge Thomas P. Jackson
re: protective order ef 5-27-88 and IBM . (N) (rew)
[Entry date 11/25/98] [1:98ev1232 1:98evi233}

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Proceedings Include Ail Events.
1:98ev1232 USA v, MICROSOFT CORP.

CM/ECF
CONSOL TYPE A

STIPULATION filed and fiated by Judge Thomas P. Jackson
re: protective order of 5-27-98 and Netscape Communications
Corp . (N) (rew) [Entry date 11/25/98] [1:98cv1232

11/24/98 212

11/24/98 213

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11/30/98 224
11/30/98 225
11/30/98 226
11/30/38 227

11/30/98 228

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i:98cv1233]

STIPULATION filed and fiated by Judge Thomas P.

re: protective order of 5-27-98 and Oracle Corp.OL(N}
[Entry date 11/25/98] [1:98cv1Z232 1:98cv1233]

TRANSCRIPT filed for date{s} of 10/19/98.

Phyllis Merana (tb) [Entry date 12/01/98}

TRANSCRIPT filed for date(s) of 10/20/98.

Phyllis Merana (tbh) [Entry date 12/01/98]

TRANSCRIPT filed for date(s) of 10/21/98.

Phyllis Merana (tb) [Entry date 12/01/98]

TRANSCRIPT filed for date(s) of 10/22/98.

Phyllis Merana (tbh) [Entry date 12/01/98]

TRANSCRIPT filed for date(s) of 10/26/98.

Phyllis Merana (tb) [Entry date 12/01/98]

TRANSCRIPT filed for date(s) of 10/27/98.

Phyllis Merana (tb) [Entry date 12/01/98]

TRANSCRIPT filed for date(s) of 10/28/98.

Phyllis Merana (tb) [Entry date 12/01/98)

TRANSCRIPT filed for date(s) of 10/28/98.

Phyllis Merana (tb) [Entry date 12/01/98]

TRANSCRIPT filed for date(s} of 11/02/98.

Phyllis Merana (tb) [Entry date 12/01/98]

TRANSCRIPT filed for date(s) cf 11/04/98.

Phyllis Merana (tb) {Entry date 12/01/98]

TRANSCRIPT filed for date(s) of 11/05/98.

Phyllis Merana (tb) [Entry date 12/01/98]

TRANSCRIPT filed for date(s} of 11/09/98.

Phyllis Merana (tb} [Entry date 12/01/98]

TRANSCRIPT filed for date(s) of 11/10/98.

Phyliis Merana (tb) [Entry date 12/01/98]

TRANSCRIPT filed for date(s) of 11/12/98.

Phyllis Merana (tb) [Entry date 12/01/93]

TRANSCRIPT filed for date(s) of 11/16/98.

Phyllis Merana (tb) [Entry date 12/01/98]

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Reporter:
[L:98cev1232]

Reporter:
{1:$8cv1232]

Reporter:
[L:98ev1232]

Reporter:
[i:9$8ev1232)

Reporter:
[1:98cv1232]

Reporter:
[l:98ev1232]

Reporter:
[1:98cvi232]

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[1:98ev1Z232]

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Reporter:
[1:98ev1232]

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[1:98ev1232]

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[1:98cvi232]

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[1:98cv1232]

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[1:98cv1232]

Jackson

(rew)

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Proceedings Include All Events.

1:98cvl232 USA Vv.

11/30/98
11/30/98
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11/30/98

12/1/98

12/1/38

12/2/98

12/2/98

12/2/98

12/3/98

 

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Docket as of

MICROSOFT CORP.

TRANSCRIPT filed for date(s) of 11/17/98.

Phyllis Merana (tb) [Fntry date 12/01/98]

TRANSCRIPT filed for date(s} of 11/18/98.

Phyllis Merana (tb) [Bntry date 12/01/98]

TRANSCRIPT filed for date(s) of 11/19/98.

Phyllis Merana (tb) [Entry date 12/01/98]

TRANSCRIPT filed for date(s) of 11/23/98.

Phyliis Merana (tb) [Entry date 12/01/98]

TRANSCRIPT filed for date(s) of 11/24/98.

Phyllis Merana (tb) [Entry date 12/01/98]

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CM/ECF
CONSOL TYPE A

Reporter:
[1:98ev1232]

Reporter:
{[1:98cv1232 1

Reporter:
[1:33cv1232]

Reporter:
[1:938cv1232]

Reporter:
[1:98cev1232]

NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 12/1/98 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phyliis Merana (rew)

[Entry date 12/02/98] [1:98cev1232 1:98cv1233]

NON-JURY TRIAL before Judge Thomas P. Jackson resumed and
continued to 10:00 12/2/98 in 1:98-cv-01232, in
1:98-cv-01233. Reporter: Phyllis Merana (gdf}

[Edit date 12/08/98] [1:98ev1232 1:98cv1233])

REPLY by defendant MICROSOFT CORP. in 1:98-cv-01232 in
support of motion to strike the direct testimony of Avadis
Tevanian, Jr. relating to alleged technical
imcompatibilities [202-1] by MICROSOFT CORP.; exhibit (1)

(tb) [Entry date 12/02/98] [1:98cv1i232]

REMARK direct testimony of James A. Gosling unsealed, filed
on 10/13/98 [157] by plaintiff USA; exhibits (4) (tb)

[1:98ev1232)

NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 12/3/98 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew)

fi:98evl232 1:98cv1233]

ORDER by Judge Thomas P. Jackson, granting in part and
striking designation of depositions of Phillip Barrett and
Stephanie Reichel and the motion is denied without

prejudice in all other respects. (N) (rew)
1:98cvi233]

[i:98ev1232

MEMORANDUM by defendant MICROSOFT CORP. in 1:98-cv-01232
in opposition to moticn to permit limited supplemental
cross-examination {209-1} by plaintiff and plaintiff states

in 1:98-cv-1233 C (tbh) [1:98cv1232}

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Proceedings Include All Events. CM/ECF
1:98cv1232 USA v. MICROSOFT CORP. CONSOL TYPE A

NON-JURY TRIAL before Judge Thomas P. Jackson resumed and
continued to 10:00 a.m. on 12/8/98 in 1:98-cv-01232, in
1:98-cv-01233. Reporter: Phyllis Merana (gdf}

[Edit date 12/08/98] [1:98cv1232 1:98cv1233]

12/3/98

12/7/98 237 MOTION filed by defendant MICROSOFT CORP. in 1:98-cev-01232
for leave of court to initiate discovery concerning AOL's
recently announced acquisition of Netscape and strategic
alliance with Sun (tb) [Entry date 12/08/98]
£1:98evi232}

12/8/98 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 12/9/98 in 1:98-cyv-01232, in
1:98-cv-01233 reporter: FP. Merana (rew) [1:98cv1232
1:98ev1233]

12/8/98 -~ REMARK direct testimony of David J. Farber unsealed, filed
, on 10/13/98 [157] by plaintiff USA (tb) [1:98ev123221

12/9/98 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 12/10/98 in 1:98-cv-01232, in
1:98-ev-01233 reporter: Phyllis Merana (rew)

[1:98ev1232 1:98cv1233]

12/9/98 238 REPLY by plaintiff USA in 1:98-cv-01232, and plaintiff
states inll:98-cv-01233; STATE OF NEW YORK , STATE OF
CALIFORNIA, STATE OF CONNECTICUT, DC, STATE OF FLORIDA,
STATE OF ILLINOIS, STATE OF IOWA, STATE OF KANSAS, STATE OF
KENTUCKY, STATE OF LOUISIANA, STATE OF MARYLAND,
COMMONWEALTH OF MASS, STATE OF MICHIGAN, STATE OF
MINNESOTA, STATE OF NEW MEXICO, STATE NC, STATE OF OHIO,
STATE SC, STATE OF UTAH, STATE OF WV, STATE OF WISCONSIN in
support of motion to permit limited supplemental
cross-examination [209-1] by counter-defendantby plaintiff,
counter-defendant, plaintiff, counter-defendant, plaintiff,
counter-defendant, plaintiff, counter-defendant, plaintiff,
counter~defendant, plaintiff, counter-defendant, plaintiff,
counter-defendant, plaintiff, counter-defendant, plaintiff,
counter-defendant, plaintiff, counter-defendant, plaintiff,
counter-defendant, plaintiff, counter-defendant, plaintiff,
counter-defendant, plaintiff, counter-defendant, plaintiff,
counter-defendant, plaintiff, counter-defendant, plaintiff,
counter-defendant, piaintiff, counter-defendant, plaintiff,
counter~defendant, plaintiff, counter-defendant, plaintiff
in 1:98-cv-01232 (tb) [Entry date 12/10/98] [1:98ev1232
i: 98cv1233]

12/9/98 239 MOTION filed by plaintiff USA in 1:98-cyv-01232 for

production of written direct testimony of defendants
witnesses (tb) [Entry date 12/10/98] [1:98ecv1232]

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Proceedings Inciude All Events. CM/ECF
1:98cvl1232 USA v. MICROSOFT CORP. CONSCL TYPE A
12/10/98 —- STIPULATION filed and fiated by Judge Thomas P. Jackson in

case CA98-1233 between the STATE OF SOUTH CAROLINA and
MICROSOFT CORP. withdrawing without prejudice all claims in
the first amended complaint and withdrawing MICROSOFT'S
counterclaim . {N) (rew) [Edit date 12/10/98]

[1:98cvi233]

 

NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 12/14/98 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew)
[1:98ev1232 1:98cyv1233]

12/10/98

12/10/98 240 RESPONSE by defendant MICROSOFT CORP. in 1:98-cyv-01232 to
motion for production of written direct testimony of
defendants witnesses [239-1] by USA (tth)
[Entry date 12/11/98] [1:98cvi232]

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12/14/98 REMARK direct testimony of Edward W. Felten unsealed, filed
on 10/13/98 [157] by plaintiff USA (tb) [1:$8ev1232

1:98cv1233]

12/14/98 NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 12/15/98 in 1:98-cv-01232, in
1:98-cev-01233 reporter: P. Merana {rew) [1:98cv1232

1:98cv1233]

12/14/98 241 REPLY by plaintiff USA in 1:$8-cv-01232 in support ‘of
motion for production of written direct testimony of
defendants witnesses [239-1] by USA (tb) [1:98cv1l232]

if

12/15/98 242 ORDER by Judge Thomas P. Jackson : denying motion for
production of written direct testimony of defendants
witnesses [239-1] by USA in 1:98-cyv-01232, and defendant
shall in accerdance with Pretrial Order #2 serve direct
examinations by 1-7-99. (N) (rew) [1:98evl232 1:98cv1233]

12/15/98 NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 12/16/98 in 1:98-cv-01232, in
1:98-cyv-01233 reporter: Phyllis Merana (rew)

[1:98ev1l232 1:98cv1233]

12/16/98 243 RESPONSE (OPPOSITIONS) by defendant MICROSOFT CORP. in
1:98-cv-01232 to the testimony of Edward Felten; exhibit
(1} (tb) [Entry date 12/17/98] [1:98cv1232]

12/16/98 244 MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
in limine the deposition testimony of Phil Schiller (tb)
fEntry date 12/17/98] [1:98cv1l232]

12/16/98 245 RESPONSE by plaintiff USA in 1:98-cv-01232 to motion for
leave of court to initiate discovery concerning AOL's
recently announced acquisition of Netscape and strategic
alliance with Sun [237-1] by MICROSOFT CORP. (tb)

[Entry date 12/17/98] [1:98cv1232]

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Proceedings Include Ail Events. CM/ECF
1:98cvl232 USA v. MICROSOFT CORP. CONSOL TYPE A
12/16/98 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed

and continued to 10:00 1/4/99 in 1:98~-cv-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew}
[Entry date 12/31/98] [1:98cv1232 1:98cv1233]

12/17/98 246 TRANSCRIPT filed for date(s) of 12/01/98. Reporter:
Phyllis Merana (tb) [Entry date 12/18/98] [1:98cv1232]

12/17/98 247 TRANSCRIPT filed for date(s) of 12/02/98. Reporter:
Poyllis Merana (tb) [Entry date 12/18/98] [1:98cv1232]

12/17/98 248 TRANSCRIPT filed for date(s) of 12/03/98. Reporter:
Phyllis Merana (tb) [Entry date 12/18/38] [1:98cv1232
1:98cev1233]

12/17/98 249 TRANSCRIPT filed for date(s) of 12/08/98. Reporter: &
Phyllis Merana (tb) [Entry date 12/18/98] [1:98cv1232]

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12/17/98 250 TRANSCRIPT filed for date(s) of 12/09/98. Reporter:
Phyllis Merana (tb) [Entry date 12/18/98] [1:98cvi232]

12/17/98 251 TRANSCRIPT filed for date(s) of 12/10/98. Reporter:
Phyllis Merana (tb) [Entry date 12/18/98] [1:98cv1232]

12/17/98 252 TRANSCRIPT filed for date(s} of 12/14/98. Reporter:
Phyllis Merana (tb) [Entry date 12/18/98] [1:98cv1232]

12/17/98 253 TRANSCRIPT filed for date(s) of 12/15/98. Reporter:
Phyllis Merana (tb) [Entry date 12/18/98] [1:98cv1232]

12/17/98 254 TRANSCRIPT filed for date(s) of 12/16/98. Reporter:
Phyllis Merana (tb) [Entry date 12/18/38] [1:38cv1232]

12/17/98 255 TRANSCRIPT filed for date(s) of 11/30/98. Reporter:
Phyllis Merana (tb) [Entry date 12/18/98] [1:98cv1232]

12/21/98 256 REPLY by plaintiff USA in 1:98-cv-01232 to objection
[243-1] by MICROSOFT CORP.; exhibit (1} (tb) :
[Entry date 12/22/98] [Edit date 12/22/98] [1:98cv1232]

 

 

 

12/21/98 257 MOTION filed by plaintiff USA in 1:98-cv-01232 to strike
objection [243-1] (tb) [Entry date 12/22/98]
[i:98cev1232]

12/21/98 258 MOTION filed by plaintiff USA in 1:98-cv-01232 for leave
of court to conduct limited additional discovery relating
to the test process by MICROSOFT and the results thereof (tb)
[Entry date 12/22/98] [1:98cv1232]

12/28/98 259 RESPONSE (JOINT) by plaintiff USA in 1:98-cv-01232 and
plaintiffs in 1:98-cv-01223 to motion in limine the
deposition testimony of Phil Schiller [244-1] by MICROSOFT
CORP. in 1:98-cv-01232; Appendices (2) (tth)

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Proceedings Include Ail Events. CM/ECF
1:98cyv1l232 USA v. MICROSOFT CORP. CONSOL TYPE A

[Entry date 12/30/98] [1:98cevi232 1:98cv1233]

12/30/98 260 MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
in limine to exclude inadmissibie statements in the direct
testimony of William Harris (tth) [Entry date 12/31/98]
£1:98cvl232]

12/31/88 261 RESPONSE by defendant MICROSOFT CORP. in 1:98-cv-01232 in
opposition to motion for leave of court to conduct limited
additional discovery relating to the test process by
MICROSOFT and the results thereof [258-1] by USA, motion to
strike objection [243-1] [257-1] by USA; exhibits (4) (tb)
[Entry date 01/04/99] [1:98cv1232]

1/4/39 -- REMARK direct testimony of William Harris unsealed; filed
on 10/13/98 [157] by plaintiff USA (tb) [1:98cv1232]

1/4/39 -- NON-~JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 1/5/99 in 1:98~cv-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew)
[1:98cv1232 1:98cv1233]

1/4/99 262 MOTION filed by defendant MICROSOFT CORP. in 1:98-ev-01232
in limine non-expert testimony in the direct examination
of Franklin M. Fisher; exhibit (1); (FILED UNDER SEAL) (tb)
[Entry date 01/05/99] [1:98¢v71232]

1/5/99 ~~ NON- JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 1/6/99 in 1:98-cv-01232, in’
1:98-cv-O01233 Reporter: Phyllis Merana (rew}

[1:$8cevi232 1:88cv1233]

1/5/99 ~~ REMARK direct testimony of Franklin M. Fisher unsealed;
filed on 10/13/98 [157] by plaintiff USA; attachment (1);
exhibits (32) (tb) [Edit date 91/05/99] [1:98¢v1232]

1/5/99 263. MOTION filed by plaintiff USA in 1:98-cv-01232 for leave to
file corrected witness statement (tb) [Entry date 01/06/99]
[Edit date 01/07/99] [1:98e¢v1232]

1/5/99 264 REPLY by defendant MICROSOFT CORP. in 1:98-cv-01232 in
support of motion in limine the deposition testimony of
Phil Schiller [244-1] by MICROSOFT CORP.; exhibit (1) (tb)
[Entry date 01/06/39] [1:98cv1232]

1/6/99 ““ NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 1/7/99 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew)
[1:98cevl232 1:98cv1233]

1/6/99 265 MEMORANDUM by plaintiff USA in 1:98-cv-01232 in opposition
to motion in limine to exclude inadmissible statements in
the direct testimony of William Harris [260-1] by MICROSOFT
CORP. (tb) [Entry date 01/07/99] [1:98ev1232]

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1:98cevl232 USA v. MICROSOFT CORP.

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RESPONSE by plaintiff USA in 1:93-cv-01232 to motion in
limine non-expert testimony in the direct examination of
Franklin M. Fisher [262-1] by MICROSOFT CORP. (tb)
fEntry date 01/07/99] [1:98cv1232]

MOTION (EMERGENCY) filed by movant ASSOCIATE PRESS in
1:98-cv-01232 for to intervene for the limited purpose of
vindicating the public's rights of access to the testimony
of Franklin M. Fisher; EXHIBIT (MOV-INTV COMPLAINT) (tb)
[Entry date 01/07/99] [1:98cv1232]

RULE 109 Certificate of disclosure of corporate
affiliations and financial interests by movant ASSOCIATE
PRESS in 1:98-cv-01232 (tb) [Entry date 01/07/99]
j1:98ev1232]

MOTION (EMERGENCY) filed by movant ASSOCIATE PRESS in
1:98-cv-01232 for access to the testimony of Franklin M.
Fisher (tb) [Entry date 01/07/99] [1:98c¥v1232]

REPLY by plaintiff USA in 1:98-cv-01232 to motion to strike
objection [243-1] [257-1] by USA (tb) [Entry date 01/07/99]
[1:98cvi232]

NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 1/11/99 in 1:98-ev-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew)
[1:98cv1232 1:98cv1233]

MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
to file direct testimony cf their witnesses under seal;
EXHIBIT (SEALED DEPOSITIONS) (tb) [1:98cv1232]

MEMORANDUM by defendant MICROSOFT CORP. in 1:98-cyv—-01232
in opposition to motion for access to the testimony of
Franklin M. Fisher [269-1] by ASSOCIATE PRESS; exhibit (1)
(tb) {1:98ev1232)

DEPOSITION designations of portions of depositions to be
effered in evidencelby defendant MICROSOFT CORP. in
1:98-ev-01232.; exhibit (1) (tb) [Entry date 01/08/99]
[1:98cv1232}

ORDER by Judge Thomas P. Jackson : granting motion for
leave to file corrected witness statement [263-1] by USA in
1:98-cv-01232 (N) (rew) [Entry date 01/08/99]

[Edit date 01/08/99] [1:98cv1232 1:98cv1233]

REPLY by defendant MICROSOFT CORP. in 1:98-cy—-01232 in
support of motion in limine to exclude inadmissible
statements in the diréct testimony of William Harris
[260-1] by MICROSOFT CORP. (tb) [Entry date 01/11/99)
[1:98¢vi232]

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Proceedings Include All Events. CM/ECF
1:98ev1232 USA v. MICROSOFT CORP. CONSOL TYPE A
1/11/99 276 ORDER by Judge Thomas P. Jackson ,granting MICROSOFT'S

1/11/99

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1/11/89

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1/12/99

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motion to strike and return is granted and the public
version of the testimony of Richard L.Schmalensee filed
1-7-99 be stricken and returned to defendant and the
corrected copy of the public version filed 1-11-99 be
substituted. (N) (rew) [1:98cv1232 1:98cvi233]

ORDER by Judge Thomas P. Jackson : granting motion to
file direct testimony of their witnesses under seal [270-1]
by MECROSOFT CORP. and this order shall apply only to the
public version of the direct testimony of Richard L.
Schmalensee and the Clerk shall not reiease the version
filed under seal unless directed to, in 1:98-cv-01232 {(N)
(rew) [1:98ev1l232 1:98cv1233]

NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and centinued to 11:00 1/12/99 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew)

[i:98cv1232 1:98cvi233]

MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
to strike and return public version of deposition filed
under seal (tbh) [Entry date 01/12/99] [1:98cv1232]

STRICKEN AND RETURNED TO COUNSEL PURSUANT TO COURT ORDER OF
01/11/99 - -— DEPOSITION public version filed unseal by
defendant MICROSOFT CORP. in 1:98-cv-01232 on . (tb)

[hntry date 01/12/99] [Edit date 01/12/99] [1:98cv1232]

MOTION filed by defendant MICROSOFT CORP, in 1:98-cv-01232
for protective order; {FILED UNDER SEAL) (tb)
[Entry date 01/12/99] [Edit date 01/12/99] [1:98cVv1232]

DEPOSITION filed under seal by defendant MICROSOFT CORP. in
1:98-cv-01232 on .; (FILED UNDER SEAL} (tb)
fBntry date 01/12/99} [1:98cv1232]

REPLY by defendant MICROSOFT CORP. in 1:38-cv-01232
regarding release of its written direct testimony under
seal [270-1] by MICROSOFT CORP. (tb} [Entry date 01/12/99]
[1:98cvl232)

RESPONSE (OPPOSITIONS) by plaintiff USA in 1:98-cv-01232 to
motion to file direct testimony of their witnesses under
seal [270-1] by MICROSOFT CORP. (tb) [Entry date 01/13/99]
[1:98cev1232]

NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 1/13/99 in 1:98-cv-01232, in
12:98-cv-01233 reporter: Phyliis Merana (rew})

[1:98cvl232 1:98cv1233]

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Proceedings Include All Events. | CM/ECE
1:98cv1232 USA v. MICROSOFT CORP. CONSOL TYPE A
1/12/99 283 NOTICE OF FILING depositon filed under seal by defendant

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1/13/93

1/13/99

1/12/99

1/13/93

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MICROSOFT CORP. in 1:98-ev-01232; (FILED UNDER SEAL) (tb)
[Entry date 01/13/99] [1:98ev1232]

MOTION (PUBLIC VERSION) filed by defendant MICROSOFT CORP.
in 1:98-cv-01232 for protective order (tb)
[Entry date 01/13/99] [1:98evi232}

NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 1/14/99 in 1:98-cv-01232, in
1:98-cv-C1233 reporter: Phyllis Merana (rew)

[1:98cvl232 1:38cv1233]

REMARK (PUBLIC CORRECTED VERSION) direct testimony of
Richard L. Schmalensee unsealed; filed on 01/07/99 [270] by
defendant MICROSOFT CORP.; exhibits {14) (tb)

[Edit date 01/13/99] [1:98cv1232]

MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
for judgment as a matter of law dismissing with prejudice
all plaintiffs’ claims (tth) [Entry date 01/14/99]
[1:98ev1232]

STIPULATION filed and fiated by Judge Thomas P. Jackson
regarding and admitting certain plaintiff's exhibits (N)
{rew) [Entry date 01/14/99] [1:98cv1232 1:98cyv1233]

ORDER by Judge Thomas P. Jackson , granting plaintiff's
oral motion to admit certain exhibits subject to motion to
strike and admit certain exhibits under seal and subject to
motion to unseal portions. (N) (rew) [Entry date 01/14/99]
[1:98evl232 1:98cv1233])]

STIPULATION filed and fiatecd by Judge Thomas P. Jackson
regarding deposition excerpts . (N} (rew} ,
[entry date 01/14/99} [1:98cv1232 1:98¢cv1233]

ORDER by Judge Thomas P. Jackson : granting motion for
leave of court to conduct limited additional discovery
relating to the test process by MICROSOFT and the results
thereof [258-1] by USA in 1:98-cv-01232,and with
instructions to plaintiff on deposing James Allchin and
with instructions to defendant on information and
documents, denying motion to strike objection [243-1]
[257-1?} by USA in 1:98-cv-01232 (N) (rew)

[Entry date 01/14/99], [1:28ev1232 1:98ev1233]

REMARK appendices to (CORRECTED PUBLIC VERSION) direct
testimony of Richard L. Schmalensee unsealed on 1/13/99 by
defendant MICROSOFT CORP. (tb) [Entry date 01/25/99]

[Edit date 01/25/99] [1:$8cev1232]

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Proceedings Inciude Ail Events. CM/ECE
1:98ev1i232 USA v. MICROSOFT CORP. CONSOL TYPE A
1/14/99 291 ORDER by Judge Thomas P. Jackson : denying motion in

limine non-expert testimony in the direct examination of
Franklin M. Fisher [262-1] by MICROSOFT CORP. in
1:98-cv-O1232 (N) (rew) {1:98cv1232 1:98cv1233]

1/14/99 292 ORDER by Judge Thomas P. Jackson : denying without
prejudice motion for judgment as a matter of law dismissing
with prejudice all plaintiffs' claims [286-1] by MICROSOFT
CORP. in 1:98-cv-01232 (N) (rew) [1:98cv1232 1:98cv1i233]

1/14/99 293 ORDER by Judge Thomas P. Jackson : denying motion in
limine to exclude inadmissible statements in the direct
testimony of William Harris [260-1] by MICROSOFT CORP. in
1:98—ev-01232 (N) {(rew}) [2:98cvl232 1:98cv1233]

1/14/99 294 ORDER by Judge Thomas P. Jackson : denying motion to
strike the direct testimony of Avadis Tevanian, Jr.
relating te alleged technical imcompatibilities [202-1] by
MICROSOFT CORP. in 1:98-cev-601232 (N) (rew) [1:98cv1232
1:98cv1233)

1/14/99 295 ORDER by Judge Thomas P. Jackson : denying motion in
limine to exclude evidence of a purported pattern or
routine corporate practice [171-1] by MICROSOFT CORP. in
1:98-cv-01232 (N) (rew) [1:98cv1232 1:98¢v1233]

1/14/99 296 ORDER by Judge Thomas P. Jackson : denying motion in
limine the deposition testimony of Phil Schiller [244-1] by
MICROSOFT CORP. in 1:98-cv-01232 (N) (rew) [1:98cv1232
1:98cv1233]

1/14/99 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 1/13/99 in 1:98-cv-01232, in
1:$8-cyv-01233 reporter: Phyllis Merana (rew)

[i:98evl1232 1:98c¢Vv1233]

1/19/89 =H NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 1/20/99 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew)

[1:98cvi232 1:38cv1233]

1/20/99 —-- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 1/21/99 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew)
[1:98cev1232 1:98cv1233}]

1/21/99 —-- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 1/25/99 in 1:98-cv-01232, in
(L:98-cv-01233 reporter: P. Merana (rew) [1:98cvi232
1:$8ev1233)j

1/21/99 297 NOTICE OF FILING RE: testimony filed under seal by
defendant MICROSOFT CORP. in 1:98-cv-01232; (FILED UNDER
SEAL) (tb) [Entry date 01/22/99] [1:98cv1232]

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1:98evi232 USA v. MICROSOFT CORP.

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1/21/39 238 NOTICE OF FILING RE: testimony (public version) filed under
seal by defendant MICROSOFT CORE. in 1:98-cv-01232; (FILED
UNDER SEAL} (tbh) [Entry date 01/22/99] [1:98cv1232]

1/21/99 239 MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
to strike and return testimony filed under seal [270-1],
and for leave to file corrected testimony; exhibit (1} (tb)
[Entry date 01/22/99] [1:98cv1232]

1/21/99 300 TRANSCRIPT filed for date(s) of 01/04/99.
Phyllis Merana (tb) [Entry date 01/22/99]

Reporter:
[1:98cv1232]
1/21/99 301 TRANSCRIPT filed for date(s) of 01/05/39,
Phyllis Merana (tb) [Entry date 01/22/99]

Reporter:
[1:88evi232]
1/21/99 302 TRANSCRIPT filed for date(s) of 01/06/99.
Phyliis Merana (tbh) [Entry date 01/22/99]

Reporter:
[i:$8cvl232]
1/21/99 303 TRANSCRIPT filed for date(s) of 01/07/99.
Phyllis Merana (tbh) [Entry date 01/22/99]

Reporter:
[i:98cevl232]

Reporter:
[1:98¢ev1232]

1/21/99 304 TRANSCRIPT filed for date(s) of 01/11/99.

Phyllis Merana (tbh) [Entry date 01/22/93]
1/21/99 305

TRANSCRIPT filed for date(s) of 01/12/99. Reporter:

1/21/39

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1/21/93

1/21/89

1/21/99

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1/22/99

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Phyllis Merana (tb) [Entry date 01/22/99]

TRANSCRIPT filed for date(s}
Phyllis Merana (tb) [Entry date 01/22/99]

TRANSCRIPT filed for date(s} of 01/14/99.

Phyllis Merana (tb) [Entry date 01/22/99]
TRANSCRIPT filed
Phyllis Merana (tb) [Entry date 01/22/99]
TRANSCRIPT filed for date(s)

Phyllis Merana (tb) [Entry date 01/22/99]
ORDER by Judge Thomas P. Jackson

[270-1] [299-1] by MICROSOFT CORP.
[Entry date 01/25/99]

of 01/13/99.

for date(s) of 01/19/39.

of 01/20/99.

[1:98cevi232]

Reporter:
[1:98cev1232]

Reporter:
{1:$8cv1232]

Reporter:
[1:88cv1232]

Reporter:
[1:98ev1232]

granting motion to
strike and return testimony of Paul Maritz filed under seal
in 1:98-cv~-01232
[1:98evi232 1:98cv1233]

(N)

MOTION filed by plaintiff USA in 1:98-cv-01232 for entry
of order for production of documents AOL/Netscape

transaction (tb) [Entry date 01/25/99]

MOTION filed by defendant MICROSOFT CORP.

1: 98evl232 ]

in 1:98-cv-01232

to modification of court's direction of 01/13/99 that
witnesses not discuss the substance of testimony with

counsel during cross-examination; exhibit
FEntry date 01/25/99] [1:98cv1232]

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Proceedings Include All Events. OM/ECE
1:98cev1232 USA v. MICROSOFT CORP. CONSOL FYPE A
1/22/99 312 ORDER by Judge Thomas P. Jackson : granting motion for

entry of order for production of documents AOL/Netscape
transaction [310-1] by USA in 1:98-cv-01232, and directing
plaintiff United States to produce to the STATES and
MICROSOFT certain documents and with instructions to
counsel. (N) (rew) [Entry date 01/25/99] [1:98cv1232
1:98¢v1233]

1/25/99 —-- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 1/26/99 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew) .
f1:98ev1232 1:98cvl1233]

 

1/25/99 -- REMARK direct testimony of Paul Maritz (PUBLIC VERSION)
unsealed; filed on 01/13/99 [298-1] by defendant MICROSOFT
CORP. (tbh) [Edit date 01/25/99] [i:38cvl232]

1/25/99 314 MOTION (EMERGENCY) filed by plaintiff USA in 1:98-cv—-01232
to compel production of documents; exhibits (7) ([tb)
[1:98cv1232]

1/25/99 315 MOTION filed by plaintiff USA in 1:98-cv-01232 in limine
videotape demonstrations offered in allchin and Maritz
testimony, and to strike direct testimony relating
thereof (tb) [1:98cv1232]

1/26/99 —-- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 1/27/99 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew)

Pi: 98evl232 1:98cv1233]

1/26/99 316 ORDER by Judge Thomas P. Jackson denying motion in limine
videotape demonstrations offered in allchin and Maritz
testimony [315-1] by USA in 1:98-cv-01232, denying motion
to strike direct testimony relating thereof [315-2] by USA
in 1:98-cv-01232 (N) (rew) [1:98cv1232 1:98e¢v1233]

1/26/99 317 RESPONSE by defendant MICROSOFT CORP. in 1:98-cv-01232 in
opposition to motion to compel production of documents
[314-1] by USA.; exhibits (4); (FILED UNDER SEAL} (tb}
[Entry date 01/27/99] [1:98e¢v1232]

1/26/99 318 MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
to seal; {FILED UNDER SEAL} (tb) [Entry date 01/27/99]
[1:98@cvi232]

1/27/99 319 REPLY by plaintiff USA in 1:98-cv-01232 in support of
motion to compel preduction of documents [314-1] by USA (th)
Fl: 98cv1232]

1/27/99 320 TRANSCRIPT filed for date(s) of 10/19/98. Reporter: David
A. Kascan, Miller Report Co., Inc. (tb) [1:98cv1232]

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1:98ev1232 USA v. MICROSOFT CORP.

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2002 11:01 am

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1/27/99 321 TRANSCRIPT filed for date(s) of 10/20/98. Reporter: David
A. Kasdan, Miller Reporting Co., Inc. (tbh) [1:98cv1232]
1/27/99 322 TRANSCRIPT filed for date(s) of 10/21/98. Reporter: David
A. Kasdan, Miller Reporting Co. Inc. (tb) [1:98cv1232]
1/27/99 323 TRANSCRIPT filed for date(s) of 10/22/98. Reporter: David
A. Kasdan, Miller Reporting Co., Inc. (tb) [1:98cv1232]
1/27/99 324 TRANSCRIPT filed for date(s) of 10/26/98. Reporter: David
A. Kasdan, Miller Reporting Inc., Co. (tb) [1:98ev1232]
1/27/39 325 TRANSCRIPT filed for date(s) of 10/27/98. Reporter: David
A. Kasdan, Miller Reporting Inc., Co. (tb) [1:98cv1232]
1/27/99 326 TRANSCRIPT filed for date(s} of 10/28/98. Reporter: David
A. Kasdan, Miller Reporting Inc., Co. (tb) [1:98cvi232]
1/27/99 327 TRANSCRIPT filed for date(s) of 10/29/98. Reporter: David
A. Kasdan, Miller Reporting Inc., Co. (tb) [1:98cvi232]
1/27/99 328 TRANSCRIPT filed for date(s} of 11/02/96. Reporter: David
A. Kasdan, Miller Reporting Inc., Co. (tb) [1:98evi232]
1/27/99 329 TRANSCRIPT filed for date(s) of 11/04/98. Reporter: David
A. Kasdan, Miller Reporting Inc., Co. (tb) [1:98ev1232]
1/27/99 330 TRANSCRIPT filed for date(s} of 11/05/98. Reporter: David
A. Kasdan, Miller Reporting Inec., Co. (tb) [1:98cvi232]
1/27/99 331 TRANSCRIPT filed for date(s) of 11/09/98. Reporter: David
A. Kasdan, Miller Reporting Inc., Co. (tb) [1:98¢ev1232]
1/27/99 332 TRANSCRIPT filed for dateis} of 11/10/98. Reporter: David
A. Kasdan, Miller Reporting, Inc., Co. (tbh) [1:98cv1232]
1/27/99 333 TRANSCRIPT filed for date(s) of 11/12/98. Reporter: David
A. Kasdan, Miller Reporting Inc., Co. {tb} [1:98cv1232]
1/27/99 334 TRANSCRIPT filed for date(s) of 11/16/98. Reporter: David
A. Kasdan, Miller Reporting Inc., Co, (tb) [1:98cv1232]
1/27/99 335 TRANSCRIPT filed for date(s) of 11/17/98. Reporter: David
A. Kasdan, Miller Reporting Inc., Co. (tb) [1:98cv1232]
1/27/99 336 TRANSCRIPT filed for date(s} of 11/18/98. Reporter: David
A. Kasdan, Miller Reporting Ine., Co. (tb} [1:98evi232]
1/27/93 337 TRANSCRIPT filed for date(s) cof 11/19/98. Reporter: David
A. Kasdan, Miller Reporting Inc., Co. (tb) [1:98cvi232]
1/27/92 338 TRANSCRIPT filed for date(s) of 11/23/98. Reporter: David
A. Kasdan, Miller Reporting Inc., Co. (tb} [1:98cevi232]

 
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Proceedings Include All Events. CM/ECF
1:98cv1232 USA v. MICROSOFT CORP. CONSOL TYPE A
1/27/99 335 TRANSCRIPT filed for date(s) of 11/24/98. Reporter: David

A. Kasdan, Miller Reporting Inc., Co. (tb) [1:98cvl232]

1/27/99 340 TRANSCRIPT filed for date(s) of 11/30/98. Reporter: David
A. Kasdan, Miller Reporting Inc., Co. (tb) [1:98cv1232]

41/27/89 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 1/28/99 in 1:98-cv-01232, in
1:98-cv-01233. Reporter: Phyllis Merana (gdf}
[1:98cv1232- 1: 98cvi233]

21/28/99 —- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 2/1/99 in 1:98-cv-01232, in
1:98-cv-01233 reporter: P. Merana (rew) [1:98cvl232
1:38cvi233]

 

1/28/99 341 ORDER by. Judge Thomas P. Jackson : granting in part and
denying in part motion to compel production of documents
[314-1] by USA in 1:98-cv-01232, and directing defendant to
produce certain spreadsheets. (N) (rew) [1:98cv1232
1:98c0v1233]

1/29/99 -- © REMARK direct testimony of James Ailchin unsealed; filed on
01/07/99 [270-L] by defendant MICROSOFT CORP. (tk)
[Entry date 02/01/99] [2:98cv1232]

1/29/99 342 TRANSCRIPT filed for date(s) of 1/21/99. Reporter:
Phyllis Merana (gdf) [Entry date 02/01/99] [1:98cv1232
1: 98cv1233]

1/29/99 345 TRANSCRIPT filed for date(s) of 1/27/99. Reporter:
Phyllis Merana (st) [Entry date 02/02/99) [1:98cv1232]

(1/29/99 346 TRANSCRIPT filed for date(s) of 1/28/99. Reporter:
Phyllis Merana (st) [Entry date 02/02/99] [1:98c¢ev1232]

2/1/99 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed i
and continued to 10:00 2/2/99 in 1:98-cv-01232, in
1:98-cv-01233 reporter: P.Merana (rew) [1:98cv1232
1:98¢v1233]

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2/1/99 344 TRANSCRIPT filed for date(s) of 1/26/99. Reporter:
Phyllis Merana (st) [Entry date 02/02/99] [1:98cv1232]

2/2/99 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 2/3/99 in 1:98-cv-01232, in
1:98-cv-01233 Reporter: Phyllis Merana (gdf)
11:98ev1l232 1:98cv1233]

2/2/99 343 ORDER by Judge Thomas P. Jackson : denying motion to
modification of court's direction of O1L/13/99 that
witnesses not discuss the substance cf testimony with
counsel during cross-examination [311-1] by MICROSOFT CORP.

in 1:98-cv-01232 (N) (qgdf) [1:98cv1232 1:98cv1233]

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Proceedings Include Ali Events. CM/ECE
1:98ev1232 USA v. MICROSOFT CORP. CONSOL TYPE A
2/3/99 347 ORDER by Judge Thomas P. Jackson: denying as moot the

motion to seal [318-1] by MICROSOFT CORP. in 1:98-cv~-01232
(N) {gdf} [1:98ev1232 1:98ev1233] ,

2/3/99 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 2/4/99 in 1:98-cv-01232, in
2:98-cv-01233 Reporter: Phyllis Merana (gdf)

F119@evi232 1:98cv1233]

2/3/99 348 TRANSCRIPT filed for date(s) of 01/25/99. Reporter: David
A. Kasdan, Miller Reporting Co., Inc. {tb}
[Entry date 02/04/39] [Edit date 02/04/99] [1:98¢v1232]

2/3/93 349 TRANSCRIPT filed for date(s) of 01/26/99. Reporter: David
A. Kasdan, Miller Reporting Co., Inc. (tb)
[Entry date 02/04/99] [Edit date 02/04/99] [1:98ev1232]

2/3/99 350 TRANSCRIPT filed for date(s) of 01/27/39. Reporter: David
A. Kasdan, Miller Reporting Co., Ine. (th)
[Entry date 02/04/99] [1:98cv1232]

2/3/99 351 TRANSCRIPT filed for date(s) of 02/28/99. Reporter: David
A. Kasdan, Miller Reporting Co., Inc. (tb)
[Entry date 02/04/99] [1:98cv1232]

2/4/99 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed and
continued te 10:00 2/8/99 in 1:98-ev-01232, in 1:98-cv-01233
Reporter: Phyllis Merana (gdf) [Bdit date 02/08/99]
[1:98cev1232 1:98cvi233]

2/5/99 352 TRANSCRIPT filed for date(s) of 02/01/99. Reporter:
Phyllis Merana (tb) [Entry date 02/08/99] [1:98cv1232]

2/5/99. 353 TRANSCRIPT filed for date(s) of 02/02/99. Reporter:
Phyllis Merana (tb) [Entry date 02/08/99] [1:98¢v1232]

2/5/93 354 TRANSCRIPT filed for date(s) of 02/03/99. Reporter:
Phyllis Merana {tbh) [Entry date 02/08/99] F1i:98cevi232]

2/5/99 355 TRANSCRIPT filed for date(s) of 02/04/99. Reporter:
Phyilis Merana (tb} [Entry date 02/08/99] [141:98cev1232]

2/8/99 ~ NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 2/9/99 in 1:98-cv-61232, in
1:98-cv-O01233 reporter: Phyllis Merana (rew)
[1:98ev1232 1:98cv1233]

2/8/99 —-- REMARK direct testimony of William Poole unsealed; filed on

01/07/89 [270-1] by defendant MICROSOFT CORP. (tb)
[1:98¢ev1232}

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Proceedings Include All Events. CM/ECF
L:98evil232 USA v. MICROSOFT CORP. CONSOL TYPE A
2/8/99 -- REMARK direct testimony of Micheal T. Devin unsealed; filed

on 01/07/99 [270-1] by defendant MICROSOFT CORP.; exhibits
(2) (tb) [Edit date 02/08/95] [1:98cv1232]

2/9/99 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 2/10/99 in 1:98-cv-01232, in
1:98-cv-01233 ‘reporter: Phyllis Merana (rew)
T1:98ecvi232 1:98cv1233]

2/9/99 356 MOTION filed by movant BRISTOL TECH INC in 1:98-cv-01232
to intervention to modify protective order; exhibits (6) (tb)
[Entry date 02/10/99] [41:98cv1232]

2/10/99 =- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 2/11/99 in 1:98-cv-01232, in
1:98-cyv-O01233 reporter: Phyllis Merana (rew) .
[1:98cv1232 1:98cv1233]

2/10/99 -- REMARK direct testimony of Cameron Myhrvold unsealed; filed
on 01/07/99 [270-1] by defendant MICROSOFT CORP. (tb)
[Entry date 02/11/99] [Edit date 02/11/99] [1:98cv1232]

2/11/99 -- NON-GURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 2/16/99 in 1:98-cv-01232, in
1:98-cyv-01233 reporter: Phyllis Merana (rew)

{1:98ev1232 1:98cv1233]

2/11/99 357 STIPULATION filed and flated by Judge Thomas P. Jackson
regarding exhibits to direct testimony of Brad Chase. (N)
(rew) [1:98cev1232 1:98¢v1233]

2/11/99 -= REMARK direct testimony of Brad Chase unsealed, filed on
01/07/93 [270-1] by defendant MICROSOFT CORP. (tb)
fi: 98ev1232]

2/11/99 358 TRANSCRIPT filed for date(s) of 01/13/99. Reporter: David
A. Kasdan, Miller Reporting Co., Inc. (tb) [1:98cv1232]

2/11/99 359 TRANSCRIPT filed for date(s) of 02/01/99. Reporter: David
A. Kasdan, Miller Reporting Co., Ine. (tbh) [1:98ev1232]

2/11/99 360 TRANSCRIPT filed for date(s) of 02/02/99. Reporter: David
A. Kasdan, Miller Reporting Co., Ine. (tb) [1:98cvi232]

2/11/99 361 TRANSCRIPT filed for date(s) of 02/03/99. Reporter: David
A. Kasdan, Miller Reporting Co., Inc. (tb) [1:98cv1232]

2/11/59 362 TRANSCRIPT filed for date{s) of 02/04/99. Reporter: David
A. Kasdan, Miller Reporting Co., Ine. (tb) [1:98cv1232]

2/12/99 363 TRANSCRIPT filed for date(s) of 02/08/99. Reporter:
Phyllis Merana (tb) [EBntry date 02/16/99] [1:98cv12321

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Proceedings Inciude All Events. CM/ECF
1:98cv1232 USA v. MICROSOFT CORP. CONSOL TYPE A
2/12/99 364 TRANSCRIPT filed for date(s) of 02/09/99. Reporter:

Phyllis Merana (tb) [Entry date 02/16/99] [1:98cv1232]

2/12/99 365 TRANSCRIPT filed for date(s) of 02/10/99. Reporter:
Phyllis Merana (tb) [Entry date 02/16/99] [1:98cv1232]

 

2/12/99 366 TRANSCRIPT filed for date(s) of 02/11/99. Reporter:
Phyllis Merana (tb) [Entry date 02/16/99] [1:98cvi232]

2/16/99 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 2/17/99 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew)

[1:98cv1232 1:98¢v1233]

2/16/89 367 TRANSCRIPT filed for date(s) of 02/08/99. Reporter:
Miller Reporting Co. Inc. (tb) [Entry date 02/17/99]
Pl: $8cvi232]

2/16/99 368 TRANSCRIPT filed for date(s) of 02/09/99. Reporter:
Miller Reporting Co., Inc. (tb) [Entry date 02/17/99)
[1:98ev1232]

2/16/99 369 TRANSCRIPT filed for date(s) of 02/10/99. Reporter:
Miller Reporting Co., Ine. (tb) [Entry date 02/17/99]
[1:98cv1232]

2/16/99 370 TRANSCRIPT filed for date(s} of 02/11/99. Reporter:

Miller Reporting Co., Inc. (tb) [Entry date 02/17/99]
[1:98cv1232}

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2/16/99 371 MOTION filed by movants in 1:98-cv-01232 for AMER LAWYER

MEDIA, USA TODAY to case(s) 1:98-cv-901232, to intervene
for limited purpose of staying further depositions in this
action pending issuance of the Court of Appeal's mandate,
or in the alternative, for access to forthcoming
cepositions; EXHIBIT {(COMPLAINT,MOTION TO STAY, RULE 103
CERTIFICATE) (tb) [Entry date 02/17/99] [1:98cv1232]

2/17/99 -- REMARK direct testimony of John T. Rose unsealed; filed on
O1/12/99 [281-1] by defendant MICROSOFT CORP. (tb)
Pl: 98ecvi232]

2/17/99 —-- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 2/18/99 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phyliis Merana {rew}

[1:38cvi232 1:$8cv1233]

2/18/99 -- NON-JURY. TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 2/19/39 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew)

[1:98evl232 1:98cv1233]

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1:98cevi232 USA v. MICROSOFT CORP. CONSOL TYPE A
2/19/99 -- NON-JURY TRIAL before Judge Thomas PF. Jackson resumed

and continued to 10:00 2/22/99 in 1:38-cv-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew)
{1:$8ev1l232 1:98ev1233)

2/22/99 372 SCHEDULING ORDER #5 by Judge Thomas P. Jackson ,directing
that the trial shall recess on 2-26-99 and resume with
rebuttal and surrebuttal on 4/12/99 and setting status
hearing set for 9:30 3/31/99 in 1:98-cev-01232, in
1:98-cev-01233 ; and discovery shall remain closed. (N} (rew)
[1:98evi232 1:98¢ev1233])

2/22/99 373 STIPULATION filed and fiated by Judge Thomas P. Jackson
regarding exhibits to the direct testimony of Daniel Rosen
(N$} (rew) [1:98cvi232 1:98cv1233]

2/22/99 —-- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 2/23/99 in 1:98-cv-01232, in
1:98-cv-012335 reporter: Phyllis Merana (rew)
[1:98cev1232 1:98cv1233]

2/22/99 374 DEPOSITION (SUPPLEMENTAL) filed by defendant MICROSOFT CORP.
in 1:98-ev-01232 on; exhibit (1); (FILED UNDER SEAL} [(tb)
[Entry date 02/23/99] [Edit date 02/23/99] [1:98¢v1232]

2/22/99 -- REMARK direct testimony of Daniel Rosen unsealed; filed on
O1/07/99 [270-1] by defendant MICROSOFT CORP. (tb)
[Entry date 02/23/99] [1:%8cv1232]

2/23/99 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 2/24/99 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew)

[1:98ev1232 1:98cv1233]

2/23/99 -- REMARK direct testimony of Eric Engstrom unsealed; filed on
01/07/99 [270-1] by defendant MICROSOFT CORP. (tb)
{1:38cv1232]

2/23/99 375 STIPULATION filed and fiated by Judge Thomas P. Jackson
regarding exhibits to direct testimony of Eric Engstrom,
{(N) (few) [1:98ev1232 1:98cv1233}

2/24/99 —-- NON-JURY TRIAL . before Judge Thomas P. Jackson resumed
and continued to 10:00 2/25/99 in 1:98-cv-01232, in
1:98-ev-01233 reporter: Phyllis Merana (rew)
[1:98ev1l232 1:98¢cv1233]

2/24/99 -- REMARK direct testimony on Joachim Kempin unsealed; filed
on 91/07/99 §270-1] by defendant MICROSOFT CORP. (tb)
1:98cv1232)

2/24/99 376 ORDER by Judge Thomas P. Jackson , nunc pro tunc, granting
MICROSOFT 'S motion for extension of time to oppose motion

of Bristol Technology for intervention. (N} (rew)

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Proceedings Include All Events. COM/ECF
1:98cv1232 USA v. MICROSOFT CORP. CONSOL TYPE A

f1:98evl232 1:98cv1233]

2/24/99 377 MOTION filed by defendant MICROSOFT CORP. in 1:98~cv~-01232
to extend time to file opposition to motion of BRISTOL TECH
for permissive intervention; EXHIBIT (OPPOSITION FILED
UNDER SEAL) (tb) [Entry date 02/25/99]

[Edit date 02/25/99] [1:98cv1232]

2/24/99 378 RESPONSE by plaintiffs states 1:98-cv-01233 to motion to
intervention toe modify protective order [356-1] by BRISTOL
TECH INC in 1:98-cv-01232 (tb} [Entry date 02/25/99}
[1:98cv1232 1:98¢v1233]

2/25/99 -—- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 2/26/99 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phillis Merana (rew)
[1:98cv1232 1:98ev1233]

2/23/99 379 REPLY by movant BRISTOL TECH INC in 1:98-cv-01232 in
support of motion to intervention to modify protective
order [356-1] by BRISTOL TECH INC (tb) [Entry date 02/26/99)
[1:98cv1232]

2/26/99 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued, status call set 9:30 3/31/99 in
1:98-cv-01232, in 1:98-cv-01233 reporter: Phyllis Merana
(rew) [1:98cv1232 1:98cv1233]

2/26/99 -+ REMARK direct testimony of Robert Muglia unsealed; filed on
01/12/99 [283-1] by defendant MICROSOFT CORP. (tb) °
[1L:$8ev1232]

2/26/99 380 TRANSCRIPT filed for date(s) of 12/01/98. Reporter: David
A. Kasdan, Miller Reporting Co., Ine. (tb)
fantry date 03/01/99] [1:98cv1232]

2/26/99 381 TRANSCRIPT filed .for date(s) of 12/02/98. Reporter: David
A. Kasdan, Miller Reporting Co., Ine. (tb)
[Entry date 03/01/99] §[1:98cvi232]

2/26/99 382 TRANSCRIPT filed for date(s) of 12/03/98. Reporter: David
A. Kasdan, Miller Reporting Co., Inc. (tb)
[Entry date 03/01/99] [1:98cev1232]

2/26/99 383 TRANSCRIPT filed for date(s) of 12/08/98. Reporter: David
A. Kasdan, Miller Reporting Co., Inc. (tb)
[Entry date 03/01/93] [1:98cv1232]

2/26/99 384 TRANSCRIPT filed for date(s) of 12/10/98. Reporter: David
A. Kasdan, Miller Reporting Co., Inc. (fb)
[Eniry date 03/01/99] [1:98¢v1232]

2/26/99 385 TRANSCRIPT filed for date(s} of 12/14/98, Reporter: David
A. Kasdan, Miller Reporting Co., Inc. (tb)

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i:98evl232 USA v. MICROSOFT CORP.

fEntry date 03/01/99] [Edit date 03/01/99]

2/26/99 386 TRANSCRIPT filed for date(s) of 12/15/98.
A. Kasdan, Miller Reporting Co., Inc. (tb)
[Entry date 03/01/99] [1:98cv1232]

2/26/99 387 TRANSCRIPT filed for date(s) of 12/16/98.
A. Kasdan, Miller Reporting Co., Ine. (tb)
fEntry date 03/01/99] [1:98cv1232]

2/26/99 388 TRANSCRIPT filed for date(s) of 01/04/99.
David A. Kasdan, Miller Reporting Co., Inc.

fEntry date 03/01/99] [1:98cv1232]

2/26/99 389 TRANSCRIPT filed for date(s) of 01/05/99.
A. Kasdan, Miller Reporting Co., Ine. (tb)
[Entry date 03/01/99] [1:98cev1232]

2/26/99 390 TRANSCRIPT fiied for date(s) of 01/06/99.
A, Kasdan, Miller Reporting Co., Ine. (tb)
[Entry date 03/01/99] [1:98cvi232)

2/26/99 391 TRANSCRIPT filed for date(s) of 01/07/99.
A. Kasdan, Milier Reporting Co., Inc. (tb)
[Entry date 03/01/99] [1:98cev1232]

2/26/99 392 TRANSCRIP? filed for date(s) of 01/11/99.
A. Kasdan, Miller Reporting Co., Ine. (fb)
[Entry date 03/01/99] [1:98cv1232]

2/26/99 °393 TRANSCRIPT filed for date(s) of 01/12/99.
A. Kasdan, Miller Reporting Co., Inc. (tb)
{Entry date 03/01/99] [1:938¢vl1232]

2/26/89 394 TRANSCREPT filed for date(s) of 01/13/99.
A. Kasdan, Miller Reporting Co., Inc. (tb)
[Entry date 03/01/99] £1:98¢ev1232]

2/26/99 395 TRANSCRIPT filed for date(s) of 01/14/99.
. A. Kasdan, Miller Reporting Co., Inc. (tb)
[Entry date 03/01/99] [1:98¢v1232]

2/26/99 396 TRANSCRIPT filed for date(s) of 01/19/99.
A. Kasdan, Miller Reporting Co., Inc. {tb}
[Entry date 03/01/99) [1:98cv1232]

2/26/99 397 TRANSCRIPT filed for date(s) of 01/20/99.
A. Kasdan, Miller Reporting Co., Inc. (tb)
[Entry date 03/01/99] [1:98cv1232)

2/26/99 398 TRANSCRIPT filed for date(s) of 01/21/99.

A. Kasdan, Miller Reporting Co., Inc. (th)
[Entry date 03/01/99] [1:98cv1232]

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Proceedings Include All Events. CM/ECF
1:98cv1232 USA v. MICROSOFT CORP. , CONSOL TYPE A
2/26/99 399 TRANSCRIPT filed for date(s) of 02/16/99. Reporter: David

A. Kasdan, Miller Reporting Co., Inc. (tb)
[Entry date 03/01/99] [1:98cv1232]

2/26/39 400 TRANSCRIPT filed for date(s) of 02/17/99. Reporter: David
A. Kasdan, Miller Reporting Co., Ine. (tb)
[Entry date 03/01/99] [1:98cv1232]

2/26/99 401 TRANSCRIPT fiied for date(s) of 02/18/99. Reporter: David
A. Kasdan, Miller Reporting Co., Ine. (tb)
[Entry date 03/01/99] [1:98cv1232]

 

2/26/99 602 TRANSCRIPT filed for date(s) of 12/9/98. Reporter: Miller
Reporting Co., Inc. (tth} [Entry date 09/27/00]
[1:98cv1232]

3/2/99 402 RESPONSE (OPPOSITIONS) by plaintiff USA in 1:98-cv-01232 to
motion for AMBER LAWYER MEDIA, USA TODAY to case(s)
1:98-cv-01232, to intervene for Limited purpose of staying
further depositions in this action pending issuance of the
Court of Appeal's mancate, or in the alternative, for
access to forthcoming depositicns [371-1] by movant {tb)
[Entry date 03/03/99] [1:98cv1232]

3/2/99 403 TRANSCRIPT filed for date(s) of 02/16/99. Reporter:
Phyllis Merana (tb) [Entry date 63/03/99] [1:98cv1232)

3/2/99 404 TRANSCRIP? filed for date(s) of 02/17/99. Reporter:
Phyllis Merana (tb) [Entry date 03/03/99] [1:98cv1232]

3/2/99 ACs FRANSCRIPT filed for date(s) of 02/18/99. Reporter:
Phyllis Merana (tb) [Entry date 03/03/99) [1:98cVv1232]

 

3/2/99 406 TRANSCRIPT filed for date(s) of 02/19/99. Reporter:
Phyllis Merana (tb) [Entry date 03/03/99] [1:98cvl232]

3/2/99 407 TRANSCRIPT filed for date(s) of 02/22/99. Reporter:
Phyllis Merana (tb) [Entry date 03/03/99] [1:98cv1232]

3/2/99 408 TRANSCRIPT filed for date(s) of 02/23/99. Reporter:
Phyllis Merana (tb) [Entry date 03/03/99] [1:98cv1232]

3/2/99 499 TRANSCRIPT filed for date(s) of 02/24/99. Reporter:
Phyllis Merana (tb) [Entry date 03/03/99} [1:98cv1232]

3/2/39 410 TRANSCRIPT filed for date(s) of 02/25/99. Reporter:
Phyllis Merana (tb} [Entry date 03/03/99] [1:98cv1232]

3/2/99 411 TRANSCRIPT filed for date(s) of 02/26/99. Reporter:
Phyllis Merana (tb) [Entry date 03/03/99] [1:98cv1232}

3/5/99 412 TRANSCRIPT filed for date(s) of 2/22/39. Reporter: Miller
Reporting Co., Ine. (tth) [1:98cvl232]

 

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Proceedings Include All Events. CM/ECE
1:38cv1232 USA v. MICROSOFT CORP. CONSOL TYPE A

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3/15/99

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TRANSCRIPT filed for date(s) of 2/23/99. Reporter: Miller
Reporting Co., Inc. (tth} [1:98cv1232]

TRANSCRIPT filed for date(s) of 2/24/99. Reporter: Miller
Reporting Co., Inc. (tth} [1:98cv1232]

TRANSCRIPT filed for date(s} of 2/25/99. Reporter: Miller
Reporting Co., Inc, (tth) [1:98cvi232]

TRANSCRIPT filed for date(s) of 2/26/99. Reporter: Miller
Reporting Co., Ine. (tth} [1:98cv1232]

CERTIFIED COPY of Order filed in USCA dated 1/29/99,
referencing appeal [74-1] in 1:98=cv-01232, appeal [43-1]
in 1:98~cv-01233, affirming the judgment of USPC OPINION
USCA 98-5399 & 98-5400 (cjp) [Entry date 03/12/99]
[1:98cv1232 1:98cv1233]

MOTION filed by movant GRAVITY, INC. in 1:98-cv-01232 to
intervene for purpose of modifying proctive order (st)
[Entry date 03/15/99] [31:98cv1232}

MOTION filed for ROY A. DAY to case(s) 1:98-cv-01232, to
intervene; Attachment (1); EXHIBIT (MOTION) (tth)
[Fntry date 03/16/99] [1:98¢v1232]

MEMORANDUM AND ORDER by Judge Thomas FP. Jackson

granting motion of BRISTOL TECHNOLOGY INC. for permissive
intervention to medify protective order [356-1] by BRISTOL
TECH INC in 1:98-ev-01232 and the motion to modify the
protective order is denied without prejudice. {N) (N) (rew}
[Entry date 03/17/99] [1:98cv1232 1:98cv1233]

RULE 109 Certificate of disclosure of corporate
affiliations and financial interests by Non Party DELL
COMPUTER CORP in 1:88-ev-01232 (tth) [Entry date 03/24/99]
[1:98ev1232]

MEMORANDUM by Non Party DELL COMPUTER CORP in
1:98-cv-01232 in opposition to motion to intervene for
purpose of modifying proctive order [418-1] by GRAVITY,
INC.; Declaration (1); Exhibits (3) (tth}

[Entry date 03/24/99] [1:98cev1232)

RESPONSE by cefendant MICROSOFT CORP. in 1:98-cv-01232 in
opposition to motion to intervene for purpose of modifying
proctive order [418-1] by GRAVITY, INC. . (tth)

[Entry date 03/24/99] [1:98ev1232]

RESPONSE by plaintiff USA in 1:98-cv-01232 to expected
Microsoft request for depositions regarding
AOL/Netscape/Sun Transaction. (tth) [Entry date 03/31/99}
L1:98cv1232]

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Proceedings Include All Events. CM/ECF
1:98cvil232 USA v. MICROSOFT CORP. CONSOL TYPE A
3/26/99 427 REQUEST by plaintiff USA in 1:938-cv-01232 for reciprocal

discovery from Microsoft (tth) [Entry date 03/31/99]
f1:98ev1232]

3/29/99 424 MOTION (EMERGENCY) filed by defendant MICROSOFT CORP. in
1:98-cv-01232 to compel AOL, Netscape and Sun to produce
ali e-mail messagesresponsive to the subpcenas; Exhibits
(5) (tth) [Entry date 03/30/99] [1:98cv1232]

3/30/99 425 ORDER by Judge Thomas P. Jackson ,directing ACL, NETSCAPE,
and SUN to respond to MICROSOFT'S motion to compel .
discovery by 4-8-99 and MICROSOFT'S reply is due 4/9/99 and
setting motion hearing on 4-9-9939 at 11:00 am. (N) (rew)
[Entry date 03/31/99} [1:98cv1i232 1:98c¢v1233]

3/31/99 -- STATUS HEARING before Judge Thomas P. Jackson , trial
expected to resume on 5/10/99 at 10:00 am. Each party to
disclose rebutal witnesses by 4/23/99. Reporter: Phyllis
Merana (rew) [1:98cv1232 1:98cv1233]

3/31/99 428 SCHEDULING ORDER #6 by Judge Thomas P. Jackson , trial to
resume for 10:00 5/10/39 or on the Monday following the
sumbission to the jury of CR98-071 in 1:98-cv-01232, in
1:38-cv-01233 ;with instructions to counsel on remaining
exhibits, number of rebuttal and surrebuttal witnesses,
deadling to identify witnesses, subpoenas, depositions,
testimony, schedule for proposed findings and conclusions,
and submissions by amici. (N) (rew) [Entry date 04/01/99)
f1:98ev1l232 1:98cv12323}

4/1/99 429 ORDER by Judge Thomas P. Jackson , setting out procedures
governing further depositions. (N) (rew}
(Entry date 04/06/99] [1:98cvL232 1:98cv1233)

4/6/99 430 REPLY by movant GRAVITY, INC. in 1:98-cv-01232 to response
to motion to extend time to file opposition to motion of
BRISTOL TECH for permissive intervention [377-1] by
MICROSOFT CORP.; Declaration (1}; Exhibits (3) (tth)
[Entry date 04/07/99] [2:98cv1232]

4/7/99 431 ORDER by Judge Thomas PF. Jackson setting out procedures
governing the public release of transcripts and videotapes
of depositions. (N) (rew) [Entry date 04/09/39]
[3:98cev1232 1:98cv1233]

4/3/99 432 RESPONSE by movant COMPAQ COMPUTER CORP in 1:98-cv-01232
in opposition to motion to intervene for purpose of
modifying proctive order [418-1] by GRAVITY, INC.:
Declaration (1). (tth) [Entry date 04/13/99]

LL: 98cvl232]

4/12/99 433 JOINT INDEX OF DEPOSITIONS in 1:98-cv-01232; Attachment.
(tth) [Entry date 94/13/99} [1:98cv1232]

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Proceedings Include All Events. CM/ECF
1:98evi232 USA v. MICROSOFT CORP... ; CONSOL TYPE A
4/14/99 434 MOTTON filed by defendant MICROSOFT CORP. in 1:98-cv-01232

to withdraw motion to compel AOL, Netscape and Sun to
produce all e-mail messagesresponsive to the subpoenas
[424-1] (tth) [Entry date 04/15/99] [1:98cev1232]

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4/15/99 435 ORDER by Judge Thomas P. Jackson : granting motion to
withdraw motion to compei AOL, Netscape and Sun to produce
all e-mail messagesresponsive to the subpoenas [424-1]
[434-1] by MICROSOFT CORP. in 1:38-cv-01232 (N) (rew)
[Entry date 04/16/99] [1:98ev1232 1:98cevi233]

4/19/99 436 STIPULATION and ORDER filed and fiated by Judge Thomas P.
Jackson directing that Plaintiffs exhibit 372 admitted into
evidence by stipulation and Order of 1-13-39 be nunc pro
tune treated as admitted under seal . (N) (rew)
fEntry date 04/22/99] [1:98cv1232 1:98cv1233])

4/26/99 437 ORDER by Judge Thomas P. Jackson , directing Plaintiff and
Defendants time to identify rebuttal and surrebuttal
witnesses by 5:00 p.m. on 5-3-9399 with summary of
anticipated testimony. (N) (rew) [1:98ev1232 1:98cv1233]

4/28/99 438 ORDER by Judge Thomas P,. Jackson, directing that Hliot
Spitzer, attorney general of the State of New York, is
substituted for Dennis Vacco in CA98-1233 and the caption
shail reflect such substitution. (N) (rew) [1:98cv1232
1:98cv1233]

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5/1/29 443 RESPONSE by defendant MICROSOFT CORP. Notice of Filing in
Support of its Motion for Permissive Intervention to Modify
Protective Order 1:98-cv-01232 [441-1] by BRISTOL TECH INC
(tth}) [Entry date 06/02/99] [1:98¢v1232]

5/3/99 439 JOINT REBUTTAL WITNESS LIST by plaintiff USA in
1:98-cv-91232, and PLAINTIFF STATES' in 1:98-cv-01233, to
witness list [1L2~-1L] by MICROSOFT CORP. in 1:98-cv-01232;
Exhibits (3) (tth) [Entry date 05/04/99]
fEdit date 05/04/99) [1:98qev1232 1:98e¢v1233]

5/3/99 440 DESIGNATION of Rebuttal Witnesses and Description of
Rebuttal Witness Testimony by defendant MICROSOFT CORP. in
1:98-cv-01232 to witness list [113-1] (tth)

[entry date 05/04/99] [1:98cv1232]

5/18/99 441 MEMORANDUM by third party BRISTOL TECH INC in 1:38-cv—-01232
re: Modification of the Protective Order; Exhibits (2) {tth}
[Entry date 05/19/99] [1:98cv1232]

 

5/19/99 -- SCHEDULING NOTICE: trial set for 10:00 6/1/99 in
1:98-¢v—-01232, in 1:98-cv-01233 ; before Judge Thomas P.
Jackson . ({rew) [1:98cv1232 1:98cv1233]

5/24/99 442 TRANSCRIPT filed for date(s) of 3/31/99. Reporter:
Phyllis Merana (tth) [Entry date 05/25/99] [1:98cv1232]

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Proceedings Include All Events. CM/ECF
1:98evi232 USA v. MICROSOFT CORP. , CONSOL TYPE A
6/1/99 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed

and continued to 10:00 6/2/99 in 1:98-cv-01232, in
1:98-cv-01233 reporter: P. Merana ({rew) [1:98cvi232
1:98cvi233]

6/2/99 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 6/3/99 in 1:98-cv-01232, in
1:98-cv~01233 reporter: Phyllis Merana (rew)

[1:98ev1232 1:98cv1233]

6/2/99 4aéa ORDER by Judge Thomas P. Jackson modifying the Protective
Order entered 5/27/38. (N) {(rew) [Entry date 06/03/99] :
[i:98cev1232 1:98cv1233] i
6/3/99 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed

and continued to 10:00 6/4/99 in 1:98-cv-01232, in
1:98-cv-01233 reporter: P. Merana (rew}) |
fEntry date 06/04/99] [1:98cv1232 1:98cv1233]

6/4/99 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 6/7/99 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew)
[i:88cevi232 1:98cv1233]

6/7/99 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 6/8/99 in 1:98-cv-01232, in
1:98-cv-01233 reporter: Phyllis Merana (rew)

[1:98cv1232 1:98¢v1233]

6/7/99 445 MOTION filed by movant AMER LAWYER MEDIA in 1:98-cy-01232,
movant ASSOCIATED PRESS in 1:98-cv-01232, Non Party NETWORK
COMPUTER INC in 1:98-cv-01232, movant NEW YORK TIMES CO in
1:98-cv-01232, movant REUTERS AMERICA, INC. in
1:98-cv-C1232, movant SAN JOSE MERCURY NEW in .
1:98-cv-01232, movant USA TODAY in 1:98-cv-01232, movant i
WASHINGTON POST CO. in 1:98-cv-01232, movant ZDTV LLC in
1:98-cv-01232, movant ZDNET in 1:98-cv-01232 to unseal
certain exhibits admitted inte evidence at trial and
received at deposition (tth) [Entry date 06/08/99]
[1:98cevl1232]

6/8/99 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 6/9/99 in 1:98-cv-01232, in.
1:98-cv-01233 reporter: Phyllis Merana (rew)

Pi: 98cevl232 1:98¢ev1233)}

6/3/99 -- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 6/10/99 in 1:98-cv-01232, in
1:968-cv-01233 reporter: Phyllis Merana (rew)
fl: 98cev1232 1:98cv1233]

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Proceedings Include All Events. CM/ECF
1:98ev1232 USA v. MICROSOFT CORP. CONSCL TYPE A
6/10/99 —-- NON-JURY TRIAL before Judge Thomas P. Jackson resumed

6/14/99

6/16/99

6/16/99

6/16/93

6/18/99

6/18/99

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6/18/99

6/18/39

6/21/99

6/22/99

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and continued to 10:00 6/14/99 in 1:98-cv-01232, in
1:98-cv-01233 reporter: P. Merana (rew} [1:98cv1232
1:98ev1233])

NON-JURY TRIAL before Judge Thomas P. Jackson resumed and

continued to 9:30 6/16/39 in 1:98-cv-01232, in 1:98-cv-01233

reporter: Phyllis Merana (rew) [Edit date 06/15/99]
i1:98cevi232 1:98¢ev1233]

NON-JURY TRIAL before Judge Thomas P. Jackson resumed and
continued to 10:00 6/21/99 in 1:98-cv-01232, in
1:98-ev-01233 reporter: Phyllis Merana (rew)

[Edit date 06/16/99] [1:98cv1232 1:98cv1233]

SCHEDULING NOTICE: trial set for 10:00 6/21/99 in
1:98-cv-01232, in 1:98-cyv-01233 ; before Judge Thomas P.
Jackson . (rew) [1:98cv1232 1:98cv1233]

MOTION filed by defendant MICROSOFT CORP. in 1:98-cv—-01232
to admit deposition excerpts and exhibits; Exhibits (2) (tth)
[Entry date 06/17/99] [1:98cv1232]

TRANSCRIPT filed for date(s) of 6/7/99. Reporter: David
Kasdan, Miller Reporting (st) [Entry date 06/21/99]
[1:$8evl232]

TRANSCRIPT filed for date(s) of 6/8/99. Reporter: David
Kasdan (st} [Entry date 06/21/99) [i:98cv1232]

TRANSCRIPT filed for date(s) of 6/9/99. Reporter: Thomas
CC. Bitsko, Miller Reporting (st) [Entry date 06/21/99]
f1:98cv1232]

TRANSCRIPT filed for date(s) of 6/10/99. Reporter: David
Kasdan; Miller Reporting (st) [Entry date 06/21/99]
{L:98cv1232]

TRANSCRIPT filed for date(s) of 6/16/99. Reporter: David
Kasdan, Miller Reporting (st) [Entry date 06/21/99]
[Bdit date 06/21/99] [1:98ev1232]

TRANSCRIPT filed for date(s) of 6/14/99. Reporter: David
Kasdan, Miller Reporting (st) [Entry date 06/21/99]
[1:88ev1232]

NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 6/22/99 in 1:98-cv-01232, in
1:98-cyv-01233 reporter: Phyllis Merana (rew)

[1i:98cvl232 1:98cv1233)

NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 6/23/7939 in 1:98-cv-01232, in
1:98-cv—-01233 reporter: P. Merana (rew)

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Proceedings Include All Events. CM/ECF
1:98cv1232 USA v. MICROSOFT CORP. CONSOL TYPE A

[Entry date 06/23/99] [1:98cv1232 1:98cv1233]

6/22/99 453 STIPULATION filed and fiated by Judge Thomas P. Jackson
regarding deposition excerpts . (N) (rew)
[Entry date 06/23/93] [1:98cv1l232 1:98cv1233]

6/22/99 454 STIPULATION filed and fiated by Judge Thomas P. Jackson
admitting certain defendant exhibits. (N) (rew)
[Entry date 06/23/99] [1:98c¢ev1232 1:98cv1233]

6/23/39 -~ NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and continued to 10:00 6/24/99 in 1:98-cv-01232, in
1:938-cv-01233 reporter: Phyllis Merana {rew)
Fi:98ev1232 1:98¢v1233]

6/23/99 455 RESPONSE by plaintiff USA in 1:98-cv-01232 in cpposition

 

to motion te admit deposition excerpts and exhibits [446-1]
by MICROSOFT CORP.; Exhibits (3). (ith)

[Entry date 06/24/99] [1:98cv1232]

6/24/99 —-« NON-JURY TRIAL befere Judge Thomas P. Jackson resumed
and concluded, clesing arguments set for 10:00 9/21/99 in
1:98-cev-01232, in 1:98-cv-01233 reporter: Phyllis Merana
(rew) [1:98cvi232 1:98cv1233]

6/24/99 456 ORDER by Judge Thomas P. Jackson : granting motion to
admit deposition excerpts and exhibits [446-1] by MICROSOFT
CORP. in 1:98-cv-01232 (N) (rew} [1:98cv1l232 1:98cv1233]

6/24/99 457 ORDER by Judge Thomas P. Jackson ,amending the Court's
Scheduling Order No.6, proposed findings of fact are due
$-10-99, revised proposed findings of fact are due 9-10-99,
and closing arguments are scheduled for 9-21-99 at 10:00am,
(N) (vrew) [1:98ev1232 1:98cv1233]

6/28/99 458 TRANSCRIPT filed for date(s) of 3/31/99. Reporter:
Phyllis Merana (tth) [Entry date 06/29/99] [1:98¢v1232]

6/28/99 459 TRANSCRIPT filed for date(s) of 6/1/99 (A.M. SESSION).
Reporter: Phyllis Merana (tth) [Entry date 06/29/99]
[1:98ev1232]

6/28/99 460 TRANSCRIPT filed for date(s) of 6/2/99 (A.M. SESSION).
Reporter: Phyllis Merana (tth) [Entry date 06/29/99]
f1:98cvi232]

6/28/99 A461 TRANSCRIPT filed for date(s) of 6/3/99 (A.M. SESSION}.
Reporter: Phyllis Merana (tth} [Entry date 06/29/9393]
[1:98ev1232]

6/28/99 462 TRANSCRIPT filed for date{s) of 6/4/99 (A.M. SESSION).

Reporter: Phyllis Merana (tth) [Entry date 06/29/99}
fl: 98cev1232)}

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1:98cvl232 USA v. MICROSOFT CORP. CONSOL TYPE A

6/28/99 463 TRANSCRIPT filed for date(s) of 6/7/99 (A.M. SESSION).
Reporter: Phyllis Merana (tth) [Entry date 06/29/99]
[i:98cv1232]

6/28/99 464 TRANSCRIPT filed for date(s) of 6/8/99 (A.M. SESSION).
Reporter: Phyllis Meranae (tth) [Entry date 06/29/99]
[1:98ev1232]

 

6/28/99 465 TRANSCRIPT filed for date(s) of 6/9/99 (A.M. SESSION).
Reporter: Phyllis Merana (tth) [Entry date 06/29/99]
[1:98ev1232]

6/28/99 466 TRANSCRIPT filed for date(s) of 6/10/99 (A.M. SESSION).
Reporter: Phyllis Merana (tth) [Entry date 06/29/99]
[1:98cv1232]

6/28/99 467 TRANSCRIPT fiied for date(s) of 6/14/93 (A.M. SESSION).
Reporter: Phyllis Merana (tth) [Entry date 96/29/99}
[1:98cv1232]

6/28/99 468 TRANSCRIPT filed for date(s) of 6/16/95 (A.M. SESSION).
Reporter: Phyllis Merana (tth) [Entry date 06/29/99)
[1:98cevi232]

6/28/99 4635 TRANSCRIPT filed for date(s) of 6/21/99 (A.M. SESSION}.
Reporter: Phyllis Merana (tth) [Entry date 06/29/99]
[1:98evl232)]

 

6/28/93 470 TRANSCRIPT filed for date(s) of 6/22/99 (A.M. SESSION).
Reporter: Phyllis Merana (tth) [Entry date 06/29/99)
{1:98cvi232]

6/28/99 A471 TRANSCRIPT filed for date(s) of 6/23/99 (A.M. SESSION}.
Reporter: Phyllis Merana (tth) [Entry date 06/29/99]
f1:98cevi232]

6/28/99 A472 TRANSCRIPT filed for date(s) of 6/24/99 (A.M. SESSION}.
Reporter: Phyllis Merana (tth) [Entry date 06/29/39]
11: 98cevl232]

6/29/99 473 MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
to admit surrebuttal exhibits (tth) [Entry date 06/30/99]
[1:38¢evi232]

6/30/99 A474 STIPULATION filed and fiated by Judge Thomas P. Jackson
regarding deposition excerpts received into evidence. (N)
(rew) [Entry date 07/01/99] [1:98cv1232 1:98cv1233]

7/2/99 AT5 TRANSCRIPT filed for date(s) of 6/24/39. Reporter: David :
Kasdan, Miller Reporting (st) [Entry date 07/06/99}
Pl: 98ev1232)

7/2/99 476 TRANSCRIPT filed for date(s} of 6/23/99. Reporter: David
Kasdan; Miller Reporting (st) [Entry date 07/06/99]

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L:$8cevi232 USA v. MICROSOFT CORP. , CONSOL TYPE A

[1:98cv1232]

7/2/99 477 TRANSCRIPT filed for datefs) of 6/21/99. Reporter: David
Kasdan, Miller Reporting (st) [Entry date 07/06/99]
{1:98ev1232]

7/2/99 478 TRANSCRIPT filed for date(s) of 6/22/99. Reporter: David
Kasdan, Miller Reporting (st} [Entry date 07/06/99]
F1:98cev1232]

74/9/99 4793 NOTICE OF WITHDRAWAL of motion to unseal certain exhibits
admitted into evidence at trial and received at desosition
1445-1] by movantssssss, Non Party, movant (st)
[Entry date 07/12/99] [1:98ev1232]

7/12/99 480 RESPONSE by plaintiff USA in 1:98-cv—-01232, and plaintiffs
in 1:98-cv-01233 in opposition to motion to admit
surrebuttal exhibits [473-1] by MICROSOFT CORP. in
1:98-cv-01232; Attachments (2). (tth) [Entry date 07/13/99}
[1:98ev1232 1:98cev1233] —

7/16/99 481 REPLY by defendant MICROSOFT CORP. in 1:98-cv-01232 to
response to motion to admit surrebuttal exhibits [473-1] by
MICROSOFT CORP. (st) [Entry date 07/19/99] [1:98ev1232]

7/22/99 482 ORDER by Judge Thomas P. Jackson : granting in part and
denying in part moticn to admit surrebuttal exhibits
[473-1} by MICROSOFT CORP. in 1:98-cv-01232 (N) (rew)
[1:98cv1232 1:98cv1233]

7/28/99 483 MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
for Oliver Metzger, to appear pro hac vice (Sullivan &
Cromwell, 125 Broad Street, New York, NY 10004, (212)
558-4000 (tth) [Entry date 07/29/99] [1:98cv1232]

7/28/99 484 MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
for Bradley P. Smith, to appear pro hac vice (Sullivan &
Cromwell, 125 Broad Street, New York, NY 10004, (212)
558-4000) {(tth) [Entry date 07/29/99] [1:98c¢cv1i232]

7/28/99 485 ORDER by Judge Thomas P. Jackson : granting motion for
Bradley P. Smith, to appear pro hac vice (Sullivan &
Cromwell, 125 Broad Street, New York, NY 10004, (212)
558-4000) [484-1] by MICROSOFT CORP. in 1:98-cv-01232 (N)
(rew) [Entry date 07/29/99] [1:98ev1232 1:98cv1233]

7/28/99 486 ORDER by Judge Thomas P. Jackson : granting motion for
Oliver Metzger, to appear pro hac vice (Sullivan &
Cromwell, 125 Broad Street, New York, NY 10004, (212)
558-4000 [483-1] by MICROSOFT CORP. in 1:98-cv-01232 (N)}
(rew) [Entry date 07/29/99] [1:98cv1232 1:98cv1233]

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Proceedings Include All Events. CM/ECF
1:98cv1l232 USA v. MICROSOFT CORP. CONSOL TYPE A
7/28/99 487 STIPULATION filed and fiated by Judge Thomas P. Jackson

unsealing and admitting certain defendants AOL eshibits.
(N) (rew) [Entry date 07/29/99] [1:98cv1232 1:98cv1233]

7/28/99 488 STIPULATION filed and fiated by Judge Thomas P. Jackson
admitting certain Plaintiff's exhibits . (N) (rew) |
[Entry date 07/29/99} [1:98evl232 1:98¢v1233]

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8/9/99 489 MEMORANDUM by plaintiff USA in 1:98-cv-01232, PLAINTIFFS
STATES in 1:98+ecv-01233 and Defendant~Counterclaim
Plaintiff Microsoft Corporation notifying the Court that
they hereby rest their cases. (tth) [Entry date 03/11/99]
E1l:98evl232 1:98cvi233)

8/10/99 490 MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
to file the "Filed Under Seal" version of its Proposed
Findings of Fact be filed under seal; EXHIBIT (PROPOSED
FINDING OF FACT - LODGED UNDER SEAL) (tth)
[Entry date 08/11/99] [1:98¢v1232}

8/10/99 491 FINDINGS OF FACT (PROPOSED) (PUBLIC VERSION) and Conclusions
of Law filed by Defendant Microsoft Corperation. (tth)
[Entry date 08/11/99] [Edit date 08/11/99] [1:98c¢v1232]

8/10/99 492 EINDINGS OF FACT (JOINT PROPOSED) and Conclusions of Law
filed by plaintiffs; (BULKY); (FILED UNDER SEAL). {tth}
[Entry date 08/11/99] [Edit date 08/11/99} [1:98cv1232
1:98ev1233] . r

8/10/39 493 FINDINGS OF FACT (JOINT PROPOSED) and Conclusions of Law by
plaintiffs; (BULKY); (REDACTED PUBLIC VERSION). (tth}
[Entry date 08/11/99] [1:98cvl232 1:98cv1233]

8/10/99 494 ORDER by Judge Thomas P. Jackson ,denying without
prejudice defendant's motion for judgment as a matter of
law. (N} (rew) [Entry date 08/11/99] [1:98cv1232 1:98cvi233]

6/10/99 495 ORDER by Judge Thomas P. Jackson : granting motion to
file the "Filed Under Seal" version of its Proposed
Findings of Fact be filed under seal [490-1] by MICROSOFT
CORP. in 1:98-cv-01232 (N) (rew) [Entry date 08/11/99]
[1:98¢ev1232 1:98cv1233]

8/10/99 496 MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
for Judgment as a matter of law (tth) [Entry date 08/11/99]
[1:98cvi232]

8/10/99 497 FINDINGS OF FACT (PROPOSED) and Conclusions of Law filed by
Defendant Microsoft Corporation; (FILED UNDER SEAL). (tth)
[Entry date 08/27/99] [1:98cv1232]

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Proceedings Include Ail Events. CM/ECE
1:98cevl232 USA v. MICROSOFT CORP. CONSOL TYPE A
9/3/99 A498 ORDER by Judge Thomas P. Jackson ,directing parties to

file revised versions of proposed findings of fact on
9-10-99 and with instructions to counsel to content and
instruction on closing arguments. (N) (rew) [1:98cvl232
1:98cv1233]

9/10/99 439 FINDINGS OF FACT and Conclusions of Law (JOINT PROPOSED)
filed by plaintiffsl; Exhibits (7); (FILED UNDER SEAL). (tth)}
[Entry date 09/14/99] [Edit date 09/14/99] [1:98cv1232])

9/19/99 500 FINDINGS OF FACT and Conclusions of Law (JOINT PROPOSED)
filed by plaintiffs; Exhibits (7); (REDACTED PUBLIC
VERSION) . (tth) fEntry date 09/14/99] [1:98cv1232]

9/10/99 501 MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232 0
, to file Proposed Findings of Fact under seal; EXHIBIT
(PROPOSED FINDINGS OF FACT) (tth) [Entry date 09/14/99]
f1:98cev1232) ,

9/10/99 502 FINDINGS OF FACT and Conclusions of Law (REVISED PROPOSED)
: filed by defendant MICROSOFT CORP.; (PUBLIC VERSION) (tth})
[Entry date 09/14/99] [1:98cv1232)

9/13/99 503 ORDER by Judge Thomas P. Jackson : granting motion to
file Proposed Findings of Fact under seal [501-1] by
MICROSOFT CORP. (N) (tth) [Entry date 09/14/99]
[Edit date 09/14/99] [1:98cv1232]

9/13/99 504 FINDINGS OF FACT and Conclusions of Law (REVISED PROPOSED}
filed by defendant MICROSOFT CORP. (FILED UNDER SEAL) (tth)
[Entry date 09/14/99} [1:98cv1232]

9/21/99 —-- NON-JURY TRIAL before Judge Thomas P. Jackson resumed
and concluded with closing arguments, case submitted.
reporter: P. Merana (rew) [1:98ev1232 1:98cv1233]

9/30/99 505 TRANSCRIPT filed for date(s) of 9/21/99. Reporter: David
A. Kasdan, Miller Reporting Co., Ine. (tth)
TEntry date 10/05/99] [1:98cvi232]

10/14/89 506 TRANSCRIPT filed for date(s} of September 21, 1999.
Reporter: Phyllis Merana (tw) [Entry date 10/15/99]
[1:98cvi232}

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11/5/99 508 FINDINGS OF FACT by Judge Thomas Penfield Jackson . (rew)
[entry date 21/08/99] [1:98cv1232 1:98cv1233]

11/5/99 509 SCHEDULING ORDER #7 by Judge Thomas P. Jackson :directing
plaintiffs to file memorandum of law by 12-6-993, and
defendant to file a responsive memorandum of law by
1-17-00, and plaintiffs may file a reply memorandum by
1-24-00, and defendant may file a surreply memorandum by
1-31-00, and with instructions to counsel. (N) (rew)

[Entry date 11/08/99] [1:98¢v1232 1:98cv1233]

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1:98evl232 USA v. MICROSOFT CORP. CONSOL TYPE A

11/19/99 510

11/19/99 511

11/24/99 515

12/6/99 512

12/6/99 513

12/9/99 514

12/10/99 519

12/20/99 516

12/20/99 517

12/21/99 518

1/6/00 520

ORDER by Judge Thomas P. Jackson :setting page
limitations for memoranda of law; inviting Professor
Lawrence Lessig to participate as amicus curiae and both
plaintiff and defendant to designate a single amicus of
their choice; with instructions to amicus; setting oral
argument on 10:00 2/22/00 in 1:98-cv-01232, in
1:98-cv-01233 ; (N) (rew) [1:98cv1l232 1:98cv1233]

ORDER by Judge Thomas P. Jackson :referring cases for
voluntary mediation to Judge Richard A.Posner, Chief Judge
of the U.S.Court of Appeals for the 7th Circuit. (N) (rew)
[1:98ev1232 1:98cv1233]

TRANSCRIPT filed for date of November 18, 1999. Reporter:
Phyllis Merana (dot) [Entry date 12/15/99] [1:98cvl232]

PLAINTIFFS! JOINT PROPOSED Conclusions of Law. (tth)
[Entry date 12/07/99] [1:98cv1232]

STATES' MEMORANDUM AND PROPOSED Conclusions cf Law. (tfth)
[Entry date 12/07/99] [1:98cev1232 1:98cv1233]

OBJECTIONS by defendant MICROSOFT CORP. in 1:98-cv-01232 to
participation by Professor Lawrence Lessig in this case as
a purported Amicus Curiae; Exhibits (2) (tth)

[Entry date 12/10/99] [41:98cv1232]

ATTORNEY APPEARANCE for plaintiffs in 1:98-cv-01233,
counter-defendants in 1:98-cv-01233 by Kevin James ‘O'Connor
{tth) [Entry date 01/04/00] [{1:98cv1232 1:98cv1233]

RESPONSE by plaintiff USA in 1:98-cv-01232 to objection to

participation by Professor Lawrence Lessig as an amicus
curiae [514-1] (tth) [Entry date 12/21/99] [1:98cv1232]

MEMORANDUM AND ORDER by Judge Thomas P. Jackson :overruling
defendant's objection to participation of Professor Lawrence
Lessig as amicus curiae. Attachment. (N) (N) (xrew)

[Entry date 12/21/99] [Edit date 12/21/99] [1:98cv1232
1:98cvi233]

ORDER by Judge Thomas P. Jackson :of correction of
errata and amending Findings of Fact of 11-5-99. (N} (rew)
[Entry date 12/22/99] [1:98eVv1232 1:38c¢v1233]

ORDER by Judge Thomas PF. Jackson : directing defendant
to file responsive memorandum with respect to conclusions
of law by 1-18-00 and plaintiff to reply by 1-25-00 and
defendant to file surreply by 2-1-00 and amici curiae to
File memoranda of law by 2-1-00 and the oral argument date
remains unchanged. (N) (rew) [Entry date 01/07/00] -
{1:98cv1232 1:98cv1233] ,

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1:98cyv1232 USA v. MICROSOFT CORP. CONSOL TYPE A
1/18/00 521 PROPOSED Conclusions of Law filed by defendant Microsoft.

{tth) [Entry date 01/19/00] [1:98¢v1232]

1/18/00 522 MEMORANDUM by defendant MICROSOFT CORP. in 1:98-cv—-01232
in opposition to States' Memorandum and Proposed
Conclusions cf Law [513-1]. (tth) [Entry date 01/19/00]
f1:98cv1232]

1/27/00 523 REPLY (JOINT) by plaintiff USA in 1:98-cv-01232, plaintiffs
STATES in 1:98-cv-01233, to findings of fact [521-1] in
1:98-cv-01232. (tth) [Entry date 61/28/00]
[FRdit date 01/28/00] [1:98cvi232 1:98cv1233]

1/27/00 524 REPLY by plaintiffs STATES in 1:98-cv-01233 proposed
conclusions of law of fact [513-1] in 1:98-cv~-01232,
proposed conclusions of law [164-1] in 1:98-cv-01233 (tth)}
fEntry date 01/28/00] [1:98cv1232 1:98cv1233]

1/27/00 525 MOTION filed for W. DAVID SLAWSON, ERWIN CHEMERINSHY to
oease({s) 1:98-cv~-01232, to file amicus brief; EXHIBIT
(MEMORANDUM) (tth) [Entry date 02/01/00] [1:98cvi232]

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1/28/00 528 RESPONSE -by plaintiff USA in 1:98-cv-01232, plaintiffs
STATES in 1:98~-cv-01233 to motion for W. DAVID SLAWSON,
ERWIN CHEMERINSKY to case(s) 1:98-cv-01232, to file amicus
brief [525-1] in 1:98-cv-01232 (tth}) [Entry date 02/02/00)
{1:98cv1232 1:98cv1233]

2/1/00 526 MEMORANDUM by defendant MICROSOFT CORP. in 1:98-cv-01232
re: designation of amicus curiae. (tth) [1:98cvl232]

2/1/00 527 ORDER by Judge Thomas P. Jackson: denying motion for W. |
DAVID SLAWSON, ERWIN CHEMERINSKY to case(s) 1:98-cv—-01232,
to file amicus brief [525-1] (N) (kmk} [1:98ev1232]

2/1/00 529 RESPONSE by plaintiff USA in 1:98-cv-01232 to order re:
Designation of Amicus Curiae in 1:98-cv-01232, [510-1],
order [510-2], in 1:98-1233, order [163-1] (tth)

[Entry date 02/02/00] [Edit date 02/02/00] [1:98cev1232)

2/1/00 530 AMICUS BRIEF filed by amicus SOFTWARE AND INFO in
1:98-cv-01232. (tth) [Entry date 02/02/00] [1:98cv1l232]

2/1/00 531 RESPONSE by plaintiffs STATES in 1:98-cv-01233 to order re:
Designation of Amicus Curiae [510-1] in 1:98-cv-01232, ,
[510-2] in 1:98-cv-01232, 1:98-cv-01233, order [163-1] in.
1:98=cv-01233 (tth) [Entry date 02/02/00]
[Edit date 02/02/00] [1:98cv1232 1:38cv1233]

2/1/00 532 AMICUS BRIEF (PROPOSED Conclusions of Law) filed by amicus

ROBERT H. BORK in 1:98-cv-01232. (tth) [Entry date 02/02/00]
[1:98cv1232]

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1:98cv1232 USA v. MICROSOFT CORP. CONSOL TYPE A
2/1/00 533 AMICUS BRIEF filed by amicus LAWRENCE LESSIG in

1:98-cv-01232. (tth) [Entry date 02/02/00) [1:98cv1232]

2/3/00 535 SURREPLY by defendant MICROSOFT CORP. in 1:98-cv-01232 in
response to. Plaintiffs! Joint Reply [523-1]; "Let this be
filed", JACKSON, J. (tth) [Entry date 02/14/00]
[Edit date 02/14/00] [1:98cev1232]

2/3/00 536 SURREPLY by defendant MICROSOFT CORP. in 1:98-cv~-01232 in
response to the STATES' Reply [524-1]; “Let this be filed",
JACKSON, J.; "het this be file", JACKSON, J. (tth)
[Entry date 02/14/00] [Bdit date 02/14/00] [1:98cv1232]

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2/4/00 537 AMICUS BRIEF filed by amicus COMPETITIVE TECH in
1:98-cv-01232.; “Let this be filed", JACKSON, J. (tth)
[Entry date, 02/14/00] [1:98ev1232]

2/9/90 534 — MOTION filed by amicus W. DAVID SLAWSON in 1:98-cv~-01232,
amicus ERWIN CHEMERINSKY in 1:98-cv-01232 for
reconsideration of their motion for leave to file
memorandum of amici curiae; EXHIBIT (memorandum} (7f)
[Entry date 02/10/00] [1:98cv1232]

2/20/00 609 FINAL JUDGMENT (PROPOSED) for plaintiff USA in
1:98-cv-01232, plaintiffs STATES in 1:88-cv-01233; "Let
this be filed, nunc pro tune to 5/20/00", JACKSON, J. {tth)
fentry date 02/22/01] [1:98cv1232 1:98cv1233]

2/22/00 540 ORDER by Judge Thomas P. Jackson: granting motion by
plaintiffs in CA98-1233 to make part of the record the
unpublished decision in Pinney Dock& Transportation Co. v.
Penn Central Corp. case number C80-1733
(N.D.Ohio,Feb.2,1982). (N) (kmk) [Entry date 03/16/00]
[Edit date 09/14/00] [1:98cv1232 1:98¢v1233]

3/3/00 538 TRANSCRIPT filed for date(s) of February 22, 2000.
Reporter: Miller Reporting Co., Inc. (tth}
[Entry date 03/06/00] [1:98cv1232]

3/9/60 539 | TRANSCRIPT filed for date(s) of 2/22/00. Reporter: (bjsp)
[Entry date 03/10/00} [1:98cv1232]

4/3/90 SAL CONCLUSIONS OF LAW. by Judge Thomas P. Jackson. (N} (rew)
[1:98cv1232 1:98cv1233]

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Proceedings Include Ail Events. CM/ECE

1:98cv1232 USA v. MICROSOFT CORP. CONSOL TYPE A j
4/3/06 542 ORDER by Judge Thomas P. Jackson :declaring that

4/5/00

4/13/00

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MICROSOFT has violated the Sherman Act as well as certain
state law provisions, and judgment is entered for the
UNITED STATES on certain claims in CA98-1232,and the first
claim in CA98-1232 is dismissed with prejudice, and
entering judgment for plaintiff STATES on certain claims in
CA98-1233, and the fifth claim in CA98-1233 is dismissed
with prejudice, and MICROSOFT'S first and second claims in
CA98-1233 are dismissed with prejudica, and the Court shall
enter an order with respect to appropriate relief,costs and
fees, following proceedings to be established by further
order of the Court. (N} (rew) [1:98cv1232 1:98cv1233]

ORDER by Judge Thomas P. Jackson :plaintiff UNITED

STATES and STATES to file certain proposed forms of

permanent injunction by 4-28-00, defendant to file response;
objections; counter-proposals, and recommendations by

5-10-00, plaintiffs to reply by 5-17-00, ail filings to be

on the public record and a hearing on remedies is set for

5-24-00 at 10:00 am. trial set for 10:00 5/24/00 in

1:98-cv-01232, in 1:98-cv-01233 ; (N) (rew)
[Entry date 04/06/00] [1:98cv1232 1:98cv1233]) é

TRANSCRIPT filed for date(s) of April 4, 2000. Reporter:
Phyllis Merana (tth) [Entry date 04/18/00] [1:98c¢v1232]

TRANSCRIPT filed for date(s) of April 5, 2000. Reporter:
Phyllis Merana {tth) [Entry date 04/18/00] [1:98cv1232]

MOTION filed for CA PLAINTIFFS to case(s) 1:98-cv-01232,
to intervene for the limited purpose of modifying
protective order; Exhibits (3) (tth) [Entry date 04/25/00]
f1:98cv1232]

MOTION filed for ROBERT E. LITAN to case(s) 1:98-cv-01232,
toe file amicus brief; EXHIBIT (AMICUS BRIEF) (tth)
[Entry date 04/28/00] [1:98cv1232]

MOTION filed by defendant MICROSOFT CORP. in 1:98-cv-01232
te modify its 1998 Protective Order, and any sealing

orders entered prior to or during trial, to permit all
Microsoft's counsel of record in the California Litigation
to review Confidential and Highly Confidential decuments
and other materials in this action, subject to the ‘terms of
the California Protective Order; Exhibits {3} (tth)

[Entry date 05/02/00] [{1:98cv1232] ,

ORDER by Judge Thomas P. dackson : granting motion for
ROBERT BE. LITAN to case(s} 1:98-cv-01232, to file amicus
brief [547-1] in 1:98-cv-01232 (N) (rew)

[Entry date 05/02/00] [1L:98cvl1l232 1:98cv1233]

AMICUS BRIEF filed by movant ROBERT E. LITAN in
1:98-cv-01232; Appendix (1). (tth) [Entry date 05/18/00]

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MICROSOFT CORP. CONSOL TYPE A
[1:98cvi232]

RESPONSE by plaintiff USA in 1:98-cv-01232 to motion for CA
PLAINTIFFS to case(s) 1:98-ev-01232, to intervene for the
limited purpose of modifying protective order [546-1] (cyjp)
[Entry date 05/03/00] [1:98cv1232]

MOTICN filed by Non Party DELL COMPUTER CORP. in
1:98-cv-01232 to extend time to respond to motion by
California Plaintiffs to Intervene for Limited Purpose of
Modifying Protective Order (tth) [Entry date 05/12/00]
[Edit date 05/15/00] [1:98cvi232]

REPLY by movant CA PLAINTIFFS in 1:98-cv~-O1l232 to response
to motion for CA PLAINTIFFS to case({s) 1:98-cv-01232, to
intervene for the limited purpose of modifying protective
order [546-1] (tth) [Fintry date 05/12/00] [1:98ev1232]

MOTION filed by movant ORACLE CORPORATION in 1:98-cv—-01232
to extend time to respond to Motion by California
Plaintiffs to Intervene for Limited Purpose of Modifying
Protective Order, and to extend time to respond to
defendant Microsoft's Motion for Modification of the
protective Order and Sealing Orders (tth)

[Entry date 05/12/00) [1:98cv1232]

ATTORNEY APPEARANCE for movant INTEL CORP in 1:98-cv-01232
by Joseph Kattan, Jeffrey Thomas Gilleran (tth)
fBntry date 05/15/00] [1:98cv1232]

MOTION JOINDER by movant INTEL CORP in 1:98-cv-01232
joining in motion to extend time to respond to motion by
California Plaintiffs to Intervene for Limited Purpose of
Modifying Protective Order [553-1] (tth) ,
[Entry date 05/15/00] [1:98cv1232]

RESPONSE by movant GATEWAY INC in 1:98-cv-01232 tc motion
for CA PLAINTIFFS to case(s) 1:98-cv-01232, to intervene
for the limited purpose of modifying protective order
[546-1], and mction to modify its 1998 Protective Order,
and any sealing orders entered prior to or during trial, te
permit all Microsoft's counsel of record in the California
Litigation to review Confidential and Highly Confidential
documents cther materials in this action, subject to the
terms of the California Protective Order [548-1] by
MICROSCET CORP. (tth} [Entry date 05/17/00] [1:98cev1232)

DOCUMENT NUMBER 555 DOESN'T EXIST----RENUMBERING ERROR (cp)
[Entry date 05/25/00] [1:98c¢v1232/]

STATEMENT filed by defendant MICROSOFT CORP. in
1:98-cv-01232, regarding: Micresoft Corporation's position
as to future proceedings on the issue of remedy; Exhibits
(2); "Let this be filed", JACKSON, Jd. (tth)

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1:$8cv1232 USA v. MICROSOFT CORP. CONSOL TYPE A

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[Entry date 02/22/01] [1:98cv1232]

MOTION filed by Non Party INTL BUS MACHINE COR in
1:98-cv-01232 to extend time to respond to motion by
California Plaintiffs to Intervene for Limited Purpose of
Modifying Protective Order (tth} [Entry date 05/15/00]
[i:98cv1232] .

MEMORANDUM by defendant MICROSOFT CORP. in 1:98-cv-01232
in opposition to motion for ROBERT E. LITAN to case(s)}
1:98-cv-01232, to file amicus brief [547-1]; Exhibits (2);
"Let this be filed", (JACKSON, J.) (tth)

[Entry date 05/18/00] [1:98cv1232]

MOTION JOINDER by movant HEWLETT-PACKARD CO. in
1:98-cv-01232 joining in motion to extend time to respond
to motion by California Plaintiffs to Intervene for Limited
Purpose of Modifying Protective Order [553-1] (tth)

[Entry date 05/17/00] [1:98cv1232]

RESPONSE by movant COMPAQ COMPUTER CORP in 1:$8-cv-01232
in opposition to motion for CA PLAINTIFFS to case(s}
1:98-cv-01232, to intervene for the limited purpose of
modifying protective order [546-1]; Exhibits (2). (tth)
fEntry date 05/17/00] [1:98ev1232]

MOTION filed by amicus COMPETITIVE TECH in 1:98-cv~01232
for leave to file a proposal for establishment of an

erderiy procedure for public participation on the issue of
remedies (ith) [Entry date 65/17/00] [1:98cv1232]

REPLY by plaintiffs in 1:98-cv-01232, 1:98-cv-01233, in
support of proposed final judgment; exhibits (20) (4f)
[Entry date 05/18/00] [1:98cvi232 1:98cv1233]

ORDER by Judge Thomas P. Jackson :granting motion of
Association for Competitive Technology for leave to file
proposal for establishment of an orderly procedure for
public participation on remedies and the proposal is
received as submission amicus curiae: and not de facto
interventionl. (N) (rew) [Entry date 05/18/00]
[i:98cvl232 1:98cv1233])

MOTION filed for COMPUTER & COMM, SOFTWARE AND INFO
case(s) 1:98-cv-01232, to file amicus brief; EXHIBIT
(AMICUS BRIEF) (tth) [Entry date 05/22/00] [1:98cv1232]

REPLY by defendant MICROSOFT CORP. in 1:98-cv-01232 in
further suppert of their motion for judgment as a matter
of law [496-1] by MICROSOFT CORP. ; exhibits (4) (bisp)
Ti: 98ev1l232]

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Proceedings Include Ail Events. CM/ECE
1:98ev1232 USA v. MICROSOFT CORP. CONSOL TYPE A
5/22/90 566 JOINT MOTION by defendant MICROSOFT CORP, in 1:93-cv-01232,

movant CA PLAINTIFFS in 1:98-cv-01232 to extend time to
6/2/00 to file their respective reply briefs responding to
the oppositions filed by Gateway and Compag (tth)

[Entry date 05/23/00] [1:98cv1232]

5/22/00 567 ORDER by Judge Thomas P. Jackson : granting motion for
COMPUTER & COMM, SOFTWARE AND INFO case({s) 1:98-cv-01232,
to file amicus brief [564-1] in 1:96-cv—-01232 (N) (Jaw)
[Entry date 05/23/00] [1:98cv1232 1:98cv1233]

5/22/00 572 AMICUS BRIEF filed by amicus COMPUTER & COMM in
1:98-cv-01232. (tth) [Entry date 06/05/00} [1:98cv1232]

— gemat ae

5/23/00 569 MOTION filed for VALMARPRO ANTITRUST to case
1:98-cv-01232, to intervene; "Let this be filed", JACKSON,
3. (jaw) [Entry date 05/26/00} [1:98c¢cv1232]

5/23/00 -- ORDER by Jucge Thomas P. Jackson denying motion for
VALMARPRO ANTITRUST to case 1:98-cv-01232, to intervene
[569-1] in 1:98-ev-01232 (fiat} (N) (jaw)
[Entry date 05/26/00] [1:98cev1232 1:98cv1233]

5/24/00 568 STATEMENT filed by defendant MICROSOFT CORP. in
1:98-cv-01232, regarding: Offer of Proof; "Let this be
filed", JACKSON, J. (tth) [Entry date 05/25/00]
[1:98cv1232]

5/24/00 —-- STATUS HEARING before Judge Thomas P. Jackson :plaintiff
to file additional memoranda on remedy by 5-26-00 and
defendant to respond within in 48 hours. Reporter: P.
Merana am, Dave Kasden pm (rew) [Entry date 05/25/00]
[1:98cev1232 1:98c¢cv1233]

5/30/00 588 LETTER filed by Warren J. Rheaume, dated May 18, 2000, re:
Objection to Relief Sought Against Mr. Paul Allen, a
Non-Party; “Let this be filed", JACKSON, J. (tth}
[Entry date 06/16/00] [1:98cv1232]

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5/31/00 611 STATEMENT filed by defendant MICROSOFT CORP. in
1:98-cv-01232, regarding: Microsoft Corporation's
Supplemental Offer of Proof; "Let this be filed", JACKSON,
J. {tth) [Entry date 02/22/01] [1:98¢yv1232]

6/1/00 ~= PHONE CONFERENCE STATUS HEARING before Judge Thomas P.
Jackson :Plaintiff to respond to defendants proposed
Judgment by 6-5-00 and defendant to respond by 6-7-0.
Reporter: P. Merana (rew) [1:98cv1232 1:98cv1233]

6/1/0c 570 ORDER by Judge Thomas P. Jackson : allowing plaintiff te

respond to defendants specific comments as to the form of
their revised proposed final judgment by 6-5-00 and
defendant to respond by 6-7-00 (N) (rew) [1:98cv1232

1: 98cvi233}

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Proceedings Include All Events. CM/ECE
1:98cv1232 USA v. MICROSOFT CORP. CONSOL TYPE A
6/1/00 571 MEMORANDUM by plaintiff in 1:98-cv-01232 in support of

plaintiffs' revised proposed final judgment. Plaintiff was
directed to file this by the Court at the 5/24/00 hearing
(FIAT) JACKSON, J. ; attachments (bjsp)

[Entry date 06/02/00] [1:98cv1232]

6/2/00 573 ORDER by Judge Thomas P. Jackson :holding in abeyance
for 60 days defendant's motion (548) to modify Protective
Order and California plaintiff's motion (421) te intervene
for a limited purpose, and negotiation efforts are to be
concluded by 8-1-00 and proposed modifications to the
protective and sealing order shall be presented to the
Court, failing each party shall file additional briefs by
8-11-00.(N) (rew) [Fntry date 06/06/00] [1:98cv1232
1:98cv1233]

6/2/00 574 STATEMENT filed by defendant MICROSOFT CORP. in
1:98—cv-01232, regarding: Comments on Plaintiffs’ Revised
Proposed Final Judgment; "Let this be filed", JACKSON, J.
(tth) [Entry date 06/07/00] [1:98cv1232]

6/2/06 581 MEMORANDUM by defendant MICROSOFT CORP. in 1:98-cv-01232
in opposition to the Motion of Consumers for Computing
Choice and Open Platform Werking Group for leave ta file a
brief on Remedy as purcorted amici curiae; "Leave to file
granted", JACKSON, J. {tth) [Entry date 06/13/00]
[1:98ev1232]

6/5/00 577 RESPONSE by plaintiff USA in 1:98-cv-01232, plaintiffs
STATES in 1:9$8-cv-01233 1:98-cv-01233 to comments on
revised proposed final judgment [574-1] by MICROSOFT CORP.
in 1:98—cv-01232; Exhibits (3) (tth) [Entry date 06/07/00]
[1:98cv1232 1:98cv1233]

6/6/00 579 REPLY by defendant MICROSOFT CORP. in 1:98-cv-01232 to
response to Microsoft's comments on their Revised Proposed
Final Judgment [574-1] by MICROSOFT CORP. (tth)
[Entry date 06/08/00} [21:98cv1i232}

6/6/00 580 MEMORANDUM by Non Party NOVELL INC in 12:98-cv-01232 in
opposition to motion for CA PLAINTIFFS to case(s)
1:98-cv-01232, to intervene for the limited purpose of
modifying protective order [546-1], motion to modify its
1998 Protective Order, and any sealing orders entered prior
to or during trial, to permit all Microsoft's counsel of
record in the California Litigation to review Confidential
and Highly Confidential documents and other materials in
this action, subject to the terms of the California
Protective Order [548-1] by MICROSOFT CORP.; Exhibits (10);
“Ret this be filed", JACKSON, J. (tth) [Entry date 06/08/00]
{1:$8cev1232]

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Proceedings Include All Events. CM/ECE
1:98cvi232 USA v. MICROSOFT CORP. CONSOL TYPE A
6/7/00 575 MEMORANDUM AND ORDER by Judge Thomas P. Jackson :denying

defendant's motion for summary rejection of plaintiff's
structural reorganization, and rejecting defendant's
position as to furture proceedings on remedy, and
plaintiff's sroposed final judgment and defendant's
comments are entered as a Final Judgment.(N) (rew}
[1:$8evi232 1:98cv1233)}

6/7/00 576 FINAL JUDGMENT by Judge Thomas P. Jackson in favor of
plaintiff USA in 1:98-cv-01232, plaintiff STATES in
1:98-cv-01233 against defendant MICROSOFT CORP. in
4:98-cv-01232 and 1:98-1233, with instructions on
divestiture, provisions implementing divestiture, internal
antitrust compliance, compliance inspection, effective
date, term, retention of jurisdiction, and modification.
(N) (rew}) [1:98cv1232 1:98cvi233]

 

6/7/00 578 MOTION filed by defendant MICROSOFT CORP. in 1:98-ecv-01232
for a stay pending appeal of all provisions of the Final
Judgment entered by the Court on June 7, 2000 (tth)
{1:98cvi232] ,

6/12/00 582 RESPONSE by plaintiff USA in 1:98-cv-01232 to motion for a
stay pending appeal of ali provisions of the Final Judgment
entered by the Court on June 7, 2000 [578-1] by MICROSOFT
CORP.; Attachment (1) (tth) [Entry date 06/13/00]
[1:98ev1232]

6/13/90 583 ORDER by Judge Thomas P. Jackson :reserving ruling on
defendant's motion for stay pending appeal. (N) {rew)
[1:98cevl1232 1:98c¢v1233]

6/13/00 584 REPLY by defendant MICROSOFT CORP. in 1:98-cv-01232 to
response to motion for a stay pending appeal of all
provisions of the Final Judgment entered by the Court on
June 7, 2000 [578-1] by MICROSOFT CORP. (tth}

[Entry date 06/14/00] [1:98cv1232]

 

6/13/00 585 MOTION filed by plaintiff USA in 1:98-cv-01232, plaintiffs
in 1:98-cv-01233 for certification of direct appeal to the
Supreme Court Under 15 U.S.C 29 (tth) [Entry date 06/14/00]
[Edit date 06/21/00] [1:98cv1232 1:98cv1233]

6/13/00 586 NOTICE OF APPEAL by defendant MICROSOFT CORP. in
1:98-cv-01232 from judgment order [576-1], entered 6/7/00
and order [542-1], entered on: 4/3/00. $5.00 filing fee
paid and $1090.00 docketing fee paid. Copies mailed to all
parties. (tth) [Entry date 06/15/00] [1:98e¢v1232]

6/14/00 587 STATEMENT filed by defendant MICROSOFT CORP. in
1:98-cy-01232, regarding: Suggestion of defendant Microsoft
Corporation as to the appropriate procedure to be allowed
in resolving plaintiffs' certification motion. (tth)
[Entry date 06/15/00] [1:98¢v1232]

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Proceedings Include All Events. CM/ECE
L:$8cvl232 USA v. MICROSOFT CORP. CONSOL TYPE A
6/15/00 +--+ TRANSMITTED PRELIMINARY RECORD on appeal [586-1] by

MICROSOFT CORP. to U.S. Court of Appeals (tth) -
[L: 98cev1232]

6/19/00 —- USCA # 00-5212 assigned for appeal [586-1] by MICROSOFT
CORP. (tth) [Entry date 06/20/00] [1:98cv1232]

6/19/00 589 RESPONSE by defendant MICROSOFT CORP. in 1:98-cv-01232 to
motion for certification of direct appeal to the Supreme
Court Under 15 U.S.C 29 [585-1] by plaintiffs, Exhibits (4)
{tth} fEntry date 06/20/00] [Edit date 06/20/00]
[1:98ev1232]

6/20/00 ~- TRANSMITTED supplemental record on appeal [586-1] by
MICROSOFT CORP. USCA No.: 00-5212. (tth)
[1:98cv1232]

6/20/00 590 REPLY by plaintiff USA in 1:98-cv-01232 and plaintiffs in
1:98-cy-01233 to response to motion for certification of
direct appeal to the Supreme Court Under 15 U.S.C 29 by
plaintiffs in 1:98-cv-01232, motion for certification of
direct appeal to the Supreme Court Under 15 U.S.C 29
plaintiff in 1:98-cv-01233 (tth) [Entry date 06/21/06]
[i:98ev1232 1:98cv1233]

6/20/00 581 ORDER by Judge Thomas P. Jackson : granting motion for
certification cf direct appeal to the Supreme Court Under
15 U.S.0 29 [585-1] by counter-defendant by plaintiffs,
plaintiff in 1:98-cv-01232, 1:88-cv-01233 and the Final
Judgment cf 6-7-00 is stayed in its entirety uniess the
stay is vacated by an appellate court. (N) (rew)
[Entry date 06/21/00] [1:%8ev1232 1:98c¢v1233]

6/21/00 -- CERTIFIED and transmitted record on appeal [586-1] by
MICROSOFT CORP. to U.S. Supreme Court (bjsp} ©
[Entry date 06/23/00] [1:%8cv1232]

6/23/00 592 TRANSCRIPT filed for date(s) of 6/1/00. Reporter: Phyllis
Mexana (tth) [Entry date 06/26/00] [1:98cv1232]

6/23/00 593 TRANSCRIPT filed for date(s) of 5/24/00. Reporter:
Phyllis Merana (tth) [Entry date 06/26/00] [1:98c¢v1232]

8/10/00 -- STIPULATION filed and fiated by Judge Thomas P. Jackson
allowing briefing, filings and proceedings in connection
with the STATES motion for attorney's fees costs and
expenses be deferred until after appeal from final judgment
of 6-7-00 . (N) (rew) [Entry date 08/11/00] [1:98cv1233]

8/11/00 597 MEMORANDUM by CALIFORNIA PLAINTIFFS in 1:98~cv-01232 in
, support of stipulation and proposed order modifying the
protective order; exhibit (1); (COPY) (bjsxp)
[Entry date 08/31/00] [1:98cv1232]

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1:98cv1232 USA v. MICROSOFT CORP. CONSOL TYPE A

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Proceedings Include Ail Events. CM/ECF
1:98evi232 USA v. MICROSOFT CORP. CONSOL TYPE A
6/18/00 594 ORDER by Judge Thomas P. Jackson : denying as moot

motion for a stay pending appeal of all provisions of the
Final Judgment entered by the Court on June 7, 2000 [578-1]
by MICROSOFT CORP. in 1:98-cv-01232, denying as moot joint
motion to extend time to 6/2/00 to file their respective
reply briefs responding to the oppositions filed by Gateway
and Compaq [566-1] by CA PLAINTIFFS, MICROSOFT CORP. in
1:98~cv-01232, denying as moot motion to extend time to
xespond to metion by California Plaintiffs to Intervene for
limited Purpose of Modifying Protective Order [556-1] by
INTL BUS MACHINE COR in 1:$8-c¢v-01232, denying as moot join
motion [553-1] by INTEL CORP in 1:98-cv-01232, denying as
moot motion to extend time to respond to Motion by
California Plaintiffs to Intervene for Limited Purpose of
Modifying Protective Order [552-1] by ORACLE CORPORATION in
1:98-cev-01232, denying as moot motion to modify its 1398
Protective Order, and any sealing orders entered pricr to
or during trial, to permit all Microsoft's counsel of
record in the California Litigation to review Confidential
and Highly Confidential documents and other materials in
this action, subject to the terms of the California
Protective Order [548-1] by MICROSOFT CORP. in
1:98-cv-01232, denying as moot motion for CA PLAINTIFFS to
case(s) 1:98-cv-01232, to intervene for the limited purpose
of modifying protective order [546-1] in 1:98-cv-01232,
denying as moot motion for judgment as a matter of law
[496-1] by MICROSOFT CORP. in 1:98-cv-01232, denying as
mook motion for ROY A. DAY to case(s) 1:98-cv-01232, to
intervene [419-1] in 1:98-cv-01232, denying as moot motion
to intervene for purpose of modifying proctive order
[418-1] by GRAVITY, INC. in 1:98-cv-01232, denying as moot
motion for AMER LAWYER MEDIA, USA TODAY to case{s)
1:$8-ev-01232, to intervene for limited purpose of staying
further depositions in this action pending issuance of the
Court of Appeal's mandate, or in the alternative, for
access to forthcoming depositions [371-1] by movants in
1:98-cv-01232, denying as moot motion for protective order
[284-1] by MICROSOFT CORP. in 1:98~-cv-01232, denying as
moot motion for protective order [280-1] by MICROSOFT CORP.
in 1:98-ev-01232, denying as moot motion for access to the
testimony of Franklin M. Fisher [269-1] by ASSOCIATE PRESS
in 1:98-cv-01232, denying as moot motion for to intervene
for the limited purpose of vindicating the public's rights
of access to the testimony of Franklin M. Fisher [267-1] by
ASSOCIATE PRESS in 1:98-cv-01232, denying as moot motion to
permit limited supplemental cross-examination [209-1] by
counter-defendanti, by plaintiffs, in
1:98-cv-01232, 1:98-cv-01233, denying as moot motion for
protective order to maintain confidentially of documents
[207-1] by INTL BUS MACHINE COR in 1:98-cv-01232, denying
as moot motion for protective order protecting trade
secrets/confidential business information from public
disclosure [205-1] by DELL COMPUTER CORP. in 1:38-cv-01232,
denying as moot motion to maintain confidential treatment

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1:98¢v1232 USA v. MICROSOFT CORP. CONSOL TYPE A

8/18/00 595

8/25/00 596

8/29/00 598

of certain information produced by the Boeing Company in
response to subpoena of Microsoft Corporation [201-1] by
BOEBING COMPANY in 1:98-cv-01232, denying as moot motion for
protective order [188-1] by COMPAQ COMPUTER CORP in
1:98-cv-01232, denying as moot motion for sanctions for the
government's failure to produce a requested document before
trial [181-1] by MICROSOFT CORP. in 1:98-cv-01232, denying
as moot motion for protective order to maintain
confidentiality of documents and deposition transcript
[168-1] by NETWORK COMPUTER INC in 1:%8-cv-01232, denying
as moot motion to maintain confidential protection as
provided by the protective order [167-1] by SUN
MICROSYSTEMS INC in 1:98-cv-01232, denying as moot motion
for leave to file brief as amicus curiae [94-1] by JERRY L.
ROBINETT in 1:98~cv-01232, denying as moot motion to
intervene as a non-party and join in the opposition to the
motion of defendant Microsoft Corporation to maintain
decuments under seal [91-1] by SAN JOSE MERCURY NEW in
1:98-cv-01232, denying as moot motion for leave to fiie
response in opposition to motion of MICROSOFT CORP to
modify stipulation and portective order [7CG-1] by NETWORK
COMPUTER INC in 1:98-cv-01232, denying as moot motion for
leave to file opposition to defendant MICROSOFT CORP motion
to modify stipulation and protective order [64-1] by
NETSCAPE COMMUN CORP in 1:98-cv-01232, denying as moot
motion to modify stipulation and protective order [55-1] by
MICROSOFT CORP. in 1:98-cyv-01232, denying as moot join
motion [32-1] by BLOOMBERG NEWS in 1:98-cv-01232, denying
as moot motion for NEW YORK TIMES CO to intervene [8-1] in
1:98-cv-01232, denying as moot motion for preliminary
injunction [2-1] by USA in 1:98-cv-01232 (N) (rew)

[Entry date 08/21/00] [1:98cv1232 1:98cv1233]

MOTION filed by Non Party GATEWAY INC in 1:98-cv-01232 to
seal its supplemental response to Microsoft's Motion to
Modify Protective Order; EXHIBIT (RESPONSE - LODGED UNDER
SBAL) (tth). [Entry date 06/22/00] [1:98cv1232]

ORDER by Judge Thomas P. Jackson : granting motion to
seal it's supplemental response to Microsoft's Motion to
Modify Protective Order [595-1] by GATEWAY INC in
1:98-cev-01232 (N) (rew) [Entry date 08/28/00]
[1:98evi232 1:98cv1233] ,

REPLY by defendant MICROSOFT CORP. in 1:98-cv-01232 to
motion to modify its 1998 Protective Order, and any sealing
orders entered pricr to or during trial, to permit ail
Microsoft's counsel of record in the California Litigation
to review Confidential and Highly Confidential documents
and other materials in this action, subject to the terms of
the California Protective Order [548-1] by MICROSOFT CORP.;
Exhibit (1) (tth} [Entry date 09/07/00] [1:98ev1232]

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Proceedings Include Ali Events. CM/ECF
1:98cvi232 USA v. MICROSOFT CORP. CONSOL TYPE A
9/15/00 599 ORDER by Judge Thomas P. Jackson : finding motion for NEW

YORK TIMES CO to intervene by MICROSOFT CORP. [7-1] moot in
1:98-cev-01233, finding motion for preliminary. injunction by
counter~-defendant by plaintiffs, [2-1] moot in 1:98~-cv-01233
and denying as moot motion [534] in 1:98-cv-01232.(N) (rew)
[Entry date 09/22/00] [Edit date 09/22/00] [1:98cv1232
1:98ev1233]

9/26/00 600 CERTIFIED COPY of judgment filed in Supreme Court of the
United States remanding to the USCA for the District of
Columbia Circuit Supreme Court # 00-139 (cjp)
[Entry date 09/27/00] [1:9Bevi232 1:98cv1233})

 

9/26/00 601 COPY of Order filed in the Supreme Court dated $/26/00
directing petition for writ of certiorari before judgment
te the USCA for the District of Columbia Circuit and
directing said petition before judgment be denied. OPINION
Supreme Court # 00-261 (cjp) [Entry date 03/27/00]
[1:98evl232 1:98¢v1233]

9/28/00 —-- TRANSMITTED RECORD ON to U.S. Court of Appeals (tth}
[1:98cvi232]
10/2/00 +- RECORD ON APPEAL returned from U.S. Supreme Court #:
OO-2L39,. (tth) [1:98¢v1232]
11/20/00 603 ORDER by Judge Thomas P. Jackson :modifying protective
order of 5/27/98 and the Courts order of 672-00. (N) (rew)
[Entry date 11/21/00] [1:98cv1232 1:98cv1233]
12/19/00 604 OBJECTIONS by Non Party REALNETWORKS INC in 1:98-cv-01232 to
Stipulation and Order Modifying Protective Order [603-1] i
(tth) [Entry date 12/21/00] [Edit date 01/03/01]
f1:98ev1232] .
1/2/01 605 RESPONSE by defendant MICROSOFT CORP. in 1:98-cyv-01232 to
objection to stipulation and order modifying protective
order [604-1] by REALNETWORKS INC (tth}
[Entry date 01/93/01] [1:98¢ev1232]
1/5/01 606 BRRATA by defendant MICROSOFT CORP. in 1:98-cv-01232 to

correct an omission from its Response to Objections of
RealNetworks, Inc. to Stipulation and Order Modifying
Protective Order ("Response to ReaiNetworks"), filed in this
Court on Tuesday, January 2, 2001; Exhibit (1) (tth)

[Entry date 01/10/01] [Edit date 01/10/01] [1:98cv1232]

1/10/01 607 IMG ORDER by Judge Thomas P. Jackson toverruling objection
of third party ReaiNetworks, Inc. to stipulation and order
modifying protective order #604. {(N} (rew)

[Entry date 01/12/01] [{1:98ev1232 1:98cv1233}

 

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“Proceedings Include All Events. CM/ECF
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1/26/01 608 IMG ORDER by Judge Royce C. Lamberth as motions Judge
. overruling non-party Gateway's objections and the order
modifying the protective order dated 11/20/00 shall apply
with respect to any material produced by Gateway. {(N) (rew)
[Entry date 01/29/01} [1:98cvl1232 1:38cv1233]

2/20/01 612 RESPONSE (SUMMARY) by defendant MICROSOFT CORP.
1:98-cv-01232 to plaintiffs" preposed final judgment; "Let
this be filed", JACKSON, J. (tth) [Entry date 02/23/01]
[1:98ev1232]

4/27/01 613 MOTION filed for Plaintiff in In re: Microsoft Corp.
Antitrust Litigation, MDL No. 1332 (D.Md.}) (Hon. J.
Frederick Motz presiding) (the MDL Proceeding) to
intervene for the limited purpose of modification of the
protective order in this action; Exhibits (2) (tth)
[Entry date 04/30/01]: [1:398ev1232]

5/18/01 614 IMG ORDER MODIFYING PROTECTIVE ORDER entered 5-27-38 by Judge
Thomas P. Jackson ; setting forth procedures for handling
confidential material; allowing designated material to be
filed under seal. (N) (rew) [1:98cev1232 1:98cv1233]

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7/6/01 615 CERTIFIED COPY of order filed in USCA dated 7/6/01,
petition for writ of mandamus be dismissed as moot . USCA
# 01-5190 (bes) [Entry date 07/09/01] [1:98cv1232]

8/24/01 616 CERTIFIED COPY of judgment filed in USCA dated 6/28/01, on
appeal [586-1] , affirming the judgment of USDC in part,
and reversing the judgment of USDC in part, and remanding
for further proceedings in part, and directing that the
final judgment embodying the remedial order is vacated in
full and the cases remanded for further proceedings . USCA
# 00-5212 (cjp) [Edit date 08/24/01] [1:98cv1232]

9/24/01 —-- Case Reopened (rew} [Entry date 09/10/01] [1:98cev1232
1:98evi233])

8/27/01 -- CASE REASSIGNED to Judge Gladys Kessler (tth)
[Entry date 09/10/01] [1:98cv1232]

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Proceedings Include All Events. CM/ECF
1:98cv1232 USA v. MICROSOFT CORP. CONSOL TYPE A

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8/28/01 617 IMG ORDER by Judge Colleen Kollar-Kotelly :that the parties
shall confer and file a Joint Status Report with the Court
(in the style cf LtvR 16.3 to the extent appropriate). That
such Joint Status Report shall: identify with specificity
the issues on remand that remain for the Court's resolution;

identify and/or propose appropriate measures to enable the
resolution cf such issues (i.e., the potential for
additionai discovery, the nature of any additional expert
testimony, motions, ete.}; identify with specificity the
nature of any additional evidentiary hearings, and propose
an appropriate schedule for the above-described matters.
The parties shall submit the Joint Status Report to the
Court not later than 9/14/01. A courtesy copy of such
Joint Status Report shail be delivered to chambers not
later than 5 p.m. on the same date. Status hearing set for
9:30 9/21/01 in 1:98-cv-01232, in 1:98-cv-01233, in
Courtroom 11. (N) (dot) [Entry date 08/29/01]

fl:98cvl1232 1:98cv1233]

8/28/01 —-- CASE REASSIGNED to Judge Colleen Kollar-Kotelly {(tth}
[Entry date 09/10/01] [1:98cv1232]
8/29/01 618 IMG ORDER by dudge Colleen Kollar-Ketelly : denying as moot
plaintiff's motion for a expedited status conference. [(N)
(dot) [1:98cvl1232 1:98cv1233]
8/29/01 619 MOTTON filed by plaintiff USA in 1:98-cv-01232, plaintiffs
in 1:38-cv-01233 for an expedited status conference (tth)
[Entry date 08/31/01] [1:98evi232 1:98cv1233]
4/8/02 -- ORDER by Judge Colleen Kollar-Kotelly :denying SBC's

motion to preclude MICROSOFT from introducing defendant's
Exhibit 1351 into evidence and for immediate return,
denying as moot SVC's motions with regard to defendant's
Exhibits 1352 and 1353. (N) (rew) [1:98cv1233]

 

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